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       EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


Blake Lively,

                Plaintiff,

       v.

WAYFARER STUDIOS LLC, a Delaware
Limited      Liability Company,    JUSTIN    Case No. 1:24-cv-10049-LJL
BALDONI, an individual, JAMEY HEATH, an      (Consolidated with 1:25-cv-00449-LJL)
individual, STEVE SAROWITZ, an individual,
IT ENDS WITH US MOVIE LLC, a California
Limited Liability Company, MELISSA           JURY TRIAL DEMANDED
NATHAN, an individual, THE AGENCY
GROUP PR LLC, a Delaware Limited Liability
Company, JENNIFER ABEL, an individual,
JED WALLACE, an individual, and STREET
RELATIONS INC., a California Corporation

                Defendants.




      AMENDED COMPLAINT FOR SEXUAL HARASSMENT, RETALIATION,
 BREACH OF CONTRACT, FALSE LIGHT, DEFAMATION, AND OTHER CLAIMS




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       Plaintiff Blake Lively brings this action for damages against WAYFARER STUDIOS

LLC, a Delaware Limited Liability Company, JUSTIN BALDONI, an individual, JAMEY

HEATH, an individual, STEVE SAROWITZ, an individual, IT ENDS WITH US MOVIE LLC, a

California Limited Liability Company, MELISSA NATHAN, an individual, THE AGENCY

GROUP PR LLC, a Delaware Limited Liability Company, and JENNIFER ABEL, an individual,

JED WALLACE, an individual, and STREET RELATIONS INC., a California Corporation.

                                       INTRODUCTION

“Are you confident enough to listen to the women in your life? To hear their ideas
and their solutions? To hold their anguish and actually believe them, even if what
they’re saying is against you? And . . . will you actually stand up and do something so
that one day we don’t have to live in a world where a woman has to risk everything
and come forward to say the words ‘me too?’”
                               – Justin Baldoni, Why I’m Done Trying to be ‘Man Enough,’ 2017

             1.       Plaintiff Blake Lively brings this lawsuit because she was unlawfully

retaliated against for coming forward and reporting sexual harassment that occurred against her

and others on the set of “It Ends With Us” (the “Film”).

             2.       Defendant Wayfarer Studios LLC (“Wayfarer”) is the owner of the Film.

Defendant Justin Baldoni is the co-chairman and co-founder of Wayfarer, and also served as

Director, Executive Producer, and actor in the lead role of Ryle Kincaid in the Film. Ms. Lively

played the leading role of Lily Bloom in the Film. At all times during the production, editing, and

promotion of the Film, Mr. Baldoni was Ms. Lively’s boss.

             3.       For years prior to the release of the Film, Mr. Baldoni portrayed himself as

a leader of the male feminist movement, writing books, hosting podcasts, and holding TED Talks

on the topic. In reality, however, Mr. Baldoni’s public persona is a stark contrast to his private

behavior, which is replete with hypocrisy, misogyny, and retaliation.

             4.       In public, Mr. Baldoni gave the appearance of taking responsibility for the

fact that he had “unconsciously” been “hurting” and “silencing” the women in his life, and




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implored men to be “man enough” to “shut the hell up and listen” to women.1 He claimed that he

wanted to “end toxic masculinity,” acknowledging his own toxic behavior by admitting that “there

is a woman or two that I in some way made uncomfortable by saying something or doing

something that was chauvinistic or sexist. There is one million percent probability that that

exists . . . ” and that he wanted to say he was “sorry” and would “do better.”2 Mr. Baldoni echoed

this narrative while marketing the Film. In an interview on CBS discussing the release of the Film

on August 7, 2024, he claimed: “I want men to stop asking the question, why do women stay. I

want men to take accountability. I want men to hold other men accountable.”3

               5.        At his own moment of truth—when forced to confront women he had made

uncomfortable on his own set—he trivialized their concerns and failed to take accountability for

the effects of his behavior (whether intended or not). And when faced with the predictable

consequences of having created a toxic set—namely, that the cast did not want to appear alongside

him in public—rather than holding himself accountable, Mr. Baldoni hid behind his billionaire

friend and retained publicists, crisis managers, digital media strategists, and litigators to mount a

sophisticated and well-funded retaliation campaign that sought to “bury” and “destroy” anyone

that challenged his brand. That campaign has succeeded beyond Mr. Baldoni’s wildest

expectations. In fact, the Defendants’ actions have created such a toxic climate of online vitriol

against Ms. Lively, her family, other members of the cast, and various fact witnesses, that all of

the above have received disturbing threats. One fact witness known to publicly support Ms. Lively

recently received a written threat indicating that the witness’s family would be sexually assaulted

and killed unless the witness agreed to “make a statement and give the truth.” This type of climate

was the predictable, if not inevitable, result of the retaliatory campaign launched by the Baldoni-

Wayfarer parties, both before and after the litigation began.

1
    Justin Baldoni, Why I’m Done Trying to be “Man Enough,” TED, at 14:09 (Nov. 2017),
https://www.ted.com/talks/justin_baldoni_why_i_m_done_trying_to_be_man_enough?subtitle=en.
2
  Laurel Pinson, ‘Jane the Virgin’ Star Justin Baldoni Wants to End Toxic Masculinity: ‘The Glass Ceiling Exists
Because Men Put It There,’ GLAMOUR (Dec. 4, 2017), https://www.glamour.com/story/jane-the-virgin-star-justin-
baldoni-wants-to-end-toxic-masculinity.
3
  Justin Baldoni talks “It Ends With Us,” CBS NEWS (Aug. 7, 2024).
https://www.cbs.com/shows/video/eCwZyj3hGXDLJ4XHctnxW6EM59NwoRgw/.

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              6.        The dangerous climate of threats, harassment, and intimidation fueled by

the Defendants’ retaliation campaign has required Ms. Lively to alter her personal and professional

life, and to take steps to protect innocent bystanders rather than exposing them to further harm.

Thus, this Amended Complaint does not refer to certain witnesses by name, nor does it provide

screen shots of their text messages. Importantly, however, these witnesses have given Ms. Lively

permission to share the substance of their communications in this Amended Complaint as

contained herein, and they will testify and produce responsive documents in the discovery process.

              7.        Ms. Lively brought this lawsuit because she was one of the “women or

two” that Mr. Baldoni “one million percent” made “made uncomfortable” on the set of the Film.

As detailed in her opening Complaint and below, Ms. Lively was disturbed by the fact that Mr.

Baldoni spoke about his pornography addiction; divulged information about his sex life; made

derogatory, degrading, and sexual comments; described his own genitalia; improvised intimacy

that had not been rehearsed, choreographed, or discussed with Ms. Lively in advance; and added

graphic content to the script, including multiple new scenes with nudity and a chaotic and violative

birthing scene for which he cast a friend as her OBGYN, among other things.

              8.        But Ms. Lively was not the only one who was uncomfortable on set, and

Mr. Baldoni and Wayfarer knew it. After Mr. Baldoni learned that he had caused Ms. Lively and

others to feel “uncomfortable,” he turned his TED Talk and “feminist” advocacy on its head. He

did not hold himself and other men “accountable,” or take his own advice to be “confident” enough

to “hold their anguish and actually believe them,”4 but instead used a “louder voice to silence” Ms.

Lively and anyone else who might speak up. That “louder voice”—amplified by publicists, crisis

managers, digital media teams, and lawyers—has sought to mislead the public into believing that

Ms. Lively did not experience sexual harassment by portraying her as a powerful bully who

fabricated claims of misconduct in order to seize control of Mr. Baldoni’s movie. This narrative is

false and nonsensical on its own terms, completely at odds with Mr. Baldoni’s confession to his


4
 Justin Baldoni, Why I’m Done Trying to be “Man Enough,” TED, at 13:23 (Nov. 2017),
https://www.ted.com/talks/justin_baldoni_why_i_m_done_trying_to_be_man_enough?subtitle=en.

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crisis manager on August 30, 2024 that Ms. Lively “is the kind of person that genuinely believes

she’s right and that all of this is unjust,” and is breathtakingly cynical coming from a man whose

public brand is built upon a pro-feminist facade that urges others to listen to and believe women.

                 9.         More importantly, the Defendants’ false narrative crumbles under the

indisputable truth that Ms. Lively was not alone in complaining about Mr. Baldoni and raised her

concerns contemporaneously as they arose in 2023, not in connection with some imagined power

play for control of the Film in 2024. The experiences of Ms. Lively and others were documented

at the time they occurred starting in May of 2023. Importantly, and contrary to the entire narrative

Defendants have invented, Mr. Baldoni acknowledged the complaints in writing at the time.5 He

knew that women other than Ms. Lively also were uncomfortable and had complained about his

behavior.

                 10.        On May 24, 2023, Ms. Lively confided in a text to a woman who was a

mutual friend of Mr. Baldoni and Mr. Heath: “I was gonna invite you to set tomorrow. These

people. Whoa . . . It’s like HR nuts today. The both of them. I wasn’t expecting that turn. I mean

it’s been present but today I came home and cried.” Further in the exchange, Ms. Lively describes

Mr. Baldoni and Mr. Heath as “creeps . . . . Like keep your hormones to yourselves. This is not

mine. I don’t want it. I don’t want you [sic] gaze or words or tongue or videos of your naked wife.

Yeah. It’s shocking. Clowns.”

                 11.        A few days later, on May 26, 2023, Ms. Lively reported her concerns

regarding unwelcome and inappropriate behavior by Mr. Baldoni and Mr. Heath, the Chief

Executive Officer of Wayfarer and Producer of the Film, to Sony employee Ange Gianetti, the

Film’s representative for its distributor Sony Pictures Entertainment.

                 12.        Over the following three days in May of 2023, another female cast member

reported her own concerns regarding Mr. Baldoni’s unwelcome behavior to both Ms. Gianetti and
one of the Film’s producers. Notwithstanding that female cast member’s considerable reservations



5
    See also Answer of Defendant Wayfarer Studios, LLC, Dkt. 35 ¶ 4.

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with coming forward, she nonetheless spoke up and conveyed her feelings that the work on the

Film was suffering as a result of Mr. Baldoni’s behavior. Ms. Gianetti shared those concerns with

Wayfarer.

             13.       On June 1, 2023, Mr. Baldoni responded to that female cast member in

writing, acknowledging that he was aware of her concerns, and that adjustments would be made.

             14.       Notwithstanding that promise, Wayfarer took no actions to investigate this

reported conduct, nor did it implement any protections at that time. Just one week later, on June 8,

2023, the same female cast member told Ms. Lively about her growing concerns with the

conditions on set and that she found it difficult to talk to Mr. Baldoni. Ms. Lively responded that

“I know I find it really hard to speak to him. I try to cover it with busyness but not sure that covers

what’s going on.” Later, another female cast member confided to Ms. Lively that she too felt

uncomfortable on set. All of this occurred, and was documented in writing, almost one year before

the editing of the Film began.

             15.       As a result of guild strikes, production of the Film shut down on or about

June 14, 2023. In the midst of that shut down, on October 13, 2023, Ms. Lively confided in a text

to a female cast member that she was “dreading going back to our film. I keep getting hits of the

experience in really upsetting ways.” The female cast member expressed empathy for Ms. Lively

and confirmed similar feelings.

             16.       Before returning to production following the guild strikes, based on

Wayfarer’s complete failure to investigate or address any of the complaints conveyed by Ms.

Lively and others, Ms. Lively decided to speak up and require that Sony and Wayfarer agree to a

set of protections to ensure a safe set for all of the cast and crew. Thus, in mid-November 2023,

the parties agreed in writing to implement a list of protections enumerated in a contract entitled,

“Protections for Return to Production,” attached hereto as Exhibit A, which included seventeen

provisions designed to require Wayfarer to cease the on-set behavior of Mr. Baldoni and Mr.

Heath. These provisions were designed to remedy the misconduct that Ms. Lively and others had
reported earlier that year. One of those provisions required an “all-hands meeting” to “confirm and


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approve a plan for implementation of [certain protections] that will be adhered to for the physical

and emotional safety of [Ms. Lively], her employees and all cast and crew moving forward.”

Exhibit A ¶ 17. Another provision required that an experienced producer, Todd Black, be brought

in to oversee production and ensure that the requested protections were adhered to for the safety

of all cast and crew members.

               17.        Importantly, none of the requested protections were tied in any way to Ms.

Lively’s creative input in the Film and were made months before any discussions regarding the

cut of the film. At that moment in time, with the completion of the Film uncertain, Ms. Lively did

not request, nor did she receive, any creative rights, editing rights, credits or any other role on the

Film beyond her roles as an actress and executive producer. Everything she requested, as laid out

in the document, was designed to ensure the safety and well-being of the cast and crew. In other

words, at the precise moment in time when Ms. Lively had maximum leverage prior to resuming

production, she did not use that leverage to obtain anything other than protections for herself and

others to ensure a safe work environment for all. The notion that she did all of this as some sort of

byzantine plot to “take control of the movie” at some future point, which she did not do in any

event, is absurd, and there is not a shred of evidence to support it.

               18.        After receiving the document, Wayfarer responded that “Wayfarer, Sony

and Production respectfully acknowledge that [Ms. Lively] has concerns regarding safety,

professionalism and workplace culture. Although our perspective differs in many aspects, ensuring

a safe environment for all is paramount, irrespective of differing viewpoints. Regarding your

outlined requests, we find most of them not only reasonable but also essential for the benefit of

all parties involved.”6 Following Wayfarer’s agreement, Ms. Gianetti texted Ms. Lively on

November 29, 2023 and said: “So glad Todd [Black] is in it now and overseeing everything but

wanted to check in, offer anything I can. I know this has been beyond challenging to say the least.

We at studio want to support you best we can.”


6
 Through It Ends With Us Movie, LLC, Wayfarer ultimately confirmed its obligation to abide by all of the Protections
for Return to Production in a contractual rider, executed on January 19, 2024, which is attached hereto as Exhibit B.

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             19.      On January 4, 2024, prior to resuming production of the Film, the

“all- hands” meeting that Wayfarer and Sony had agreed to in November was held in New York.

Attendees of the meeting included: (1) Mr. Baldoni; (2) Mr. Heath; (3) Ms. Gianetti; (4) Ms. Saks;

(5) Todd Black; (6) Ms. Lively, and (7) Ms. Lively’s husband, Ryan Reynolds, who Ms. Lively

chose as her representative—a choice which Ms. Lively had the right to exercise under the

November agreement—given that the meeting was about repeated sexual harassment and other

disturbing behavior by Mr. Baldoni and Mr. Heath.

             20.      During the January 4 meeting, the parties discussed in detail the

inappropriate conduct that Ms. Lively, her employees, and other cast and crew experienced at the

hands of Mr. Baldoni and Mr. Heath. Ms. Lively read the list below in its entirety, and after a

discussion, all parties present agreed that the outlined conduct would cease:




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             21.      At the end of the January 4 meeting, having discussed at length the details

of concerns that had been expressed by Ms. Lively and others, the parties agreed to implement and
follow the Protections for Return to Production to ensure that the Film could be completed,


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marketed, and released safely and successfully. And it was. Production of the Film resumed on

January 5, and concluded on February 9, 2024. As discussed below, the Film has been a resounding

success.

               22.        As the cast and crew returned to production, on January 14, 2024, Ms.

Lively reassured a female cast member that, as a result of the protections that Wayfarer and Sony

had agreed to, “you don’t need to hug anyone” this time, to which the female cast member

responded with gratitude. Ms. Lively continued that “he won’t touch you. Or shouldn’t. I don’t

think he or Jamey [Heath] will.” Ms. Lively expressed her belief that it would be “a professional

set and we’re getting good work.”

               23.        Leading up to and in connection with the release of the Film, during the

summer of 2024, Ms. Lively and fellow cast members promoted the Film in accordance with the

Marketing Plan created and delivered by the Film’s distributor Sony, which is summarized in the

“talking points” attached hereto as Exhibit C. Ms. Lively and other cast members were under a

contractual obligation to engage in media, press, marketing activities and render promotional

services in accordance with the Marketing Plan. The Marketing Plan directed the cast to “[f]ocus

more on Lily’s strength and resilience as opposed to describing the film as a story about domestic

violence” and to “[a]void talking about this film that makes it feel sad or heavy [sic]—it’s a story

of hope.” See Exhibit C at 2.7 Wayfarer endorsed this plan—in an email to Sony on August 11,

2024, Mr. Heath described the marketing of the Film to date as “brilliant” and “fantastic” and

noted that “[w]e are not saying it’s been inappropriately marketed in any way.”

               24.        In the days leading up to the Film’s release, Mr. Baldoni abruptly pivoted

away from the Film’s Marketing Plan and the types of publicity activities in which he had

previously participated. What the public did not know was that Mr. Baldoni and his team did so in

an effort to explain why many of the Film’s cast and crew had unfollowed Mr. Baldoni on social

media and were not appearing with him in public. To that end, he and his team used domestic


7
 Mr. Baldoni himself launched the Marketing Plan by hosting the first press event in early May 2024 (a month before
any other cast did any promotion of the film).

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violence “survivor content” to protect his public image, as described in further detail below. See

¶¶ 176-182.

               25.        Other cast members contemporaneously observed Mr. Baldoni’s pivot as it

was happening. For example, a female cast member lamented to Ms. Lively in a text on August

10, 2024 that Mr. Baldoni’s marketing pivot was jeopardizing the success of the Film, and opined

that the pivot would not work because it would eventually come out that Mr. Baldoni was using

domestic violence commentary to cover his own behavior.

               26.        What the public also did not know was that this was the beginning of a

multi-tiered plan that Mr. Baldoni and his team described as “social manipulation” designed to

“destroy” Ms. Lively’s reputation. That plan was backed by virtually unlimited resources.

Wayfarer’s co-founder, co-chairman, and leading financier is multi-billionaire, Steve Sarowitz,

who divulged to a witness at the Film’s New York premiere on August 6, 2024, that he was

prepared to spend $100 million to ruin the lives of Ms. Lively and her family.8

               27.        That was not the only time Mr. Sarowitz made such a threat. Later in August

2024, even though the Film had “turned out very well,” and Wayfarer had “made a lot of money”

on it, Mr. Sarowitz confessed to another witness, an individual who was working with Wayfarer

on an unrelated project, that if Ms. Lively or Mr. Reynolds “ever cross the line, ever, then I will

go after them.”9 He declared: “I will protect the studio like Israel protected itself from Hamas.
There were 39,000 dead bodies. There will be two dead bodies when I’m done. Minimum. Not

dead, but ‘you’re dead to me.’ So that kind of dead. But dead to a lot of people. If they ever get

me to that point. Then I’ll make it worth their while. Because I’m gonna spend a lot of money to

make sure the studio is protected.”

               28.        Supported by Mr. Sarowitz’s financial backing and militaristic worldview,

8
  When asked about this comment, Mr. Sarowitz’s counsel “confirmed that his client is prepared to spend whatever
necessary to defend Baldoni, Wayfarer Studios and himself.” Monica Hunter-Hart, Meet the Little-Known Billionaire
Caught Up in the Baldoni-Lively Scandal, Forbes (January 7, 2025), https://www.forbes.com/sites/monicahunter-
hart/2025/01/07/meet-the-little-known-blake-lively-steve-sarowitz-billionaire-caught-up-in-the-baldoni-lively-
scandal/.
9
  As with other witnesses not named in this Amended Complaint, the individual to whom Mr. Sarowitz made these
statements has given Ms. Lively permission to share this incident and will testify to its effect.

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Mr. Baldoni and his Wayfarer associates embarked on a sophisticated press and digital plan in

retaliation for Ms. Lively exercising her legally-protected right to speak up about their

misconduct on the set, with the additional objective of intimidating her and anyone else from

revealing in public what actually occurred.

                29.        On July 31, 2024, following the recommendation of their publicist, Jennifer

Abel, Wayfarer, and Mr. Baldoni retained a crisis communications specialist named Melissa

Nathan, and her company The Agency Group PR LLC (“TAG”). Ms. Nathan delivered a proposal

to Mr. Baldoni, which included “[a] website (to discuss), full reddit, full social account take downs,

full social crisis team on hand for anything – engage with audiences in the right way, start threads

of theories (discuss) this is the way to be fully 100% protected.” Ms. Nathan also proposed the

“creation of social fan engagement to go back and forth with any negative accounts, helping to

change [sic] narrative and stay on track.” Per Ms. Nathan, “All of this will be most importantly

untraceable.” As Ms. Abel described it, the plan was to engage in “social media mitigation and

proactive fan posting to counter the negative” as well as “social manipulation.”10

                30.        This plan went well beyond standard crisis PR. What Ms. Nathan proposed

included a practice known as “Astroturfing,” which has been defined as “the practice of publishing

opinions or comments on the internet, in the media, etc. that appear to come from ordinary

members of the public but actually come from a particular company or political group.”11


10
   Ms. Lively obtained the communications set forth in her original complaint through legal process, including a civil
subpoena served on Jonesworks LLC. In statements to the media and in public filings in this Court, certain of the
Defendants and their counsel have baselessly claimed that Ms. Lively or her counsel engaged in “criminal alteration”
of these materials. That is false. Jonesworks produced the communications to Ms. Lively in connection with a lawful
subpoena, and the documents included within this Complaint are attached in the format in which they were produced
subject to the subpoena, with limited redactions of names and phone numbers to protect third parties’ privacy. At all
times, Ms. Lively has understood the produced documents and communications to have been lawfully obtained,
maintained, and produced by Jonesworks. Ms. Lively included all excerpts of communications as produced, which on
information and belief, were produced in the data extractor program’s (Cellbrite) default font and format (including,
for example, the absence of text “emojis” in that production format). Images such as emojis, when available in a
preserved screen shot for example, were attached as produced.
11
   Astroturfing. CAMBRIDGE DICTIONARY, https://dictionary.cambridge.org/us/dictionary/english/astroturfing (last
visited Dec. 16, 2024); see also Astroturfing, WIKIPEDIA, https://en.wikipedia.org/wiki/Astroturfing (last visited Dec.
19, 2024) (“Astroturfing is the deceptive practice of hiding the sponsors of an orchestrated message or organization
(e.g., political, advertising, religious, or public relations) to make it appear as though it originates from, and is
supported by, unsolicited grassroots participants. It is a practice intended to give the statements or organizations
credibility by withholding information about the source’s financial backers.”).

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             31.       On August 2, 2024, TAG circulated a “SCENARIO PLANNING”

document to Mr. Baldoni, Mr. Heath, and others, which described preparations and strategy

“should [Ms. Lively] and her team make her grievances public” (the “Scenario Planning

Document”), and is attached hereto as Exhibit D. To “get ahead of this narrative,” Ms. Nathan’s

plan proposed strategies to advance misleading counternarratives, including pushing Ms. Nathan’s

narrative that Ms. Lively had a “less than favorable reputation,” proposing to “explore planting

stories about the weaponization of feminism…,” and misleadingly blaming Ms. Lively for

production members’ job losses. See Exhibit D at 2–3.

             32.       Initially, Mr. Baldoni expressed concerns that TAG’s written plan was

insufficiently aggressive to “protect” him. Writing to Mr. Heath and Ms. Abel, he said he was

“[n]ot in love with the document they sent – Not sure I’m feeling the protection I felt on the call”

with Ms. Nathan and her colleagues. In response, Mr. Heath attempted to reassure Mr. Baldoni

that they had found the right people for his campaign. In Mr. Heath’s words, “the most important

part of this is how quickly they can shut things down and place stories in your favor.”




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             33.      Later that day, Ms. Abel and Ms. Nathan exchanged the following text

messages, expressing that Mr. Baldoni “wants to feel like [Ms. Lively] can be buried.” Ms. Abel

and Ms. Nathan agreed that, of course, they would do just that, but could not say so in writing.

“We can’t write it down to him. We can’t write we will destroy her.” “Imagine if a document

saying all the things that he wants ends up in the wrong hands.”




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             34.       Ms. Nathan followed this by assuring Ms. Abel: “you know we can bury

anyone [sic] But I can’t write that to him.”

             35.       A few days later, on August 5, 2024, Mr. Baldoni set the narrative for the

social media campaign, sending Ms. Abel a screenshot of a thread on X that had accused another

female celebrity of bullying women. Mr. Baldoni stated, “this is what we would need.”




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              36.     Ms. Abel responded that she had just “spoke[n] to Melissa about this …

about what we discussed last night for social and digital.” Ms. Abel added, “Focus on reddit,

TikTok, IG.” With reassurance that Ms. Lively would be “destroy[ed]” and “buried,” Wayfarer

and Mr. Baldoni directed Ms. Nathan and her team to actively engage in their retaliatory “social

manipulation” campaign.

              37.     In the weeks and months that followed—with the direction and approval of

Wayfarer and Mr. Baldoni—the team engaged in a sophisticated, coordinated, and well-financed

retaliation plan.

              38.     The retaliation campaign relied on more than just publicists and crisis

managers spinning stories. They also retained a Texas-based contractor named Jed Wallace, who

weaponized a digital army around the country from New York to Los Angeles and beyond to

create, seed, promote, and engage with content that appeared to be authentic on social media

platforms and internet chat forums. The Baldoni-Wayfarer team would then feed pieces of this

manufactured content to unwitting reporters, helping to make content go viral in order to influence

public opinion and thereby cause an organic pile-on. To safeguard against the risk of Ms. Lively

ever revealing the truth about Mr. Baldoni, the Baldoni-Wayfarer team created, planted, amplified,

and boosted content designed to eviscerate Ms. Lively’s credibility. They engaged in the same

techniques to bolster Mr. Baldoni’s credibility and suppress any negative content about him.

              39.     On August 10, the day after release of the Film, Ms. Nathan’s team reported

that they had “started to see a shift on social, due largely to Jed and his team’s efforts to shift

the narrative” against Ms. Lively.




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             40.       That same day, Ms. Nathan noted that as part of this shift, “[t]he majority

of socials are so pro Justin and I don’t even agree with half of them [sic] lol.”




             41.       Later in the same text conversation, Ms. Nathan and Ms. Abel described the

shift in social media, which they had earlier admitted Mr. Wallace and his team had caused,

causing Ms. Abel to conclude that Ms. Lively deserved what was happening on social media

because she had unfollowed Mr. Baldoni on social media and declined to do publicity with him.




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             42.      Defendants have admitted that on August 12, 2024, in the midst of a massive

sentiment shift on social media that was engulfing Ms. Lively and others with a flood of negative

comments, Wayfarer was asked to issue a statement to help correct the situation by accepting

accountability for the production it oversaw. But rather than doing so, Ms. Nathan advised that

issuing such a statement would be a “Career killer” for Mr. Baldoni, who she urged to “Lawyer

up” and “fight.”

             43.      Less than one week later, they again bragged about how they had shut down

stories regarding HR complaints on set. On August 15, 2024, Ms. Nathan remarked that “this went

so well . . . It was genius. So okay, we have the four majors standing down on HR complaint.”




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             44.      As their own words reveal, the purpose of this “social manipulation” plan

was two-fold: it aimed to both (a) conceal the pattern of harassment and other misconduct by Mr.

Baldoni, Mr. Heath, and Wayfarer, and (b) retaliate against Ms. Lively by battering her image,

harming her businesses, and causing her and her family severe emotional harm. Millions of people

(including many reporters and influencers) who saw these planted stories, social media posts, and

other online content had no idea they were unwitting consumers of a crisis PR, astroturfing, and

digital retaliation campaign created and funded by Mr. Baldoni and Wayfarer to hurt Ms. Lively.

That is precisely the goal of an astroturfing campaign—to light the fire and continue to stoke

conversations secretly, blurring the line between authentic and manufactured content, and creating

viral public takedowns.

             45.      In just days, the retaliation campaign had resulted in the viral spread of

hateful, threatening, and derogatory content directed at Ms. Lively, her family, and other female

cast members, as well as harassment and cyber bullying of the same. Online hate and vitriol found

its way onto the social media accounts of much of the cast of the Film, Ms. Lively, Mr. Reynolds,

and numerous businesses associated with them. By August 14, 2024, a female cast member texted
Ms. Lively, expressing feeling concerned and helpless about the online narrative.
             46.       A different female cast member wrote to Ms. Lively on August 14, 2024 to


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ask whether she knew if Sony could help her address the cyber bullying she was experiencing,

which was getting nastier and more difficult to cope with by the day.

              47.        As described further below, many individuals (and businesses) other than

Ms. Lively herself began to experience vitriol, harassment, and cyber bullying around this time,

demonstrating the obvious falsity of Defendants’ self-serving insistence (since Ms. Lively’s first

Complaint in this action) that they engaged in “no proactive measures” and that this viral spread

of online hatred was entirely the result of Ms. Lively’s “own remarks and actions during the

campaign for the film.”

              48.        Indeed, these facts are not in dispute: Mr. Baldoni and the Wayfarer parties

have already admitted that Ms. Lively raised concerns multiple times. They admitted that they

created a plan in case she “made her grievance public,” in which they planned to plant stories

suggesting Ms. Lively was a “bully” and “weaponizing feminism.” They admitted that their team

was able to “bury” anyone. They admitted that they bragged and laughed at how negatively the

narrative had shifted against Ms. Lively, and how successful they were at “confusing” people.

They admitted that, within hours of laying out their plan, they “started to see a shift on social, due

largely to Jed and his team’s efforts to shift the narrative.”12 And they did all this despite the

knowledge that Ms. Lively “genuinely believes she’s right and that all of this is unjust.”




12
  See Answer of Defendant Wayfarer Studios, LLC, Dkt. 35 ¶¶ 4, 11, 127, 131; Answer of Defendant The Agency
Group, Dkt. 37 ¶¶ 14, 19, 149.

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             49.       Despite all of this, they claim their plan was never implemented, and

somehow the universe simply “organically” provided them with the exact result they planned for,

at the exact time they wanted it, using the exact narratives they developed. The problem for

Defendants is that they put their plan for an “untraceable” campaign in writing, and the evidence

shows them commenting on the success of their plan as it unfolded.

             50.       In her opening Complaint, Ms. Lively noted that she “is informed and

believes that Mr. Baldoni and his associates have additional astroturfing plans that they have

prepared and are ready to launch at a moment’s notice.” That is precisely what occurred starting

the moment that Ms. Lively sent a Cease and Desist letter to Defendants on December 20, 2024,

including with it a copy of her administrative complaint filed with the California Civil Rights

Department (“CRD”). Upon receiving the Cease and Desist letter, Defendants leaked the

administrative complaint to certain hand-selected publications to get ahead of it, gave numerous

statements to the press including blatantly false and defamatory factual allegations, and began a

near-daily media and social media blitz aimed at discrediting Ms. Lively, Ms. Lively’s long-time

publicist, Mr. Reynolds, Disney, the New York Times, and more.

             51.       On information and belief, all Defendants actively participated in this

enhanced retaliation campaign. Defendants’ counsel threatened numerous lawsuits to sue Ms.

Lively and others “into oblivion,” and proceeded to file four lawsuits in three jurisdictions with

fantastical damages of hundreds of millions of dollars in each. On information and belief,

Defendants’ counsel has threatened both fact witnesses, neutral commentators, and publications

with lawsuits for doing nothing more than speaking out, or publicly reporting unfavorable

information, about the Defendants.

             52.       In sum, with his own misconduct exposed, Mr. Baldoni refused to take

accountability for his own actions when asked, he eschewed his own advice to “just shut up and

finally listen to the women in our lives” and he did not have the courage to “hold their anguish and

actually believe them, even if what they’re saying is against you.” Instead, he called upon Mr.
Sarowitz to fund a legal, press, and astroturfing campaign to ensure that Ms. Lively would be


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forced “to risk everything [to] come forward.”

             53.       The irony of Mr. Baldoni’s response to Ms. Lively’s speaking out is that his

own publicist and co-Defendant Jennifer Abel, expressed her own dislike for Mr. Baldoni,

declaring “I can’t stand him. He’s so pompous,” and predicted that he would seek to blame others

if necessary to protect himself. On January 14, 2024, Ms. Abel wrote that “He doesn’t need a

retreat. He needs to be humbled. When this movie flops, he’s going to try to blame every person

around him for it[.]” She continued in another message:




             54.       On December 21 and 22, 2024, a female cast member who had also

complained, share with Ms. Lively that she couldn’t believe they could do this to her, and the fact

that this was happening to Ms. Lively was frightening to her.

             55.       As laid out in this Amended Complaint, the Baldoni-Wayfarer-led

takedown of Ms. Lively was the intended result of a carefully crafted, coordinated, and resourced

retaliatory scheme to silence her, and others, from speaking out about the hostile environment that

Mr. Baldoni and Mr. Heath created. As such, it was not only unconscionable and a breach of

contract, but also illegal under both state and federal law. Ms. Lively brings this action to hold

Defendants accountable for the ongoing retaliation, threats, and harm they have caused Ms. Lively,

other cast and crew, and all of their families.

                                             PARTIES

             56.       Plaintiff Blake Lively (“Plaintiff”) is an actress and entrepreneur who co-

starred in and served as an executive producer for the Film. Ms. Lively is an individual who resides
in New York, New York.


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             57.       Defendant Wayfarer Studios LLC (“Wayfarer” or “Wayfarer Studios”) is a

production company co-founded by Justin Baldoni and Steve Sarowitz. Wayfarer co-financed and

produced the Film, through its production entity It Ends With Us Movie LLC, and thus was the

employer of all cast and crew on set, including Ms. Lively. Wayfarer is a Delaware limited liability

company with its principal place of business in California. On information and belief, no members

of Wayfarer Studios LLC are citizens of New York. On information and belief, all of Wayfarer’s

members are citizens of California and/or Illinois.

             58.       Defendant Justin Baldoni is a co-founder and co-chairman of Wayfarer who

co-starred in, directed, and served as a producer for the Film. Mr. Baldoni is an individual who

resides in Santa Paula, California.

             59.       Defendant Jamey Heath is an individual who has been Wayfarer’s Chief

Executive Officer since March 2024 and was President of Wayfarer during production of the Film.

Mr. Heath resides in Los Angeles, California.

             60.       Defendant Steve Sarowitz is a co-founder and leading financier of

Wayfarer. Mr. Sarowitz is an individual who resides in Highland Park, Illinois.

             61.       Defendant It Ends With Us Movie LLC is a company that entered into an

agreement regarding Plaintiff’s acting services and regarding the contractual rider for the Film. It

Ends With Us Movie LLC is a California limited liability company with its principal place of

business in California. On information and belief, Defendant Wayfarer is the sole member of It

Ends With Us Movie LLC. On information and belief, no members of It Ends With Us Movie

LLC are citizens of New York. On information and belief, all of the members of It Ends With Us

Movie LLC are citizens of California and/or Illinois.

             62.       Defendant Melissa Nathan is an individual who provides crisis management

and communications services. Ms. Nathan launched The Agency Group PR LLC in January 2024.

Ms. Nathan is an individual who resides in North Hollywood, California. During a portion of the

relevant period, Ms. Nathan lived in Brooklyn, New York.
             63.       Defendant The Agency Group PR LLC (“TAG”) is a company that provides


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services including messaging and narrative development, media relations, crisis communications

and management, and digital and social strategy. TAG is a Delaware limited liability company

with its principal place of business in Santa Monica, California. On information and belief, no

members of TAG are citizens of New York.

              64.       Defendant Jennifer Abel is CEO and founder of RWA Communications

LLC. Ms. Abel is an individual who resides in Beverly Hills, California and provides public

relations services.

              65.       Defendant Jed Wallace is President, Director, and Secretary of Street

Relations Inc., formerly known as Street Relations LLC. Mr. Wallace is an individual who resides

in Dripping Springs, Texas and who has described himself as a self-employed “PR consultant”

who offers “crisis mitigation” services.

              66.       Defendant Street Relations Inc. (“Street Relations”) is a company that

describes itself as a “crisis mitigation firm engage by clients to help navigate real-life human crisis,

threats, trauma and mental health concerns.” Street Relations is incorporated in the state of

California with a principal place of business in Texas. In 2008, Street Relations LLC—a California

limited liability corporation—filed a Statement of Conversation with the Secretary of State of the

State of California to convert into a general stock corporation named Street Relations. Street

Relations LLC filed incorporation documents in California in 2007, and in a June 2007 filing

described itself as a “Communications, marketing, and brand/media consultation” company with

Mr. Wallace as its sole manager.

                                  JURISDICTION AND VENUE

              67.       This Court has original jurisdiction over the claims for relief asserted in this

complaint pursuant to 28 U.S.C. § 1331, 28 U.S.C. § 1343 (a)(4), and 28 U.S.C. § 1367.

              68.       Plaintiff’s Title VII causes of action arise under federal law and Plaintiff’s

California claims arise from the same underlying facts, and are thus so related to her federal claims

that they form part of the same case or controversy.
              69.       This Court additionally has original jurisdiction over the claims for relief


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asserted in this complaint pursuant to 28 U.S.C. § 1332 because the matter in controversy exceeds

the sum or value of $75,000, exclusive of interest and costs, and no defendant is a citizen of the

same State as Plaintiff.

             70.       This Court may exercise personal jurisdiction over Defendants pursuant to

§ 301 of the New York Civil Practice Law and Rules because all Defendants systematically and

continuously conduct and solicit business within New York and have availed themselves of the

privileges of conducting business in the State of New York.

             71.       This Court may exercise personal jurisdiction over Defendants because, as

further alleged herein, Defendants each participated in a civil conspiracy and, on numerous

occasions, individual co-conspirators engaged in overt acts in furtherance of that conspiracy that

had sufficient contacts with New York to subject that co-conspirator to jurisdiction in New York.

             72.       This Court may exercise personal jurisdiction over Defendants pursuant to

§ 302 of the New York Civil Practice Law and Rules, including because, upon information and

belief, all Defendants transact and solicit business within the State, have committed the tortious

acts described in this Complaint within the State, and/or have committed such acts outside of the

State causing injury to Plaintiff within the State.

             73.       As just a few examples: on January 4, 2024, Mr. Baldoni and Mr. Heath, in

their own capacities and as representatives of Wayfarer, met in person in New York with Ms.

Lively to discuss her concerns regarding Mr. Baldoni and Mr. Heath’s harassing behavior and

other on-set misconduct that started the sequence of events leading to this suit, and were directly

engaged, via contract with a New York forum selection clause, with Jonesworks, with its principal

place of business in New York, and which engagement gave rise to the retaliation campaign at

issue; Mr. Sarowitz threatened to ruin the lives of Ms. Lively and her family while attending the

Film’s New York premiere in connection with his position at Wayfarer; Ms. Abel worked as an

employee of Jonesworks, which position directly gave rise to the retaliation campaign at issue;

Wayfarer contracted with Jonesworks for certain communications and public relations services
that gave rise to this dispute in an agreement under which Wayfarer consented to jurisdiction in


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New York; Ms. Nathan conducted business from Brooklyn, New York during a portion of the

relevant period; in their efforts to “bury” Ms. Lively and to conceal Mr. Baldoni’s on-set behavior,

Ms. Nathan, Ms. Abel, Mr. Wallace, and Street Relations Inc. targeted New York by, among other

things, communicating with (or causing content to be provided to) journalists, content creators,

and media entities based in New York, including at least one journalist at the New York Post and

another at the New York Times; and all Defendants have alleged that they had a contract with The

New York Times in direct connection with the publication of an article pursuant to which they

have brought suit, and in connection therewith, their agent and lawyer Mr. Freedman made

defamatory statements regarding Ms. Lively on their behalf; and each of the Defendants’ tortious

acts caused injury to Ms. Lively, her family, and/or her businesses in New York.

             74.       Venue is proper in this district pursuant to 28 U.S.C. § 1391 (b) and (c),

because a substantial part of the events or omissions giving rise to these claims occurred in this

District and because Defendants are subject to personal jurisdiction in this District.

                                  FACTUAL ALLEGATIONS

   A. Justin Baldoni and Jamey Heath of Wayfarer Engage in Inappropriate and
      Unwelcome Behavior Toward Ms. Lively and Others on the Set of It Ends with Us.

             75.       Mr. Baldoni launched Wayfarer, along with Mr. Sarowitz, in 2020. Mr.

Heath serves as Wayfarer’s Chief Executive Officer. Mr. Sarowitz is a leading financier of

Wayfarer, and he, Mr. Heath, and Mr. Baldoni are all close personal friends. Under the Wayfarer

banner, Mr. Baldoni and Mr. Heath have many platforms, including the Man Enough podcast,

which they co-host. Mr. Baldoni and Mr. Heath have positioned Wayfarer as a male-feminist

platform that explores gender roles, dismantles toxic masculinity, and creates a safer and

judgment-free society for women.

             76.       Mr. Baldoni serves not only as the co-founder and co-chairman of the Studio

that financed and ran production on It Ends With Us, he also served as Director, Executive

Producer, and co-lead actor playing the role of Ryle Kincaid. As Studio Head and Director, all
actors, crew, and staff on the Film—including Ms. Lively—answered to Mr. Baldoni. In his words,


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he was “the leader” who sat “at the top of this totem pole . . .” While Sony was the distributor

releasing the Film, Wayfarer was responsible for the production, and Wayfarer was led by Mr.

Baldoni and Mr. Heath.

              77.       Production of the Film began in early May 2023, and lasted until it was

suspended in mid-June 2023, due to the Writers Guild of America (“WGA”) strike.

              78.       During that time, Ms. Lively and other cast and crew experienced invasive,

unwelcome, unprofessional, and sexually inappropriate behavior by Mr. Baldoni and Mr. Heath.

Because Mr. Baldoni and Mr. Heath held all leadership positions on the production, they answered

to no one, and brushed off or ignored the concerns Ms. Lively and others expressed.

            a. Mr. Baldoni ignored well-established industry protocols in filming intimate
               scenes, and exploited the lack of controls on set to behave inappropriately.

              79.       Wayfarer failed to adhere to guild rules, as well as Ms. Lively’s contract,

and standard industry safety protocols with respect to nudity and intimate scenes, which the Screen

Actors Guild and the American Federation of Television and Radio Artists (“SAG-AFTRA”)

acknowledges “place performers in uniquely vulnerable situations.”13 Such safeguards ignored by

Wayfarer include: providing performers with appropriate notice of nudity and simulated sex and

ensuring that (i) consent is given free of pressure or coercion, (ii) signed “nudity riders” are in

place, spelling out the parameters of nudity or simulated sex scenes, (iii) “safe and secure working

conditions that are not detrimental to [a performer’s] health, safety, morals and career,”14 and (iv)
the use of “intimacy coordinators” to observe intimate scenes.15

              80.       Without these protections in place, Mr. Baldoni improvised physical

intimacy that had not been rehearsed, choreographed, or discussed with Ms. Lively, with no

intimacy coordinator involved. For instance, Mr. Baldoni discreetly bit and sucked on Ms. Lively’s

lower lip during a scene in which he improvised numerous kisses on each take that were not pre-



13
     Quick Guide for Scenes Involving Nudity and Simulated Sex, (Dec.               29,   2024,   6:27   PM),
https://www.sagaftra.org/quick-guide-scenes-involving-nudity-and-simulated-sex-0.
14
   Id.
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   Id.

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approved in the script and without an intimacy coordinator there. Mr. Baldoni insisted on shooting

the full scene over and over again, well beyond what would have been required on an ordinary set,

and without advance notice, conversation, or consent.

                81.        On another occasion, Mr. Baldoni and Ms. Lively were filming a slow dance

scene for a montage scene, meaning that none of the sound recorded while filming the scene was

meant to be used in the Film. Music was intended to play over the action. Nonetheless,

microphones were live to pick up “room tone” but not conversations or dialogue to be used in the

Film. The scene in the script specifically described dancing without dialogue and did not include

any intimate conduct or kissing.




                82.        Mr. Baldoni did not provide notice or seek consent for any intimacy in

advance. Instead, Mr. Baldoni chose to spontaneously improvise the scene while the cameras were

rolling. During the filming, Mr. Baldoni repeatedly leaned in toward Ms. Lively, attempting to kiss

her, kissing her forehead, rubbing his face and mouth against her neck, putting his thumb to her

mouth and flicking her lower lip, caressing her, and telling her how good she smells. None of this

took place while Mr. Baldoni was “in character” as Ryle, because both the intimacy and dialogue

departed from what had been agreed to in the script. Ms. Lively was uncomfortable and kept

leaning away and repeatedly suggesting, and then begging, that their characters should just talk.

She tried to use levity and “creative” pleas to deflect the unwanted touching, hoping to get through

the scene in a way that maintained a professional boundary without antagonizing Mr. Baldoni.16



16
  The fact that Ms. Lively varied the number of kisses in other scenes in which the kissing was scripted in advance
does not justify Mr. Baldoni’s improvisations or his attempts to add graphic sex scenes into the Film. In other scenes,
the kissing was consistent with the plot, it had structure and blocking, and most importantly, it was discussed in
advance and was mutually consensual. There can be flexibility in such scenes, but it must be within appropriate
boundaries, and the key is advance planning and consent. Mr. Baldoni acted without planning, without consent, and
grossly outside of acceptable boundaries. He made it personal and repeated, even after Ms. Lively spoke up, and
became defensive and dismissive when challenged, no matter how politely she mentioned it.

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The video footage of the scene shows Ms. Lively to be trapped, having to appear as though her

character was happy and in love while the cameras were rolling. Ms. Lively did not want to film

additional takes on the scene but continued to participate to be a team player and support the

production in real time while simultaneously expressing and holding physical boundaries against

Mr. Baldoni’s advances. Ms. Lively even referred to Mr. Baldoni as a “sociopath” at one point

during the exchange. Notwithstanding Ms. Lively’s attempts at humor and levity, her words,

actions, and body language all evince her lack of consent. When Ms. Lively later objected to this

behavior, Ms. Baldoni’s response was, “I’m not even attracted to you.”

             83.       In January of 2025, the Defendants, through their attorney Bryan Freedman,

released this video to the media, apparently hoping that the mere act of releasing the footage would

mislead the public into believing that it shows nothing abnormal or improper. But the footage by

itself corroborates Ms. Lively’s description of the scene to the letter. That is not just Ms. Lively’s

view. As Mia Schachter, an independent and “experienced intimacy coordinator” noted in response

to an inquiry from the Hollywood Reporter, the footage shows Mr. Baldoni “trying to kiss her, and

they clearly haven’t discussed that ahead of time, and she keeps pulling away and clearly doesn’t

want to do that.” Improved intimacy in this scene would not have been flagged for an intimacy

coordinator in advance, Ms. Schachter explained, because in the script “[t]hey’re just slow

dancing. There’s not any mention of any kind of physical intimacy.” As she explained, even though

Ms. Lively is “not powerless,” she “still has to keep working with him and keep the peace and play

nice,” and “I can just see her trying to stay lighthearted and in good spirits about it and not upset

him or anybody, and not waste anybody’s time. But of course she is trapped between a rock and

hard place. I can see her appeasing him and trying to keep a smile on her face.” She continued: “In

terms of the hierarchy on a set, he is in charge.” Even though Ms. Lively is “the star,” she observed,

“he is the director and she’s supposed to take direction from him.” Ultimately, the fact that Mr.

Baldoni, the Director, without advance consent “just went for it,” then “did it again” after she




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“pulled away,” is “pretty damning, both as an actor and a director.” 17 Neither Ms. Lively nor any

of her agents had any contact with Ms. Schachter, nor were they even made aware of the

Hollywood Reporter article until it was published. Nonetheless, on information and belief, Mr.

Freedman sent letters threatening potential legal claims to both Ms. Schachter and the Hollywood

Reporter following the publication of the article.

              84.        Ms. Lively complained about inappropriate behavior as early as May 2023,

which occurred without an intimacy coordinator present, and which ultimately led to Wayfarer

and Sony agreeing with Ms. Lively that the consistent presence of an intimacy coordinator was

“not only reasonable, but essential.” Contrary to Defendants’ assertions elsewhere, Ms. Lively did

not “refuse” to meet with the Film’s intimacy coordinator. She said she did not need to meet with

her before production started because there were no intimate scenes in the immediate future, so

they could talk once production began. Ms. Lively did have a call with the intimacy coordinator

during preparations. Those conversations happened close in time to the filming of the relevant

scenes. Elsewhere, Mr. Baldoni has blamed the intimacy coordinator for supposedly writing

graphic new sex scenes including foreplay and orgasms and talking about a “clit,” (Wayfarer

Amended Complaint Ex. A, Dkt. 50-1 at 15) but Ms. Lively consented to the sex scenes in the

script as written at the time she signed on to the Film, and Mr. Baldoni did not have consent to

rewrite and add sex scenes, even if he did so with an intimacy coordinator. The purpose of the

intimacy coordinator is to work with the actors to establish the appropriate boundaries based on

what is in the script, not to rewrite the script to add more sexual content to satisfy the Director’s

demands.




17
  R. Keegan, An Intimacy Coordinator’s Take on That Awkward ‘It Ends With Us’ Video, The Hollywood
Reporter, January 23, 2025, available at https://www.hollywoodreporter.com/news/general-news/it-ends-with-us-
video-intimacy-coordinator-
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           b. Mr. Baldoni inserted improvised gratuitous sexual content and/or scenes
              involving nudity into the film (including for an underage character) in highly
              unsettling ways.

             85.        After Ms. Lively signed onto the movie based on a draft of the script, Mr.

Baldoni, without Ms. Lively’s knowledge or consent, personally added graphic content, including

a scene in which Ms. Lively was to orgasm on-camera.

             86.        When Ms. Lively objected to these additions, Mr. Baldoni insisted he had

added them because he was making the Film “through the female gaze.” Although he agreed to

remove the scenes, he made a last-ditch attempt to keep one in which the couple orgasm together

on their wedding night, which he said was important to him because he and his partner climax

simultaneously during intercourse. Mr. Baldoni then intrusively asked Ms. Lively whether she and

her husband climax simultaneously during intercourse, which Ms. Lively found invasive and

refused to discuss.

             87.        On the day of shooting the scene in which Ms. Lively’s character gives

birth, Mr. Baldoni and Mr. Heath suddenly pressured Ms. Lively to simulate full nudity, despite

no mention of nudity for this scene in the script (excerpted below), her contract, or in previous

creative discussions.




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               88.         Mr. Baldoni insisted to Ms. Lively that women give birth naked, and that

his wife had “ripped her clothes off” during labor. He claimed it was “not normal” for women to

remain in their hospital gowns while giving birth. Ms. Lively disagreed, but felt forced into a

compromise that she would be naked from below the chest down.18

               89.         When the birth scene was filmed, the set was chaotic, crowded, and utterly

lacking in standard industry protections for filming nude scenes—such as choregraphing the scene

with an intimacy coordinator, having a signed nudity rider, or simply turning off the monitors so

the scene was not broadcast to all crew on set (and on their personal phones and iPad). Mr. Heath

and Mr. Baldoni also failed to close the set, allowing non-essential crew to pass through while Ms.

Lively was partially nude from below the chest down with her legs spread wide in stirrups and

only a small piece of fabric covering her genitalia. Contrary to the Wayfarer Parties’ contention,

the production did not maintain a closed set. Among the non-essential persons present that day

was Wayfarer co-Chairman Mr. Sarowitz, who flew in for one of his few set visits. Ms. Lively

was not provided with anything with which to cover herself between takes until after she had made

multiple requests. Ms. Lively became even more alarmed when Mr. Baldoni introduced his “best

friend” to play the role of the OBGYN, when ordinarily, a small role of this nature would be filled

by a local actor. Ms. Lively felt that the selection of Mr. Baldoni’s friend for this intimate role, in

which the actor’s face and hands were in close proximity to her nearly nude genitalia for a birth

scene, was invasive and humiliating.

               90.         To add insult to injury, Mr. Heath approached Ms. Lively and her assistant

on set and started playing a video of a fully nude woman with her legs spread apart. Ms. Lively

thought he was showing her pornography and stopped him. Mr. Heath explained that the video

was his wife giving birth. Ms. Lively was alarmed and asked Mr. Heath if his wife knew he was

sharing the video, to which he replied “She isn’t weird about this stuff,” as if Ms. Lively was weird

for not welcoming it. Ms. Lively and her assistant excused themselves, stunned that Mr. Heath had

18
   Generally, nudity below the waist in film utilizes a small piece of nude fabric glued around the female actor’s
genitalia to provide some minimal privacy without disturbing the shot (because that fabric is not able to have visible
straps from profile camera angles).

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shown them a nude video.

             91.       Mr. Baldoni added a detailed scene to the Film in which the underage

version of Ms. Lively’s character, Lily, loses her virginity. In both the book and the script for the

Film, there was no sex scene; instead, the details about this moment were left to the audience’s

imagination. But Mr. Baldoni added in considerable details, which was particularly concerning to

Ms. Lively given Mr. Baldoni’s other behavior and directorial choices as detailed in this complaint.

These additional details included both dialogue between Young Lily and her boyfriend (Atlas)

about the loss of her virginity, as well as a simulated sex scene in which Mr. Baldoni filmed, and

included in his initial cut of the Film, a brief close up of Young Lily’s face, accompanied by an

audible gasp at the moment of penetration. Ms. Lively was informed that when this scene was shot,

after Mr. Baldoni called “cut,” he walked over to the actors and said, “I know I’m not supposed to

say this, but that was hot,” and, “did you two practice this before?”

           c. Mr. Baldoni and Mr. Heath discussed their personal sexual experiences and
              previous porn addiction, and tried to pressure Ms. Lively to reveal details
              about her intimate life.

             92.       During a car ride with Ms. Lively, her assistant, and driver, Mr. Baldoni

claimed to Ms. Lively that he had been sexually abused by a former girlfriend (which he has since

shared publicly). At the end this story, Mr. Baldoni shared that it had caused him to reexamine his

past. He then said: “Did I always ask for consent? No. Did I always listen when they said no?

No.” Mr. Baldoni claimed this was an example of how we all have things from which we can learn

and grow. Ms. Lively was alarmed by Mr. Baldoni’s suggestion that he had engaged in sexual

conduct without consent. When Ms. Lively exited the car, her driver immediately remarked that

he did not want Ms. Lively to be alone with Mr. Baldoni going forward.

             93.       Later in July 2024 in connection with another discussion, Ms. Lively

recounted this consent story to a female cast member in a text exchange: “. . . It’s crazy how above

reproach they feel. It’s like he said to me about his previous sexual encounters when we were in

my car with [my assistant] and my security [ ] . . . He said ‘have I always asked fro [sic] consent?



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… No. Have I always listened when they said no? No.’ People show you who they are, believe

them the first time.”

              94.       In fact, Mr. Baldoni publicly acknowledges that he has struggled with

consent. He echoed language similar to the words he spoke to Ms. Lively in the car ride described

above in a podcast interview, in which he admitted that he had “crossed boundaries and lines in

my teens and twenties” with respect to obtaining consent, a flaw which he blamed on his early

exposure to pornography: “you start to think that is what women want, and in porn, as we know,

‘no’ means ‘yes’ or ‘try harder.’”19

              95.       On the first day of production, Mr. Baldoni and Mr. Heath described their

past sexual relationships to Ms. Lively, including that one of them used to “hook up” with a

woman. Mr. Baldoni said that he had decided the woman wasn’t “the one,” so then Mr. Heath had

gotten together with her. Ms. Lively found this description of passing along a woman to be

disrespectful and disturbing.

              96.       Mr. Baldoni and Mr. Heath often spoke of their “previous pornography

addiction.” Mr. Baldoni would often reference pornography to Ms. Lively. Hoping to shut the

subject down, she said to him privately that she had never seen it. Later, when Mr. Baldoni was

once again referencing his experiences with pornography, he revealed in front of other cast and

crew that Ms. Lively had never “seen porn.” It was an incredible invasion of her privacy to discuss

any aspect of her intimate life with the cast and crew, much less reveal something that she had

only told Mr. Baldoni to try to get him to stop talking about the subject with her.

              97.       Mr. Baldoni engaged in other behaviors that were shocking and emotionally

distressing. For example, he claimed he could speak to the dead, and on several occasions told Ms.

Lively that he had spoken to her recently-deceased father. On one occasion when he claimed to
have spoken with Ms. Lively’s dead father (a person whom Mr. Baldoni had never met), Ms.

Lively attempted to deflect the comment with humor, telling Mr. Baldoni: “let him know he owes

19
   Jane Randel, Boys Will Be Human | A Talk on Healthy Masculinity with Justin Baldoni (March 7, 2023).
https://www.youtube.com/watch?v=t48m6Ee9G18 (noting that “I’m sure I have crossed boundaries and lines in my
teens and twenties not even thinking about it simply because of the porn I was consuming”).

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me 40 bucks.” Mr. Baldoni replied, “Wait, does he really?” Ms. Lively was shocked that Mr.

Baldoni was pushing the conversation further, and replied with another attempt at humorous

deflection, stating, “Oh god no. He owes me so much more than that.” Mr. Baldoni then closed his

eyes, put his hand on his heart, and said, “I was leaving my apartment this morning, and I reached

into my pocket… and there was $40 dollars in there, that I did not put there.” This exchange deeply

disturbed Ms. Lively, and it was not (as Defendants have since claimed) limited to Mr. Baldoni

simply claiming to pray for her father.

             98.       Mr. Baldoni and Mr. Heath were also constantly hugging and touching cast

and crew. When Ms. Lively or others avoided this touching, Mr. Baldoni and Mr. Heath would

retaliate by becoming irritated, cold, and uncollaborative. The result was an unwelcoming and

mercurial environment for Ms. Lively, her employees, and others on set.

           d. Mr. Baldoni objectified Ms. Lively and other women by commenting on or
              criticizing their bodies as sex objects.

             99.       Mr. Baldoni often referred to women in the workplace as “sexy.” When they

expressed discomfort, Mr. Baldoni would deflect or try to pass it off, which undermined Ms. Lively

and others’ concerns. For example, on one occasion that Ms. Lively observed, he told a female

cast member that her leather pants looked “sexy” when she arrived to the set. When she rebuffed

his comment because she was uncomfortable, rather than apologizing, he brushed it off with “I can

say that because my wife is here today.” Ms. Lively felt embarrassed witnessing this kind of

commentary, as did others.

             100.      Defendants have claimed that Mr. Baldoni’s description of female cast

members as “sexy” was justified by the fact that Ms. Lively also sometimes used the word “sexy”

on set. This claim displays a stunning lack of understanding as to how context informs the

appropriate versus inappropriate use of language. The word “sexy” is not inherently inappropriate,

but it can be inappropriate in certain contexts. Ms. Lively or Mr. Baldoni using the word “sexy”

in a creative space related to the plot, or in reference to a character, is not problematic. What was
inappropriate, and what Ms. Lively objected to, was her employer, Mr. Baldoni, personally


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describing her as sexy out of character.

             101.      On another day, Ms. Lively wore a low-cut dress to facilitate breast feeding,

but had it covered up with a coat. When the jacket briefly popped open at one point to reveal the

dress, Mr. Baldoni commented about how much he liked her outfit, which flustered Ms. Lively.

Later that day, Mr. Baldoni pressured Ms. Lively (who was in her pre-approved wardrobe) to

remove her coat in front of the crew and multiple background actors in a packed bar. He said that

he wanted to see her “onesie” under the coat because it was zipped low to reveal her lace bra.

Consistent with past practice, he said, “I think you look sexy” in a tone that made her feel ogled

and exposed. With other female cast members present, she said, “that’s not what I’m going for.”

He bristled and replied, “I’m sorry, hot.” Deeply uncomfortable, Ms. Lively said, “not that either.”

Mr. Baldoni responded sarcastically, “I guess I missed the HR meeting,” and walked away.

Another woman on the production spoke to Ms. Lively afterward to offer empathy and to share

her own similar experiences with Mr. Baldoni commenting about her in sexual terms.

             102.      As a result of Mr. Baldoni’s behavior, on May 29, 2023, another cast

member lodged a sexual harassment complaint about Mr. Baldoni’s “gross” and “unwanted

comment[s]” towards her and others.

             103.      While, on the one hand, Mr. Baldoni was objectifying Ms. Lively as a sex

object, on the other hand, he went out of his way to message criticisms of her age and weight,

neither of which she could change during filming. On the second day of filming, for example, Mr.

Baldoni made the rest of the cast and crew wait for hours while he cried in Ms. Lively’s dressing

room, claiming social media commentators were saying that Ms. Lively looked old and

unattractive based on paparazzi photos from the set. Ms. Lively tried to reassure him that she

should look authentic in the scenes depicted in the photos, which were just after her character had

been abused by her fictional husband, rather than “hot”—Mr. Baldoni, however, appeared focused

on Ms. Lively’s sexual appeal above all else. His lengthy outburst caused a delay in shooting,

forcing an emotional scene to be shot haphazardly.
             104.      To make matters worse, when Ms. Lively tried to have a meeting with Mr.


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Heath and the other producers to discuss Mr. Baldoni’s unprofessional behavior described above,

that meeting turned into yet another violation. Rather than an ordinary meeting time and place, Mr.

Heath arrived unannounced at Ms. Lively’s hair and makeup trailer while she was topless and

having body makeup removed by makeup artists. Ms. Lively told Mr. Heath that she was almost

done and they could meet once she was clothed. Mr. Heath, however, insisted that if she did not

allow him into her trailer to speak to him at that moment, then there would be no meeting with the

other producers. Ms. Lively reluctantly agreed, but asked that Mr. Heath keep his back turned. A

few minutes into the conversation, Ms. Lively noticed that Mr. Heath was staring directly at her

while she was topless. When she called him out, Mr. Heath brushed it off as a habit of wanting to

look at a person while speaking to them. Ms. Lively and her hair and makeup artists were all deeply

disturbed by this interaction on just the second day of filming.

               105.        Throughout filming, Mr. Baldoni and Mr. Heath invaded Ms. Lively’s

privacy by entering her makeup trailer uninvited while she was undressed, including when she was

breastfeeding her infant child. Ms. Lively often had to work while breastfeeding, which she felt

comfortable doing so long as she was given the time and space to cover herself. She did this

frequently, because she was not given breaks to feed her baby,20 but Ms. Lively did not expect or

consent to anyone entering her private spaces while topless, exposed, and vulnerable with her

newborn, or during body makeup application or removal. Mr. Baldoni and Mr. Heath both showed

a shocking lack of boundaries by invading her personal space when she was undressed and

vulnerable. Defendants have claimed that these intrusions were Ms. Lively’s fault, because she

texted Mr. Baldoni on one occasion that she was “just pumping in my trailer if you wanna work

out our lines.” This misunderstands the difference between a woman pumping on her own terms—

having taken the necessary steps to make herself comfortable, covering herself, and ensuring the

conditions are appropriate for the task—and walking in on someone without notice or permission

while they are breastfeeding or otherwise in a state of partial undress. The critical distinction is

20
  Ms. Lively was not given proper lactation breaks by Wayfarer during filming, which sometimes stretched into six
hours without a break. When filming finally broke, Ms. Lively would have to run to her trailer to breastfeed. The lack
of accommodation for her need to express milk caused her to develop painful mastitis.

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consent. Ms. Lively’s one-time invitation was neither free license to join her immediately in her

trailer, nor was it a general invitation to freely walk into her trailer at any time uninvited, and it

certainly was not license to enter Ms. Lively’s trailer when she refused consent. The fact that Mr.

Baldoni, who has repeatedly preached the importance of consent while giving media interviews or

in public speaking events, now claims otherwise with respect to his own behavior displays

breathtaking hypocrisy.

             106.      Mr. Baldoni also routinely degraded Ms. Lively by finding back-channel

ways of criticizing her body and weight. A few weeks before filming began and less than four

months after Ms. Lively had given birth to her fourth child, Ms. Lively was humiliated to learn

that Mr. Baldoni secretly called her fitness trainer without her knowledge or permission, and

implied that he wanted her to lose weight in two weeks. Mr. Baldoni told the trainer that he had

asked because he was concerned about having to pick Ms. Lively up in a scene for the movie, but

there was no such scene. In later text messages sent to his team, Mr. Baldoni referred to Ms.

Lively’s trainer as “a damn spy” and sought to plant stories to portray his concerns as being

motivated by his lower back pain.

             107.      Ms. Lively was not alone in her view that Mr. Baldoni’s discussion with her

trainer was uncomfortable and inappropriate. In fact, on January 29, 2025, following Mr. Baldoni’s

$400 million lawsuit against Ms. Lively and others, Ms. Lively’s trainer edited the caption of an

Instagram post he had originally posted on July 25, 2024 of himself and Ms. Lively and his wife,

to share his views on this issue publicly. He wrote that since he had originally posted the picture,

“[t]here have been negative comments on this post, negative comments sent to my wife, and

believe it or not negative comments sent to my children.” He explained that “Justin Baldoni is not

my client. I created a complimentary program for him as a favor to a client.” He noted that he had

helped to find “him a coach,” and “[a]fter an uncomfortable conversation, communication ended.”

             108.      When Ms. Lively caught strep throat, Mr. Baldoni offered as a “gift” to

connect her with an expert he had on retainer to help her with probiotics and to combat the sickness.
When Ms. Lively went to fill out the privacy forms, she saw that the expert was not what Mr.


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Baldoni had represented her to be, but was instead a weight-loss specialist. Ms. Lively felt, once

again, that Mr. Baldoni was shaming her for her body and weight.

             109.     Mr. Baldoni and Mr. Heath also failed to implement COVID protocols

when there was a COVID outbreak on set. Ms. Lively was told by another producer that because

Wayfarer did not have insurance coverage for COVID, Mr. Baldoni and Mr. Heath deliberately

withheld from Ms. Lively that she had been exposed to COVID. Both Ms. Lively and her infant

child contracted COVID from the outbreak.

   B. Ms. Lively And Others Lodge Grievances Regarding the Conduct of Mr. Baldoni and
      Mr. Heath, Which Wayfarer Declines to Investigate.

             110.     As the studio producing the Film, Wayfarer was the employer of all the cast

and crew and was thus responsible for ensuring workplace safety on set.

             111.     However, Wayfarer failed to provide Ms. Lively with even rudimentary

employment protections, such an employee handbook, sexual harassment policy, information or

any training on sexual harassment, discrimination, or respectful workplace expectations.

             112.     Wayfarer also failed to provide Ms. Lively with information about the

process and procedure for filing human resources (“HR”) complaints.

             113.     As the producer and owner of the Film, Wayfarer was legally obligated to
address HR-related concerns or complaints. To Ms. Lively’s knowledge, however, Wayfarer

lacked any process for responding to complaints about its leadership, Mr. Baldoni and Mr. Heath,

who plainly were not going to investigate themselves.

             114.     Wayfarer, Mr. Baldoni, and Mr. Heath received or were aware of a number

of HR grievances regarding their conduct. They admitted as much from day one. For example, on

the first day of filming, while attempting to hug Ms. Lively’s employee, Mr. Heath said “I don’t

even know if we’re allowed to do this. It’s day one and we have an HR report already.”

             115.     Contemporaneous messages with witnesses prove that Ms. Lively’s

concerns about Mr. Baldoni and Mr. Heath—and others’ concerns—began early in the pre-
production and production process, long before the editorial process began. Because of the lack of


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protocols, Ms. Lively initially struggled to find a way to navigate the increasingly troubling

behavior to which she was subjected on set. On or about May 23, 2023, during a particularly

difficult day on set, she and a female cast member talked to each other about how uncomfortable

they were both feeling. That same cast member later reached out to Ms. Lively by text to express

appreciation and relief to be able to commiserate about their shared experiences. Ms. Lively, upset

with the inappropriate working conditions to which they were both being subjected, thanked her

for her support in speaking up, writing:

         “Thank you for taking the time to say this. And also for taking the time at your
         lunch. I felt untethered today and you grounded me. I’m sorry for what you’ve
         experienced and I wish I would’ve been there to witness it for you (and not that
         you need me to but I sure would’ve loved to have run my mouth about it). Thank
         you for not only witnessing me, but for coming in with such eloquent and safe
         backup. You were able to be bold without being inflammatory , which is such a
         tightrope. And I really appreciate it….”
             116.      On May 24, 2024, both Ms. Lively and the female cast member discussed

how they were both feeling uneasy on set that day. Ms. Lively confided that she felt “like [she

needs] to say something tonight after wrap” but that she’s “not sure how to navigate it,” to which

her cast member responded by offering words of support.

             117.      That same day, on May 24, 2023, Ms. Lively confided in another woman

who was a mutual friend of Mr. Baldoni and Mr. Heath: “I was gonna invite you to set tomorrow.

These people. Whoa.” Ms. Lively continued in response to a message from the woman by stating,

“It’s like HR nuts today. The both of them. I wasn’t expecting that turn. I mean it’s been present

but today I came home and cried.” Further in the exchange, Ms. Lively describes Mr. Baldoni and

Mr. Heath as “creeps . . . .Like keep your hormones to yourselves. This is not mine. I don’t want

it. I don’t want you [sic] gaze or words or tongue or videos of your naked wife. Yeah. It’s shocking.

Clowns.”

             118.      Meanwhile, Ms. Lively and a female cast member discussed a plan to speak

with Ange Gianetti, the Sony executive assigned to the production. On May 26, 2023, that cast

member reached out to Ms. Lively to ask if she had talked to Ms. Gianetti, and informed Ms.



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Lively that her manager knows Ms. Gianetti and would be willing to offer support. Ms. Lively

responded that she had spoken with Ms. Gianetti for 45 minutes.

             119.      When Ms. Lively reached out to Ms. Gianetti, who was supportive, Ms.

Gianetti texted Ms. Lively that “what i did want to review/discuss feels very very small in light of

today’s news. Im so sorry . . . calling you in moments.”




             120.      In that conversation with Ms. Gianetti on May 26, 2023, Ms. Lively told her

that she wanted to file an HR complaint about both Mr. Baldoni and Mr. Heath’s misconduct.

Although she was sympathetic, Ms. Gianetti told Ms. Lively that Sony, as the distributor of the

film, was not empowered to oversee physical production, which included Mr. Baldoni and Mr.

Heath’s behavior on set, and that such concerns must be raised with Wayfarer, the studio

responsible for the production. Ms. Lively was concerned with this response because Mr. Baldoni

and Mr. Heath were the Chairman and CEO of Wayfarer, and Mr. Baldoni was the Director of the

Film. Ms. Lively did not believe that either Mr. Baldoni or Mr. Heath would investigate their own

alleged misconduct—and that disbelief was proven by subsequent events.

             121.      In the meantime, following through on her prior text, the female cast

member also had her managers contact Ms. Gianetti to discuss that cast member’s own discomfort

with behavior by Mr. Baldoni and Mr. Heath and its negative impact on the work. The remainder
of the text exchange shows how both women shared concerns about speaking up and the potential



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consequences of doing so. Ms. Lively shared that she needed to tread carefully to “salvage some

degree of chemistry and camaraderie with Justin who’s not only my director but love interest and

we’re not even 1/3 of the way done [with filming].” The two women then recounted their

discomfort with their experiences with Mr. Baldoni and Mr. Heath, including one incident in which

Mr. Baldoni secretly recorded them, and another in which he made an unwelcome remark about

the female cast member’s wardrobe. Ms. Lively noted that Mr. Baldoni once asked her if he

crossed a line, and when she said yes, he made a joke that he “must’ve missed the sexual

harassment meeting.”

             122.      Ms. Lively and the female cast member discussed various examples of their

uncomfortable and inappropriate interactions with Mr. Baldoni, and, on May 28, 2023, Ms. Lively

explained that her concerns were not just with Mr. Baldoni’s behavior, but the way that Mr.

Baldoni behaved after being confronted with his line-crossing behavior: “[h]e keeps referencing

it. Or disconnects entirely. Or gets snippy and impatient as a director. He was so huffy after the

sexy thing I felt awful for saying something.”

             123.      That same day, Ms. Lively continued by observing that both she and the

female cast member are not “people who can’t take a joke. Or who can’t work or understand blue.

We’re not that fragile.” Referencing Mr. Baldoni, she said “You just can’t record people without

asking. You can’t speak to people sexually while not in character or while talking about a

character. And if you overstep, you move on. It’s the weirdness after that makes it feel bad. Like

if we speak up the vibes on set get funky and the work suffers.”

             124.      On May 29, 2023, the same female cast member texted Ms. Lively to

recount a conversation with one of the Film’s producers about the cast member’s own concerns

with Mr. Baldoni’s and Mr. Heath’s conduct, and that producer agreed that the situation needed to

change.

             125.      Later that day, the same producer also reached out to Ms. Lively to say that

she had spoken to Ms. Gianetti and confirming her conversation with the female cast member
about what had been occurring on set. Ms. Lively thanked her for reaching out and replied that


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they would catch up later that week.

             126.     The next day, June 1, 2023, that producer reached out to Ms. Lively again

to praise her. Ms. Lively responded with gratitude and thanked the producer for “taking the space

to step up where we need it.” The producer, in turn, thanked Ms. Lively because she “helped make

the space for them to finally start listening to me, so thank YOU!”

             127.     After unsuccessfully attempting to raise concerns with Sony, Ms. Lively

expressly told Mr. Baldoni and Mr. Heath that there were serious HR problems on set. Mr. Heath

responded that they knew, implying that someone had mentioned to them that Ms. Lively had

raised concerns. In response, Mr. Heath told Ms. Lively that he thought she had wanted to see the

nude video of his wife.

             128.     On June 1, 2024, the female cast member told Ms. Lively that Mr. Baldoni

had expressly acknowledged her concerns in writing, stating “I recognize that the last few days of

filming have been difficult, but I wanted you to know that the work is really great and I’m excited

for what we’re creating. Equally important is that I was made aware of your concerns. I wanted

you to know that they are fully received, I hear you, and adjustments will be made accordingly.”

The cast member conveyed to Ms. Lively that she did not feel the acknowledgment was

satisfactory. Ms. Lively agreed.

             129.     On June 8, 2023, a female cast member confided in Ms. Lively that she had

difficulty having conversations with Mr. Baldoni. Ms. Lively responded that she, too, found it

“really hard to speak to him. I try to cover it with busyness but not sure that covers what’s going

on. I think we’re fine. We just have some stories to tell. And who knows If it wasn’t a shit who

maybe we wouldn’t have found each other in such an anchoring way!” and noted they were

“survivors with shared trauma.”

             130.     Mr. Baldoni’s response to hearing the grievances of Ms. Lively and another

female case member was dismissive. On June 8, 2023, the female cast member who raised

concerns about Mr. Baldoni’s behavior told Ms. Lively that Mr. Baldoni had been heard
complaining to another actor that “dude I have to tell you something but I don’t want to get


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canceled or lose my job . . . you can’t say anything on this set anymore.”

             131.      As described above, Ms. Lively and others attempted to raise concerns to

Mr. Baldoni and Mr. Heath regarding certain of the conduct described during filming, but it was

futile to ask Mr. Baldoni and Mr. Heath to address their own behavior, and their concerns were

not addressed. Despite receiving multiple, detailed reports by Ms. Lively and others about Mr.

Baldoni and Mr. Heath’s misconduct, Wayfarer failed to investigate those reports or institute

protections for the cast. This is so even though the incidents discussed above, among others, did

not take place in isolation and many, if not all, were witnessed by others.

             132.      In their January 31, 2025 Amended Complaint, Defendants admit that Ms.

Lively raised concerns directly with Mr. Baldoni and Mr. Heath as early as May 2023. Their

narrative about this complaint is telling. According to Defendants, Mr. Baldoni was immediately

suspicious of Ms. Lively’s concerns, and although Defendants cannot point to a shred of

contemporaneous evidence backing this up, Defendants now insist that they were informed by

Sony that any “complaints were not sexual in nature,” and that Mr. Baldoni “sensed that Lively

was intentionally manipulating the facts.” Mr. Baldoni admits that the way he addressed this was

to create an “acknowledgement” note for someone else to pass on to Ms. Lively, id., which Ms.

Lively found entirely unsatisfactory. Defendants concede that Ms. Lively requested a meeting the

next day, on June 1, 2023, yet instead of following Mr. Baldoni’s own advice to be “confident

enough to listen to the women in your life,” to “hear their ideas and their solutions,” and to

“actually believe them, even if what they’re saying is against,” Defendants mock Ms. Lively by

saying she raised a “series of grievances” that “she appeared to have spent the past five days

overanalyzing” and “scrutinized every minor infraction and perceived slight . . .” In sum,

Defendants have conceded that Ms. Lively raised concerns about their behavior, both to Sony and

to them directly, but their response is to retroactively rebrand those concerns as non-sexual and

criticize Ms. Lively for “overanalyzing . . . perceived slight[s].”

             133.      By these and other behaviors, Mr. Baldoni, Mr. Heath, and Wayfarer
engaged in harassing conduct and failed their obligations to investigate complaints of workplace


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harassment, prevent inappropriate and harassing behaviors on set, and provide avenues for cast

and crew members to safely raise concerns to neutral parties so that they could be investigated and

appropriately addressed.

             134.      On or about January 31, 2025, in the midst of this litigation and nearly two

years after Ms. Lively first raised concerns to Wayfarer in May 2023, outside investigation counsel

for Wayfarer sent a letter to Ms. Lively’s counsel claiming that they had recently been retained by

Wayfarer to “conduct a neutral, third-party investigation of Blake Lively’s complaint for sexual

harassment, retaliation, failure to investigate, prevent, and/or remedy harassment, and aiding and

abetting harassment.” Wayfarer’s outside investigation counsel asked to interview Ms. Lively, and

to have an introductory call with her counsel first.

             135.      Ms. Lively’s counsel engaged in an introductory call with Wayfarer’s

outside investigation counsel and another investigator on February 12, 2025. See Letter from Ms.

Lively’s Counsel to investigation counsel, February 14, 2025, attached hereto as Ex. E. The

investigators acknowledged that Wayfarer had a legal “mandate” to conduct an investigation, and

confirmed that Wayfarer had not previously conducted any such investigation.

             136.      The investigators confirmed that: (1) Wayfarer controlled the investigation

budget and the documents and information that the investigators would receive; (2) the

investigation would be attorney-client privileged and that, as the holder of the attorney-client

privilege, Wayfarer would have the right to all of the investigators’ interview notes, memoranda,

determinations and conclusions, which Wayfarer could keep completely secret if it chose to do so;

(3) the Wayfarer Parties’ counsel would have the right to sit in on the investigator’s interviews

with any the Wayfarer Parties; and (4) it was entirely Wayfarer’s decision as to whether the

findings of the investigators were memorialized in a written report, and if there were a written

report, it would be solely up to Wayfarer to decide whether that report would ever be provided to

the cast and crew, Sony, or the general public. Id.

             137.      The investigators acknowledged having read Ms. Lively’s Complaint and
confirmed that “if these incidents occurred as alleged there are significant problems within the


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organization that they will have to contend with.” Yet the investigators conceded that they would

not be making any recommendations for corrective actions that Wayfarer should take based on the

investigation findings, which they described as beyond the scope of their work for Wayfarer. It

would solely be up to Wayfarer to decide what to do, if anything.

             138.      Wayfarer’s belated launch of an investigation, in 2025, is a damning

admission of Wayfarer’s failure to investigate events that were reported to Wayfarer in 2023. It

also demonstrates the hypocrisy of Wayfarer’s claim that it simply wants all of the facts to be

released for public consumption. A privileged and confidential internal investigation that is

financed and controlled by the same Wayfarer executives who have been sued for sexual

harassment and retaliation is not an exercise in transparency, but a sham. This is especially so

when litigation has already been initiated that will allow for neutral factfinders to determine

Wayfarer’s liability based on documents and testimony under oath provided by Messrs. Baldoni,

Heath, and Sarowitz.

             139.      The Wayfarer Parties ignored their legal mandate to conduct an

investigation in 2023, when they indisputably became aware of multiple HR complaints, andtheir

cynical attempt to launch a rigged “investigation” now makes a mockery of their legal obligations.

And while it is helpful that Wayfarer has finally conceded its legal obligation to investigate sexual

harassment and other concerns raised on the set of the Film, Wayfarer continues to ignore its legal

obligation to cease retaliating against Ms. Lively for reporting those concerns.

   C. The Parties Negotiate A Contract Rider Regarding Mr. Baldoni’s and Mr. Heath’s
      Conduct on the Set of It Ends with Us.

             140.      On May 2, 2023, the WGA, made up of two American labor unions

representing more than 16,000 writers in film, television, radio, and online media, went on strike

in connection with a labor dispute with the Alliance of Motion Picture and Television Producers.

             141.      The Film temporarily halted production in June 2023 as a result of WGA

picketing. On June 15, 2023, Wayfarer and Mr. Baldoni announced the continued halted
production of the Film due to the ongoing WGA strike and the lost days experienced from


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picketing.

             142.       While the WGA strike was underway, on July 14, 2023, the American

actor’s union known as SAG-AFTRA, a labor union that represents about 160,000 people in the

entertainment industry, including actors, recording artists, radio personalities and other media

professionals, began to strike due to a labor dispute with the Alliance of Motion Picture and

Television Producers.

             143.       The WGA strike ended on September 27, 2023, and the SAG-AFTRA strike

ended on November 9, 2023.

             144.       Before returning to production, Ms. Lively and a female cast member

discussed their mutual dread at going back to the film set. On October 13, 2023, Ms. Lively texted

that cast member, sharing that she “keep[s] getting hits of the experience in really upsetting ways.”

The female cast member agreed and expressed regret about the situation.

             145.       At this point, after Ms. Lively and others had unsuccessfully attempted to

address and resolve the ongoing problems on set, and having significant concerns about the return

to production, Ms. Lively worked with her attorneys to address the conditions described above and

create a safe environment on set for herself and others.

             146.       On November 9, 2023, Ms. Lively’s attorneys provided Wayfarer’s attorney

with a document entitled, “Protections for Return to Production,” attached hereto as Exhibit A.

             147.       In conveying the Protections for Return to Production document, Ms. Lively

requested that Wayfarer agree to implement a plan that would enable everyone to return to work

and complete the Film with adequate protections to ensure a safe set moving forward.

             148.       On November 11, 2023, counsel for Wayfarer indicated that “Wayfarer,

Sony and Production respectfully acknowledge that your client has concerns regarding safety,

professionalism and workplace culture. Although our perspective differs in many aspects, ensuring

a safe environment for all involved is paramount, irrespective of differing viewpoints. Regarding

your outlined requests, we find most of them not only reasonable but also essential for the benefit
of all parties involved.”


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             149.      On November 15, 2023, Wayfarer, through It Ends With Us Movie LLC,

agreed to the terms in a contractual rider, executed on January 19, 2024, and attached hereto as

Exhibit B.

             150.      The provisions of the contractual rider directly track the misconduct that

Ms. Lively contemporaneously reported. Among the contract rider’s provisions:

             (a)       The first provision required that “An intimacy coordinator must be present

at all times when [Ms. Lively] is on set.”

             (b)       The second provision required that, “With respect to Artist, any and all

rehearsal, filming, reviewing of video playback or dailies and/or any other interaction with any

scene involving simulated sex, nudity and/or partial nudity shall be restricted to those persons with

essential business reasons for being present (“Essential Personnel”) as approved by [Ms. Lively]

and Todd Black as further described in the nudity rider attached as Schedule I [] (“Nudity Rider”).”

             (c)       The third provision required that “There is to be no spontaneous

improvising of any scenes involving intimate/sexual physical touching, simulated sex, or nudity

with respect to [Ms. Lively]. Scenes involving [Ms. Lively] that involves [sic] kissing, depictions

of sexual intercourse, or any other intimate/sexual physical touching must be contained in the

screenplay (i.e., the most up to date draft approved by [Ms. Lively] in writing), choreographed in

advance in the presence of the intimacy coordinator, and may only proceed as choreographed with

the consent of all participants in advance.”

             (d)       The fourth provision required that “Physical touching and/or comments on

[Ms. Lively]’s physical appearance must only be done/made in connection with the character and

scene work, not as to [Ms. Lively] personally. Except as written into the screenplay or as strictly

required in connection with make-up or costume preparation, there is to be no physical touching

(including hugging) of [Ms. Lively], her on-set personnel and/or her employees.”


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              (e)      The fifth provision required that “There are to be no discussions with [Ms.

Lively] of personal experiences with sex or nudity, including as it relates to conduct with spouses

or others.”

              (f)      The sixth provision required that “No one will enter, attempt to enter,

interrupt, pressure, or request entrance to [Ms. Lively]’s trailer while she is in a state of undress

for any reason.”

              The seventh provision required that “There shall be no rehearsal or filming of [Ms.

Lively] (including [Ms. Lively]’s approved body double) of any nudity, partial nudity, and/or

simulated sex except as expressly permitted in accordance with the Nudity Rider. Any such footage

of [Ms. Lively] (or [Ms. Lively]’s body double) previously shot without the Nudity Rider in place

may not be used without [Ms. Lively]’s and her legal representatives’ prior, written consent.”

              (g)      The tenth provision required that “There shall be no retaliation of any kind

against [Ms. Lively] for raising concerns about the conduct described in this letter or for these

requirements. Any changes in attitude, sarcasm, marginalization or other negative behavior,

either on set or otherwise, including during publicity and promotional work, as a result of these

requests is retaliatory and unacceptable, and will be met with immediate action.”

              (h)      The twelfth provision required that “Wayfarer will engage an additional,

experienced A-level producer, approved by [Ms. Lively] (Todd Black is hereby approved) (the

“Approved Producer), to actively supervise the production, including monitoring the safety of the

cast and crew, ensuring compliance with the schedule and overseeing logistics, problem solving

and creative issues provided that Company shall have the right to approve the agreement with the

Approved Producer.”




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                (i)        The fifteenth provision required that “Any rehearsal or shooting involving

[Ms. Lively], or any other performer depicting the character of “Lily,” that involves nudity

(including partial nudity) or simulated sex must be conducted strictly in accordance with the

Nudity Rider and must adhere to the approved script.”

                (j)        The sixteenth provision provided that “Any and all day players that

participate in any way in scenes with [Ms. Lively] involving nudity, partial nudity and/or simulated

sex must be engaged through customary industry talent agencies and not through personal

connections of the director and/or producer.”

                (k)        The seventeenth provision required that “At [Ms. Lively]’s election, an all-

hands, in-person meeting before production resumes will include the director, the existing

producers, the Sony representative, the Approved Producer, [Ms. Lively] and [Ms. Lively]’s

designated representatives to confirm and approve a plan for implementation of the above that will

be adhered to for the physical and emotional safety of [Ms. Lively], her employees and all cast and

crew moving forward.”

                151.       The contract rider expressly referenced the parties’ Actor Loanout

Agreement, dated May 5, 2023, and deemed the terms and conditions incorporated into that
agreement.21

                152.       On December 4, 2023, Ange Gianetti reached out to Ms. Lively to

acknowledge that Ms. Lively’s experience on set had been “beyond challenging” and to reiterate

her own and Sony’s support for Ms. Lively and her relief that Todd Black, who was brought in to

oversee the safety of the cast and crew, was now on board. She stated: “[s]o glad Todd [Black] is

now in it and overseeing everything but wanted to check in, offer anything I can. I know this has



21
   That Loanout Agreement contains an express choice of law provision in which the Parties selected California law
to govern issues respecting issues going to the contract’s validity, interpretation, performance, and any other dispute
arising from the services contemplated in the agreement.

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been beyond challenging to say the least. We at the studio want to support you best we can.”




             153.      The “all-hands, in-person” meeting provided for in the contract rider

occurred on January 4, 2024, before production resumed, as described above. The meeting was

not an ambush, nor was it a surprise—it was precisely the meeting called for under the contract

rider. The meeting was attended by Mr. Baldoni, Mr. Heath, producer Alex Saks, producer Todd

Black, and Sony’s Ange Gianetti, as well as Ms. Lively and her husband, who attended at Ms.

Lively’s request as another designated representative (as provided for in the contract) given the

subject matter of the meeting.

             154.      At the January 4, 2024 meeting, the parties discussed a list of twenty

examples of the behaviors that gave rise to the contract rider from her contemporaneous notes.

These behaviors are listed in full earlier in this Complaint at Paragraph 3.

             155.      Neither Mr. Baldoni nor Mr. Heath denied the veracity of Ms. Lively’s

examples.

             156.      Ms. Lively requested that Mr. Baldoni and Mr. Heath agree that such

behaviors would no longer take place, as memorialized in the language of the Rider, and Mr.

Baldoni and Mr. Heath agreed.

             157.      Production of the Film resumed on January 5, 2024, and concluded
February 9, 2024. On January 14, 2024, before all of the cast had returned to the set Ms. Lively



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reassured one cast member that “you’ll enjoy it this time. And you don’t need to hug anyone is the

best part”. Ms. Lively continued: “And he won’t touch you [sic] Or shouldn’t. I don think he or

Jamey [Heath] will.” Ms. Lively said that she felt “Solid. It’s a professional set and we’re getting

good work.”

              158.     That “professional set” was the result of an eight-month process in which

Ms. Lively attempted privately to resolve concerns of misconduct and sexual harassment by Mr.

Baldoni and Mr. Heath. Wayfarer failed to investigate those concerns, leaving it to Ms. Lively to

negotiate for workplace protections to remedy the toxic environment on set. Understanding the

risk she was taking by speaking up, Ms. Lively asked, and Wayfarer agreed in a contract, not to

retaliate against her in any way, including in the press. While Ms. Lively remained disturbed by

her experiences, she trusted that Wayfarer would honor the contract it signed. Instead, the

Wayfarer Parties launched a vicious and well-funded retaliation campaign against her, which has

grown more aggressive and harmful over the past several months.

   D. Ms. Lively Led the Edit of Sony’s Cut of the Film, Which Was the Version Released
       in Theaters.

              159.     Mr. Baldoni and the Wayfarer parties have falsely claimed that Ms. Lively

“took over the movie” as a self-aggrandizing power play. The Defendants entire accusation would

rely on Ms. Lively and others fabricating malicious claims nearly a year before an edit, though Mr.

Baldoni and Mr. Heath repeatedly engaged in inappropriate behavior with witnesses and

corroborators in real time. And then, even more complicated, their accusation would have required

Ms. Lively to rely on the hope that the Wayfarer Parties would sign a document acknowledging

and agreeing to cease the detailed and specific misconduct described in her claims, after writing

letters of apology to other female cast eight months before. And also, most critically, the supposed

master plan they absurdly accuse Ms. Lively of would rely on the hope that Wayfarer would never

in that 1.5 year process launch an HR investigation to clear their “innocent” names, but instead

allow their film to be “stolen” from them.
              160.     The assertion Ms. Lively “bullied” her way into edit room is not only false


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but it was not even necessary. If she was not happy with the Film, she could have easily just moved

on to her next project. She had offers for directing jobs, before, during and since the Film; if she

wanted to direct, she could do that at any time, and without having to deal with the Wayfarer

Parties, whom she very clearly wanted nothing to do with.

             161.      The story of the edit of the Film is not relevant to Ms. Lively’s claims of

sexual harassment and retaliation. It is a red herring designed to distract the public away from the

grave misconduct by the Defendants.

             162.      The Sony cut is the film that was chosen to be released in theaters. Ms.

Lively led the Sony cut, with their support, working in close collaboration with Sony and Colleen

Hoover.

             163.      Sony released the Film’s trailer on May 16, 2024. The next day, a Sony

executive wrote Ms. Lively about the “HUGE response” from the public to that release, calling it

a “beautiful start” and thanking Ms. Lively for her contributions.




             164.      On June 19, 2024, one of the Film’s producers described Ms. Lively’s edit

of the Film as “EXCELLENT” and her work as “truly beautiful.”




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             165.     On August 11, 2024, after the film’s release Sony executive Ms. Gianetti

wrote to Ms. Lively: “Blake 50m dollars!! Your blood sweat tears brilliant smarts heart and soul

in every single frame. My God. It’s incredible. Thank you 50m times and it’s only Sat night.”




             166.     The story Mr. Baldoni and the Wayfarer Parties have told since Ms. Lively

filed her opening complaint is completely at odds with their behavior when trying to produce and

market the Film. Before Ms. Lively sued, Mr. Baldoni and the Wayfarer Parties were perfectly

happy to exploit Ms. Lively’s star power, as well as her access to A-level filmmakers, editors, and

more. And notwithstanding their complaints today that Ms. Lively supposedly seized control of

Mr. Baldoni’s Film, that did not stop Mr. Baldoni from proudly marketing the Film as his work on

release. Indeed, although Mr. Baldoni privately confessed that he did not even see the final cut of

the Film until the premiere, he repeatedly and publicly took credit for the Film, while Ms. Lively

generally downplayed her contributions.




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              167.     The irony of Wayfarer’s complaints should be lost on no one—it is Mr.

Sarowitz, Mr. Baldoni, and Mr. Heath that have reaped the greatest financial benefits from Ms.

Lively’s hard work about which they now complain. The Film quickly became Wayfarer’s most

lucrative project, to the record-breaking tune of over $350 million. Reveling in the financial

success of the Film they now incredibly accuse Ms. Lively of hijacking, Mr. Sarowitz boasted in

one interview that the Film was “number one in the country” as of August 13, 2024.22 When one

interviewer congratulated Mr. Sarowitz on the Film’s impressive $50 million opening weekend,

Mr. Sarowitz responded that the Film had actually grossed “$80 million worldwide … about two-

and-a-half times what [Wayfarer] expected,” remarking, “we’re thrilled with that.”23 Once the Film

was well-established in theaters, Wayfarer took to Instagram to promote the Film’s addition to

streaming service giant Netflix, encouraging users to “Watch The Blockbuster Film At Home,”24

and later celebrated that the Film was the “[Number One] Movie in the U.S. on Netflix.”25

              168.     It seems, so long as Ms. Lively stayed silent about Wayfarer’s misconduct,

Defendants were content to continue collecting paychecks from the Film they now claim she

hijacked. It is only once she spoke out about the sexual harassment and retaliation to which

Defendants subjected her that they decided to attempt to convince the public that Ms. Lively ruined

the Film. And Defendants have done so even though, throughout the process, Mr. Baldoni engaged

in stunning duplicity, praising Ms. Lively to her face and in public, while secretly disparaging her
in private and plotting to “bury” her alongside the truth of his own behavior.

              169.     Not to be outdone, Mr. Sarowitz loudly promoted the Film and its box office

successes all while financing Defendants’ efforts to “destroy” Ms. Lively and her family. Even

though the Film had “turned out very well,” and Wayfarer had “made a lot of money” on it, in late


22
     WGN News, “It Ends With Us” Pop-Up & Non-Profit Partnership, YouTube 4:16 (Aug. 14, 2024),
https://youtu.be/u2u9Y1opb4I?si=haUI5GsqWK7MjN5v&t=256.
23
     WGN News, “It Ends With Us” Pop-Up & Non-Profit Partnership, YouTube 5:45 (Aug. 14, 2024),
https://youtu.be/u2u9Y1opb4I?si=ZolIrp_hbfrCcb28&t=339.
24
         Wayfarer     Studios       and   Man     Enough,   Instagram     (Sept.    24,   2024)
https://www.instagram.com/p/DAUCQOdzXK1/?igsh=ajJ4Mm12ejN6ZWVl.
25
      Wayfarer    Studios,    Instagram (Dec. 12,    2024) https://www.instagram.com/p/DDfmYC-
zW6x/?igsh=MW96ejB6MnlqNzE5MQ==.

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August of 2024, Mr. Sarowitz confessed to a third party that if Ms. Lively or Mr. Reynolds “ever

cross the line, ever, then I will go after them.” He declared: “I will protect the studio like Israel

protected itself from Hamas. There were 39,000 dead bodies. There will be two dead bodies when

I’m done. Minimum. Not dead, but you’re dead to me. So that kind of dead. But dead to a lot of

people. If they ever get me to that point. Then I’ll make it worth their while. Because I’m gonna

spend a lot of money to make sure the studio is protected.” He made this disturbing pledge after

divulging to another individual at the Film’s New York premiere that he was prepared to spend

$100 million to ruin the lives of Ms. Lively and her family.

   E. Ms. Lively and Other Cast and Crew Promoted The Film According to the

       Marketing Plan.

             170.      In connection with the Film’s public release, Ms. Lively and the rest of the

cast actively promoted the Film in accordance with the Marketing Plan for the Film, attached

hereto as Exhibit C. Wayfarer had embraced, and on information and belief, had formally

approved of, this Marketing Plan.

             171.      The Marketing Plan, and related talking points, expressly required Ms.

Lively, as well as all other cast and crew engaged in promotional activities, to “[f]ocus more on

[her character’s] strength and resilience as opposed to describing the film as a story about domestic

violence” and to “[a]void talking about this film [sic] that makes it feel sad or heavy – it’s a story

of hope.”

             172.      As detailed above, Ms. Lively and fellow cast members promoted the Film

in accordance with the talking points and Marketing Plan during appearances on red carpets,

interviews, press junkets, fan events, and pop-up experiences leading up to the Film’s release.

             173.      Mr. Baldoni and his team, including Mr. Sarowitz, had publicly embraced

the same Marketing Plan. In early May 2024, Mr. Baldoni appeared at a floral-themed trailer

launch event, which included him personally making flower bouquets for influencers, a photo

opportunity, and film-branded latte art.
             174.      Around the same time, on July 30, 2024, the official Instagram page for the


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Film published a post for International Friendship Day about “How to Plan the Perfect Girls Night

Out” and advising fans to “Grab your besties”, “Get your tickets,” and “Wear your florals.” Two

days later, on August 2, the official TikTok page for the Film posted videos of fans attending early

screenings of the film in floral outfits, with one influencer, stating “grab your girls, wear your

florals, and go see it.”




              175.         As late as August 11, 2024, Mr. Heath was defending Sony’s marketing

plan as “brilliant” and “fantastic.” In an email to Sony on that date, Mr. Heath requested a call to

“take some learnings” from some of the online commentary about the Film’s marketing, yet: “To

be clear. We are not saying it’s been inappropriately marketed in any way. In fact, you all have

been brilliant. Thank you. Extremely honored to be partners with you. It’s been fantastic. The

proof is in the pudding.” He concluded by congratulating Sony “on a huge huge success.”

              176.         In advance of the release of the Film, nearly all cast members chose to

appear in public separately from Mr. Baldoni, given his on-set behavior. Mr. Baldoni became

concerned that the public would discover that “something is much bigger under the surface,” on

information and belief, alluding to the complaints lodged by Ms. Lively and others.

              177.         At that point, Mr. Baldoni pivoted away from the Film’s Marketing Plan to
explain his absence from the rest of the cast. He shifted his focus away from a message of female


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triumph, to instead capitalize on female trauma. After the Film’s premiere, Mr. Baldoni changed

his Instagram profile, cancelled lighthearted social media posts, and instructed his team to look for

survivor reactions and support—all in an effort to quickly shift his own public narrative to focus

solely on survivors and domestic violence organizations.

             178.      Ms. Abel cautioned Mr. Baldoni that this shift might be “too drastic too

soon.” Still, Mr. Baldoni insisted on a “Tik Tok strategy” and that his promotional activities for

the Film should seek to amplify what he described as “survivor content.”




             179.      The team followed Mr. Baldoni’s instructions. For her part, Ms. Abel

advised Mr. Baldoni on August 8, 2024 that creating content about domestic violence would be

acceptable following his initial marketing push: “[i]t doesn’t feel performative now that you’ve

done major substantial press on the topic.”




             180.      On August 11, 2024, Ms. Abel cynically advised Mr. Baldoni that

exploiting content relating to survivors of domestic violence could help advance his public image.

In her words, she advised Mr. Baldoni that pushing out “survivor content first thing tomorrow”
would “be helpful for [the] news cycle.”


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             181.     By repositioning Mr. Baldoni’s marketing of the Film, on information and

belief, Mr. Baldoni hoped to create the false impression that he had chosen not to appear alongside

other cast members. Mr. Baldoni directed his team to share on his public Instagram feed the private

messages he had received from survivors sharing their stories of domestic violence with him. Mr.

Baldoni’s team talked him out of these ideas, writing that they “do not recommend using private

DMs as content.”




             182.     Mr. Baldoni went so far as proposing to share a video of a woman’s “birth

moment,” but his team talked him out of it, warning that it might be “perceived as ‘weird’” and

was “too intimate.” Still, Mr. Baldoni’s team was more than willing to deploy survivors’ stories,

reactions, and images to protect Mr. Baldoni’s image.
   F. Mr. Baldoni and His Team Formulate a Retaliatory Plan.

             183.     By the time Defendants launched their campaign to “bury” Ms. Lively,

Wayfarer knew the details of Ms. Lively’s and others’ concerns, the complaints raised regarding
Mr. Baldoni’s and Mr. Heath’s behavior, Ms. Lively’s contractual rider, and the January 4, 2024


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meeting to discuss their behavior. In addition, Wayfarer’s press team knew about the claims by

Ms. Lively and others, as well as the Protections Rider, as Wayfarer sent the materials to them in

November 2023, and even referred to Ms. Lively’s complaints internally.

                  184.       On January 13, 2024, just nine days after the January 4, 2024 meeting in

which Ms. Lively detailed each of concerns, Ms. Abel reacted to an E!News story depicting a kiss

on the set of the Film, stating, “It’s so cringy.” When her colleague responded that “Blake was

probably grossed out too,” Ms. Abel responded, “Yeah and filed a cease and desist.” On

information and belief, Ms. Abel was referencing Ms. Lively’s complaints regarding Mr. Baldoni.

                  185.       As early as May 2024, Mr. Baldoni told his team that they needed a plan to

get ahead of the claims against him, in the event they were to go public. Specifically, Mr. Baldoni

wrote: “Just want you guys to have a plan. Plans make me feel more at ease.”

                  186.       On May 17, 2024, Mr. Baldoni texted his publicist, Jennifer Abel, that, Ms.

Lively’s husband had blocked him on social media, stating, “We should have a plan for IF she

does the same when [the] movie comes out.”26 It is worth noting that this “plan” was not conceived

of to respond to any particular allegation—it was entirely about managing the public perception

Mr. Baldoni feared might follow the theoretical possibility that Ms. Lively might decide to un-

follow his social media accounts. Far from taking a moment to listen to the women in his life, Mr.

Baldoni apparently thought he should be ready to use his “louder voice” in the even that his co-
star did nothing other than un-follow his social media accounts.

                  187.       In June 2024, a month after Mr. Baldoni’s first promotional event for the

Film, Ms. Lively and others in the cast fulfilled their first publicity obligation for the Film without

Mr. Baldoni. They did not publicly discuss the misconduct that had occurred on set. Nor did they

ever suggest to Wayfarer or Mr. Baldoni that they intended to discuss their concerns publicly. Yet,

on June 20, 2024, Ms. Abel texted Mr. Heath her concern, “we can’t have fans starting to guess

why JB is left out of this stuff.”



26
     In fact, both Ms. Lively and her husband had unfollowed Mr. Baldoni’s social media accounts ten months prior.

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               188.       Likewise, Mr. Baldoni strategized with his publicist, Ms. Abel, about

various ways in which they might cover up or explain away his on-set misconduct. On June 24,

2024, for example, Mr. Baldoni proposed an “offensive move showing [his] neuro divergence and

some of the attributes that come with it,” to explain that “anything that [he had] been ‘accused

of’[was] social awkwardness and impulsive speech . . . .”27




               189.       The same day, Ms. Abel reviewed again the agreed upon list of Protections

that formed the basis for the contractual rider.

               190.       On July 24, 2024, Ms. Abel emailed Mr. Heath and others, requesting “the

legal letter that was sent to [Ms. Lively] and her team,” stating, “per our conversation, we will go

through point by point and draft context surrounding each situation. We can then flag what we are

missing that would be helpful to arm us in the case we need to refute any of the claims….”

               191.       On July 26, 2024, Mr. Baldoni sent Ms. Abel a Variety article about Francis

Ford Coppola’s inappropriate behavior on set during production of his movie, Megalopolis,

including his alleged kissing of cast and crew, as described by “unnamed sources.” In conveying

the article, Mr. Baldoni stated: “This is the shit that I’m sure they want to do – unnamed sources



27
   Consistent with this plan, Mr. Baldoni has recently been making the press rounds discussing his ADHD. See
Kimberlee Speakman, Justin Baldoni Reveals He Was Diagnosed with ADHD at 40 After Struggling Through School:
‘I Felt Broken,’People (Dec. 5, 2024, 8:19 AM) https://people.com/justin-baldoni-reveals-he-was-diagnosed-with-
adhd-at-XX-XXXXXXX; Christy Pina, Justin Baldoni Says He Had “Near Breakdown” While Filming ‘It Ends With Us’:
“There Was So Much Pain,” The Hollywood Reporter (Dec. 4, 2024, 12:53 PM),
https://www.hollywoodreporter.com/movies/movie-news/justin-baldoni-near-breakdown-it-ends-with-us-sexual-
trauma-adhd-1236077524/; Carly Silva, Justin Baldoni Reveals New Clinical Diagnosis: ‘I Haven’t Spoken About
This Publicly,’Parade (Dec. 4, 2024) https://parade.com/news/justin-baldoni-clinical-diagnosis-adhd-interview-dec-
2024.

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etc [sic] . . .”28

                192.     On July 29, 2024, Mr. Baldoni and Ms. Abel discussed a proposal to get

ahead of any potential publicity regarding Ms. Lively’s HR complaints against him with a “social

and digital” combat plan.

     G. Wayfarer Engages Melissa Nathan, TAG, Mr. Wallace, and Street Relations on
        Behalf of Mr. Baldoni to Launch a Retaliation Campaign Against Ms. Lively.

                193.     As the Film’s release date of August 9, 2024 drew closer, Mr. Baldoni, Mr.

Heath, Wayfarer, Ms. Abel, and others continued to pursue a strategy on behalf of Mr. Baldoni

and Wayfarer to “arm” themselves against the possibility that Ms. Lively or others might go public

with the claims against Mr. Baldoni or Wayfarer.

                194.     This plan took shape with Wayfarer’s retention (on behalf of Wayfarer and

Mr. Baldoni) of Ms. Nathan, which occurred on or around July 31, 2024.

                195.     Ms. Nathan is a crisis manager. On or about June 20, 2024, Ms. Nathan

launched TAG.

                196.     TAG markets itself as a “team of crisis specialists and communications

experts” that “redefines the rules of reputation management.”29 TAG’s website states, “At TAG,

it’s more than just creating a powerful narrative – it’s knowing how to navigate that narrative

towards continued success and a lasting legacy.”30

                197.     TAG’s website states that it “offers comprehensive communications
services for individuals, businesses, and corporations looking to invest in reputation management

and the growth of their unique public profiles. TAG specializes in crisis communications, having

managed some of the biggest public-facing crises to date, and utilizes that fast-paced, reputation-

first mindset with all of its day-to-day clients, which span a variety of industries, including




28
   See Brent Lang & Tatiana Siegal, Video of Francis Ford Coppola Kissing ‘Megalopolis’Extras Surfaces as Crew
Members Detail Unprofessional Behavior on Set (EXCLUSIVE), Variety (Jul. 26, 2024, 9:47 AM)
https://variety.com/2024/film/news/megalopolis-set-video-francis-ford-coppola-kissing-extras-1236082653/.
29
   The Agency Group, The Agency Group PR (TAG), https://tagpr.com/about (last visited Dec. 19, 2024).
30
   Id.

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entertainment, media, business and sports.”31 TAG’s services include messaging and narrative

development, media relations, crisis communications and management, and digital and social

strategy, among others.32

                   198.        By July 31, 2024, Wayfarer had started to put together a timeline of events

to be shared with Ms. Nathan and TAG.

                   199.        According to TAG’s own planning document, the purpose of Ms. Nathan’s

engagement was to help Mr. Baldoni “get ahead of the narrative” and mitigate bad press that might

arise from Ms. Lively’s and others’ HR complaints becoming public by engaging in techniques,

such as a “‘rapid response’ communication system” and “catalog[ing] third party advocates willing

to provide a potential quote or engage with reporters on [Mr. Baldoni’s] and [Mr. Heath’s] behalf

to mitigate negative narratives from a source outside of Wayfarer.” See Exhibit D at 1–2.

                   200.        On August 1, 2024, before any of the cast sat down for interviews at the

film’s press junkets, Ms. Abel stated to Mr. Heath and Wayfarer personnel that she had held an in-

person meeting with a contributor to People, Fox News, In Touch, and US Weekly. Ms. Abel

explained that during the meeting, she had “fully briefed” the contributor “of the situation” with

Ms. Lively. Ms. Abel stated that the contributor was “armed and ready to take this story of Blake

weaponizing feminism,” and assured Mr. Heath that the contributor “will do anything for us.”

The irony of Mr. Baldoni accusing anyone of “weaponizing feminism”—let alone the woman who

had edited the Film for which Mr. Baldoni was poised to take credit—does not appear to have been

discussed at Ms. Abel’s dinner with her long-time friend.




31
     Id., Services, https://tagpr.com/services (last visited Dec. 19, 2024).
32
     Id.

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              201.      On or around August 2, 2024, Ms. Abel connected the contributor with Ms.

Nathan. Subsequently, Ms. Nathan engaged directly with media sources on behalf of Mr. Baldoni

and Wayfarer regarding Mr. Baldoni, Ms. Lively, and the Film.

              202.      On August 2, 2024, Ms. Nathan, Mr. Baldoni, Ms. Abel, and others had a

phone call to discuss the services that Ms. Nathan and TAG would provide for Mr. Baldoni and

Wayfarer.

              203.      Subsequently, on August 2, 2024, TAG circulated a document to Mr.

Baldoni and others entitled “SCENARIO PLANNING – IT ENDS WITH US,” as described above.

See supra at ¶ 31; see also Exhibit D.

              204.      Of note, the Scenario Planning Document states, “there are several potential

scenarios at play here which we should be prepared for, should [Ms. Lively] and her team make

her grievances public . . . .” See Exhibit D at 1.

              205.      The Scenario Planning Document provides TAG’s “recommendation” “to

get ahead of this narrative . . . .” Id. This included suggesting misleading messaging that: (1)

“[p]roduction members lost their jobs due to [Ms. Lively’s] takeover and insisted upon

involvement”; (2) Ms. Lively “involved her husband to create an ilmbalance [sic] of power

between her and [Mr. Baldoni]”; (3) Ms. Lively has a “less than favorable reputation in the

industry”; and (4) Ms. Lively had “a clear, likely motive. . . to bully her way into buying the rights

for It Starts With Us,” the sequel to the Film currently owned by Wayfarer. Id. at 2.

              206.      The Scenario Planning document states that TAG could “also explore

planting stories about the weaponization of feminism and how people in BL’s circle like Taylor

Swift, have been accused of utilizing these tactics to ‘bully’ into getting what they want.” Id. at 4.

              207.      Upon review of the Scenario Planning Document, Mr. Baldoni informed

Mr. Heath that he was “[n]ot in love with the document they sent – Not sure I’m feeling the

protection I felt on the call[.]”

              208.      Mr. Heath responded, “That’s the most important part of this is how quickly
they can shut things down and place stories in your favor.”


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             209.     Later the same day, Ms. Abel conveyed to Ms. Nathan that Mr. Baldoni was

questioning whether the plan was aggressive enough, texting that “[Mr. Baldoni] want[ed] to feel

like [Ms. Lively could] be buried.” Ms. Nathan responds: “Of course—but you know when we

send over documents we can’t send over the work we will or could do because that could get us in

a lot of trouble[.] We can’t write it down to him[.] We can’t write we will destroy her [ . . . ]

Imagine if a document saying all the things that he wants ends up in the wrong hands.”




                                              […]




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             210.      On August 4, Ms. Abel texted Ms. Nathan, stating, “I’m having reckless

thoughts of wanting to plant pieces this week of how horrible Blake is to work with . . . Just to get

ahead of it . . . She’s putting us through hell.” (Ms. Lively was, in fact, doing nothing other than

engaging in the approved Marketing Plan for the Film at that time.) Ms. Nathan responded,

“Same[,]” and indicated that she had already spoken to the Daily Mail.




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                 211.       As set forth above, on August 5, 2024, Mr. Baldoni sent Ms. Abel a

screenshot of a thread on X regarding another female public figure’s alleged “history of bullying

many women[.]” Mr. Baldoni stated, “[t]his is what we would need[.]”33

                 212.       Ms. Abel responded, “Yes I literally just spoke to Melissa about this on the

break about what we discussed last night for social and digital.” She continued: “Focus on reddit,

TikTok, IG[.]”

                 213.       The next day, even though Ms. Nathan and TAG had already begun

performing work on behalf of Wayfarer and Mr. Baldoni, Ms. Nathan texted a text chain with Ms.

Abel and Mr. Heath providing pricing quotes ranging from $75,000 to $175,000 for TAG’s crisis

mitigation services.

                 214.       Ms. Nathan explained the quotes as follows:




33
     @selovelenaa, X, (Aug. 4, 2024, 10:07 AM) https://x.com/selovelenaa/status/1820099207996575827.

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              (a)      “Quote one: $175k - this will be for a 3-4 month period and includes:

website (to discuss) full reddit, full social account take downs, full social crisis team on hand for

anything – engage with audiences in the right way, start threads of theories (to discuss) this is the

way to be fully 100%protected [sic].”

              (b)      “Quote two $25k per month - min 3 months as it needs to seed same as

above - this will be for creation of social fan engagement to go back and forth with any negative

accounts, helping to change narrative and stay on track.” Ms. Nathan stated, “All of this will be

most importantly untraceable. There is a lot more to both of these quotes but, [sic] easier to discuss

via phone in terms of capabilities and what I have personally experienced in and out of crisis

scenarios.”




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             215.      On August 7, 2024, Ms. Abel and Ms. Nathan viewed and referred to their

shared work on behalf of Mr. Baldoni and Wayfarer as a “social combat plan.”




             216.      On information and belief, TAG engaged Mr. Jed Wallace around this same

time, in early August 2024, to design and implement their “social combat” plan.

             217.      Mr. Wallace identifies as a self-employed Public Relations Consultant and,

on information and belief, has described himself as a “hired gun” with a “proprietary formula for

defining artists and trends.”

             218.      On information and belief, Mr. Wallace specializes in executing

confidential and “untraceable” campaigns across various social media platforms (including

TikTok, Instagram, Reddit, and X) to shape public perception of his clients and their adversaries

and to perpetuate those perceptions.

             219.      Mr. Wallace himself has no online presence. He does not appear to have

any public profiles on Facebook, Instagram, X, or LinkedIn. One Los Angeles publicist recently

stated publicly: “I imagine Jed has no interest in having his name out there . . . . I imagine all his

work is word of mouth and he doesn’t want to be known, because if he’s the guy who makes

things untraceable, that’s the value.”34

34
  Katie Warren and Jack Newsham, Meet Jed Wallace, the Mysterious Crisis Guru Suing Blake Lively,
Business Insider (Feb. 6, 2025, 11:35 AM), https://www.businessinsider.com/blake-lively-alleged-smear-
campaign-jed-wallace-justin-baldoni-lawsuit-2025-1.

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             220.      Mr. Wallace owns and serves as the Director, President, and Secretary of

Street Relations. Street Relations self-describes as a “crisis mitigation firm engaged by clients to

help navigate real-life human crisis, threats, trauma and mental health concerns. It helps primarily

families and individuals when they find themselves unjustly attacked, extorted, doxed, swatted,

scammed or need help navigating through the most frightening situations.” Street Relations’ roster

of clients include high-profile and high-net worth clients for whom it performs public relations

services, including by contracting with other public relations and brand management firms to

perform discrete work that facilitates larger public relations strategies.

             221.      Mr. Wallace and Defendants’ counsel, Bryan Freedman, have a close

relationship that predates this litigation. In an August 13, 2024 text, Ms. Nathan inquired about

whether she should create a Signal thread between herself, Ms. Abel, and Mr. Wallace “in case

you need [Mr. Wallace] to connect you to [Mr. Freedman] because they’re very close.” (emphasis

added).




             222.      Defendant TAG and Ms. Nathan also have a relationship with Mr. Wallace

that preceded this litigation. As TAG confirmed in its answer to the first Complaint Ms. Lively

filed in this court, Ms. Nathan worked with Mr. Wallace on previous matters and TAG retained

him to work with them on behalf of Defendant Wayfarer and Mr. Baldoni.

             223.      On information and belief, TAG retained Mr. Wallace, and his company

Street Relations, to weaponize a digital army around the country, including in New York and Los

Angeles, to create, seed, manipulate, and advance disparaging content that appeared to be authentic
on social media platforms and internet chat forums, including the specific platforms Ms. Abel told


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Mr. Baldoni they would “focus” on: Reddit, TikTok, and Instagram.

    H. The Wayfarer Parties Engage in Social Manipulation, with the Assistance of Mr.
       Wallace.

             224.     On August 7, 2024, after discussing the “social combat plan” with Ms.

Nathan, Ms. Abel corresponded with other TAG personnel regarding what she referred to as

“social manipulation.” Specifically, Ms. Abel inquired about the cost of “social media mitigation

and proactive fan posting to counter the narrative” surrounding Mr. Baldoni and whether what she

had “discussed with [Ms. Nathan] earlier regarding social manipulation (from the separate team

based in Hawaii…)” was included in that fee. On information and belief, the referenced “team

based in Hawaii” worked with Mr. Wallace and/or at his direction.

             225.     The same day, TAG indicated their intent to leverage “social” to “quiet/kill”

media coverage regarding public suspicions relating to Mr. Baldoni’s disconnect from the Film’s

cast.




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             226.      The next day, on August 8, 2024, the TAG team met with Mr. Wallace and

his team to “bring them up to speed . . . so they can hit the ground running.”




             227.      On information and belief, following that meeting, Mr. Wallace was in

regular contact with most of the Defendants.

             228.      For example, on August 9, 2024, Ms. Abel, Mr. Baldoni, Mr. Health, Ms.
Nathan, and other members of the TAG team texted to discuss that the “narrative” that was

“shifting online to pointing finger at Ryan bring overly involved[.]” In response to a text from Mr.

Baldoni, a TAG employee responded: “Weve [sic] flagged to Jed and his team as well[.]”

             229.      On August 13, 2024, the Hollywood Reporter announced the retention of

Ms. Nathan and TAG on August 13, 2024. That report stated, in part: “The news comes days after
sleuths flooded TikTok with speculation about an alleged rift between Baldoni and his cast and

crew, including co-star and producer Blake Lively, as well as Hoover. Chatter spiked when fans
noticed Baldoni’s absence from joint press events and the lack of group photos of Lively and



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 Baldoni together at the New York premiere Aug. 6. Some also pointed out that neither Lively or

 Hoover, nor the rest of the cast, follow Baldoni on Instagram (though he follows them).”35

                230.        Ms. Abel, Ms. Nathan, Mr. Wallace, Street Relations, and others employed

 or engaged by TAG perpetrated a retaliation scheme against Ms. Lively, in collusion with Mr.

 Sarowitz, Mr. Baldoni, Mr. Heath, and Wayfarer. This scheme was what TAG described as a

 “social manipulation” plan relying on direct and constant media engagement, the seeding of

 content on traditional and social media platforms, the boosting of content (sometimes the very

 content that TAG and its affiliates had seeded), the suppressing of negative content about Mr.

 Baldoni, and the amplifying of negative content about Ms. Lively (including through engagement

 via comments on social media).

                231.        When media sources made direct inquiries regarding potentially

 unflattering stories about Mr. Baldoni specifically, Ms. Nathan, Ms. Abel, and their teams worked

 to suppress those stories.

                232.        On August 8, 2024, Ms. Abel stated that the situation had moved “from just

 monitoring and scenario planning . . . to [Ms. Nathan] and me having to have an off the record

 conversation with outlets such as the today show.” Ms. Abel noted that because of Ms. Nathan’s

 relationships, those outlets were being “kept at bay[.]”




 35
   Carly Thomas & Pamela McClintock, Justin Baldoni Hires Crisis PR Veteran Amid Alleged ‘It Ends With Us’Rift,
 The Hollywood Reporter (Aug. 13, 2024, 5:27 PM), https://www.hollywoodreporter.com/movies/movie-news/justin-
 baldoni-hires-pr-crisis-manager-melissa-nathan-it-ends-with-us-1235973715/; see also Anthony D’Alessandro, ‘It
 Ends With Us’: Justin Baldoni Hires Crisis PR Vet Melissa Nathan as Rumor Mill Swirls About Filmmaker/ Star’s
 Rift with Blake Lively, DEADLINE (Aug. 13, 2024, 8:22 PM), https://deadline.com/2024/08/it-ends-with-us-justin-
 baldoni-melissa-nathan-blake-lively-1236039853/; see also Lauren Tousignant, What the Hell is Going On?,
 JEZEBEL (Aug. 14, 2024, 10:32 AM), https://www.jezebel.com/what-the-hell-is-going-on (“I don’t know what to
 make of this. I’m sure Nathan is great at her job, but it feels wild to me to hire Depp’s former crisis PR when you’re
 maybe in some hot water over a movie you made where you play a domestic abuser.”) (emphasis in original); Kristyn
 Burtt, Justin Baldoni Made a Curious PR Move Amid His Drama With Blake Lively & the ‘It Ends With Us’Cast,
 Y!entertainment (Aug. 14, 2024, 7:50 AM PDT), https://www.yahoo.com/entertainment/justin-baldoni-made-
 curious-pr-145000919.html; KenJac, Justin Baldoni Hired Johnny Depp’s PR Crisis Manager. A Week Later, The
 Whole World Turned On Blake Lively, Barstool Sports (Aug. 22, 2024, 10:10 PM PDT),
 https://www.barstoolsports.com/blog/3522813/justin-baldoni-hired-johnny-depps-pr-crisis-manager.-a-week-later-
 the-whole-world-turned-on-blake-lively.

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              233.     The next day, an employee of TAG texted a link to a salacious story about

 Ms. Lively’s family and noted, “The tides are swirling around Ryan now FYI[.]” Along these same

 lines, the team had previously shared an upsetting TikTok video which called for Blake “to divorce

 Ryan,” writing, “You guys will love this[.]” Another TAG employee then described this post as

 “Very helpful.”




              234.     On August 9, 2024, the day the Film premiered, Ms. Abel and Ms. Nathan

 flagged social media accounts questioning Mr. Baldoni’s misconduct to Mr. Wallace, directing

 Mr. Wallace to take “serious actions on the social side” in response.

              235.     That same day, Mr. Wallace reportedly told Ms. Nathan that “we are

 crushing it on Reddit[.]” Ms. Nathan relayed the statement to Ms. Abel in a text message, which

 appears to be a reference to efforts by Mr. Wallace to seed and influence online forums on Reddit

 attacking Ms. Lively and defending Mr. Baldoni.




              236.     Around the same time, threads on Reddit began to appear speculating about

 the feud between Ms. Lively and Mr. Baldoni, including in connection with allegations about
 competing cuts of the Film.


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                 237.      On August 9, 2024, Ms. Nathan sent Ms. Abel two links to articles—one

 from the Hollywood Reporter entitled “Did Blake Lively, Justin Baldoni Have a Rift Over ‘It Ends

 With Us’? Sleuthing TikTokers Think So[,]” and one from the Daily Mail entitled “Disturbing

 TRUTH behind why Blake Lively and her It Ends With Us stars are feuding with Justin

 Baldoni[.]”36

                 238.      The Daily Mail article reported on allegations that “Justin Baldoni was

 ‘chauvinistic’ and ‘borderline abusive’ on the set of It Ends with Us,” and discussed this and other

 claims with respect to the Film and its cast in detail.37

                 239.      Ms. Abel stated to Ms. Nathan, “I can tell you’ve done a lot of work here,”

 and continued, “Nothing about being unsafe. Fat comments. Sexual.” She concluded, “Thank

 fucking god[.]”




 36
    Carly Thomas, Did Blake Lively, Justin Baldoni Have a Rift Over ‘It Ends With Us’? Sleuthing TikTokers Think So,
 The Hollywood Reporter (Aug. 8, 2024, 6:09 PM) https://www.hollywoodreporter.com/movies/movie-news/blake-
 lively-justin-baldoni-it-ends-with-us-drama-what-we-know-1235969708/; James Vituscka & Lillian Gissen,
 Disturbing TRUTH behind why Blake Lively and her It Ends With Us stars are feuding with Justin Baldoni,
 Dailymail.com (Aug. 9, 2024, 12:52 EDT), https://www.dailymail.co.uk/tvshowbiz/article-13727789/it-ends-blake-
 lively-justin-baldonifeud.html.
 37
    Vituscka & Gissen, supra n. 21.

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                240.       On August 9, 2024, Ms. Nathan indicated to Ms. Abel that she was on the

 phone with her sister, Sara Nathan, a journalist at the New York Post and contributor at Page Six,

 and remarked that Mr. Baldoni’s religion should be taken “out” from media coverage. She went

 on to state, “And mostly The [sic] misogynistic.”




                241.       Later the same day, Ms. Nathan texted Ms. Abel a link of an article on Page

 Six by Sara Nathan entitled “Truth behind ‘It Ends With Us’ feud rumors: Justin Baldoni made

 Blake Lively ‘uncomfortable,’ sources say,” stating, “I knew she would keep uncomfortable.”38

                242.       On August 9, 2024, Ms. Abel and Ms. Nathan discussed suppressing two

 stories that report Ms. Lively was “uncomfortable” on the set.

                243.       Ms. Nathan texted, “ALL Press is so overwhelming[.] Weve [sic] confused

 people[.] So much mixed messaging[.] It’s actually really funny if you think about it . . .”




 38
    Sara Nathan, Truth behind ‘It Ends With Us’feud rumors: Justin Baldoni made Blake Lively ‘uncomfortable,’sources
 say, PageSix, (Aug. 9, 2024, 4:50 PM EDT) https://pagesix.com/2024/08/09/entertainment/justin-baldoni-made-blake-
 lively-uncomfortable-sources/.

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             244.     Ms. Nathan further texted Ms. Abel that the “worst is over” and that Mr.

 Baldoni likely would not be “cancelled,” corroborating that the nature of the ongoing campaign

 was designed to harm Ms. Lively and conceal Mr. Baldoni’s conduct on set.




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              245.      The following day, on August 10, a member of the TAG team advised that

 they had “started to see a shift on social, due largely to Jed and his team’s efforts to shift the

 narrative towards shining a spotlight on Blake and Ryan” instead of on Mr. Baldoni. This message,

 by itself, completely debunks Defendants’ self-serving efforts to mislead the public into thinking

 that all they did was respond reactively to media inquiries in order to correct the record. As the

 TAG employee’s text message confesses in real time, Mr. Baldoni’s team, relying on Mr. Wallace

 and his team, had created a “shift on social” via their (successful) “efforts to shift the narrative

 towards shining a spotlight on Blake and Ryan.” This is, of course, precisely the objective outlined

 in Ms. Nathan’s strategic plan, and precisely the result that Mr. Baldoni had sought.




              246.      The same day, Ms. Abel celebrated Ms. Nathan’s suppression of stories that

 had apparently sought to reveal the existence of HR complaints, as well as the effectiveness of

 their retaliatory campaign. She stated: “The narrative online is so freaking good and fans are still

 sticking up for Justin and there literally has been no pickup of those two articles which is actually

 shocking to me. But I see this as a total success, as does Justin. You did such amazing work[.]”

 Ms. Nathan responded, “So did you.”




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              247.      Ms. Nathan texted later that same day, “The majority of socials are so pro

 Justin and I don’t even agree with half of them [sic] lol.”




              248.      Later in the same chain, also on August 10, 2024, Ms. Nathan and Ms. Abel

 continue to discuss the shift on social, with Ms. Nathan stating: “socials are really really ramping

 up[.]” She continued, “It’s actually sad because it just shows you have people [sic] really want
 to hate on women[.]”Ms. Abel agreed and attributed the hate against Ms. Lively to her unfollowing



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 Mr. Baldoni on social meeting, writing “She fucked herself by doing the unfollow thing and

 insisting no photos together.”




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              249.     The following day, Ms. Abel confirmed to Mr. Baldoni that there had been

 “Nothing. Very very little pickup.” and that fans “believe the issue of the ‘feud’ is because she

 took control of the movie[.]”

              250.     In the days that followed, Ms. Nathan and Ms. Abel discussed working with

 Mr. Wallace and his “digital team” to “amplify” or “boost” or to suppress certain narratives and

 posts on social media, including on TikTok. On any occasion, any member of Wayfarer or the

 social “manipulation” team could text the link to a positive story about Mr. Baldoni, or a negative

 story about Ms. Lively, and ask that someone “boost” the story to the public, or “engag[e] in the

 comments” to fuel the desired narrative.

              251.     For instance, on August 10, 2024, Ms. Abel sent a TikTok post of Mr.

 Baldoni and Ms. Lively appearing to laugh together, and wrote “[w]ould be great for the digital

 team to boost this in any way possible….”

              252.     On August 12, 2024, a TAG team member circulated screenshots about

 “speculation” posts on social media, to which Ms. Nathan responded that “Jed also shot me a note”

 and asked to schedule a Zoom conversation.
              253.     On August 13, 2024, the team discussed ways to use the “digital team” to


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 “amplify[]” positive stories about Mr. Baldoni.

              254.         The next day, on August 14, 2024, Ms. Abel stated, “I’ll have our digital

 side boost this [TikTok] in the am.” In the referenced TikTok, an individual who Ms. Lively has

 never met responds to social media that Mr. Baldoni “made [Ms. Lively] uncomfortably and sad,”

 calling it “all nonsense.”

              255.         On August 18, 2024, Mr. Baldoni circulated a TikTok video in which the

 poster criticized Ms. Lively for not speaking about domestic violence in press interviews. A

 member of Ms. Nathan’s team responded that she would “let digital know[.]”

              256.         The same day, Ms. Abel flagged to TAG that “this girl is claiming that [Mr.

 Baldoni] invited her up to his hotel room years ago.” The TAG team later stated, “[l]et us chat to

 Jed as well on this[.]”




                                                   […]




              257.         On August 18, 2024, Mr. Baldoni responded on the same thread about



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 seeing comments on Instagram “on random posts defending me by people who are private with no

 followers and they feel like bots.” Ms. Nathan responded, stating that they “do not have bots”

 because “bots look fake to anyone” and that “[t]he other team is doing something very specific in

 terms of what they do. I know Jamey &Jed [sic] connected on this.” (Emphasis added.) She

 explained further that “[a]ny digital team these days is far more intelligent to utilise [sic] something

 so obvious.”




                258.     During the same period of time, Ms. Nathan, Ms. Abel, and their teams were

 “heavily monitoring,” had media “friendlies updating” them, and worked to suppress unflattering

 commentary regarding Mr. Baldoni, while spreading stories that were favorable to Mr. Baldoni.

                259.     For example, on August 9, 2024, Ms. Abel circulated a screenshot of a post

 by a woman stating, “Justin, the creator of a show called My Last Days, exploits the struggles of

 individuals facing terminal illnesses for his own gain. He found my friend, who is battling a serious
 illness, and followed her life closely. Despite her grace in not speaking ill of him, I sensed from



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 the start that something was deeply wrong. Justin weaponizes therapeutic language, presenting

 himself as thoughtful and supportive, yet his actions reveal a very different reality. He portrays

 himself as an ally to women and the vulnerable, but it’s all a façade—he manipulates the vernacular

 of care to mask his true intentions. In reality, none of the proceeds from the show benefited the

 individuals he profiled. He even had the audacity to depict her hometown, a vibrant and affluent

 community, as a small, impoverished town. His portrayal was not just inaccurate but insulting.

 Once the show aired, Justin took his profits and vanished, leaving nothing but a sense of

 exploitation in his wake. His behavior was not just tacky and gross—it was a betrayal of the very

 people he claimed to uplift.”

                 260.   In response to the post, Ms. Abel stated, “I’m assuming this is not true in

 the slightest . . . . Either way, we’ve flagged to Jed and his team for more serious action on the

 social side.” It is worth pausing to consider Ms. Abel’s reaction to this woman’s post—rather than

 asking Mr. Baldoni whether there is any truth to the allegations, Ms. Abel instead declared that

 she was flagging the woman’s post to Mr. Wallace “for more serious action on the social side”

 either way—meaning, Ms. Abel was calling for Mr. Wallace to take action against the woman

 without any regard to whether she was reporting the truth.

                 261.   During the same period of time, when media sources inquired about HR

 complaints that were made on the set of the Film, Ms. Nathan, Ms. Abel, and their teams worked

 to suppress coverage of these HR complaints.

                 262.   Further, on or around August 14, 2024, media outlets directly inquired about

 HR complaints made on set because they were “being told there were at least three HR complaints

 filed against Justin Baldoni on the set of ‘It Ends With Us’” and inquired “if the complaints were

 investigated and what the results were.”

                 263.   By this time, individuals at TAG, Ms. Nathan, and Ms. Abel were aware of

 the existence of complaints that were made regarding the on-set behavior of Mr. Baldoni and Mr.

 Heath, and sought clarity as to the specific HR complaints at issue in order to better counter them
 in the press.


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               264.      Approximately one minute later, Ms. Abel asserted the “need to position”

 the claims as “claims that are already out there about the kiss and the weight comment,”

 referencing earlier public reporting by TMZ on Mr. Baldoni’s “linger[ing]” kiss with Ms. Lively

 and Mr. Baldoni’s comments regarding Ms. Lively’s weight on set.39




               265.      On or around the same date, Ms. Nathan directly engaged with several

 media platforms, discussing the issue of the HR complaints made against Mr. Baldoni while on

 the set of the Film.

               266.      On August 15, 2024, Ms. Nathan texted Ms. Abel that “DM hounded me

 re[:] HR complaints.” She stated that “DM” is not running any content about it, continuing “Jen,

 this went so well I am fucking dying[.] I have to call you later in a bit and tell you how this went.

 It was genius. So okay, we have the four majors standing down on HR complaint [sic]. I think

 we are fine on that bit[.]”

               267.      During the same period of time, Ms. Nathan and her team at TAG planted


 39
   TMZ, Blake Lively, Justin Baldoni She Felt Kissing Scene Lingered Too Long … Feels He Fat-Shamed Her (Aug.
 14, 2024, 7:55 AM), https://www.tmz.com/2024/08/14/blake-lively-justin-baldoni-fat-shamed-it-ends-with-us/.

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 or otherwise were involved in generating or influencing the content publicly put forth on social

 media, including Reddit and TikTok, as well as online media sources.

                268.       For example, on August 13, 2024, various text messages were exchanged

 between Ms. Abel and the journalist Sara Nathan (who, as explained above, is Ms. Nathan’s

 sister).40 These messages consisted of drafts of a story outlining Ms. Lively’s role in making final

 cuts to the Film.

                269.       After Sara Nathan circulated draft language related to Ms. Lively’s

 involvement in the different cuts of the film, Ms. Abel sent Sara Nathan revisions to the draft,

 which Sara Nathan offered to “amend.”

                270.       On the same day, an article authored by Sara Nathan, titled Blake Lively

 approved final cut of ‘It Ends with Us ’amid feud with co-star director Justin Baldoni, was

 published in Page Six, owned by the New York Post.41

                271.       The article addressed, among other topics, Ms. Lively’s role in approving

 the final cut of the Film but emphasizes how Ms. Lively “contribut[ed] to almost every aspect of

 [the Film];” that her husband “wrote one of the most important scenes in the movie;” and that she

 was “begged” to remove one of her song choices from the Film, despite Mr. Baldoni’s ownership

 of the “rights to the book via his production company, Wayfarer.”

                272.       The language contained in the article is almost a verbatim copy of the
 language exchanged between Sara Nathan and Ms. Abel via text and reflects multiple of Ms.

 Abel’s revisions to Sara Nathan’s original proposed draft.

                273.       TAG publicly shared this article on one or more social media platforms,

 including Reddit, prompting various negative comments in relation to Ms. Lively and her husband

 and the narrative that Ms. Lively “steamrolled” or “bulldozed” Mr. Baldoni and the Film “for her




 40
   Sara Nathan, PageSix, https://pagesix.com/author/sara-nathan/ (last visited Dec. 31, 2024).
 41
   Sara Nathan, Blake Lively approved final cut of ‘It Ends with Us’amid feud with co-star director Justin Baldoni,
 PageSix (Aug. 13, 2024, 4:20 PM), https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-
 of-it-ends-with-us-amid-feud/.

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 own personal gain.”42

                274.       In early August 2024, Ms. Lively launched her hair care line, Blake Brown,

 which she spent seven years building. The Defendants have falsely claimed that the launch was

 timed with the Film’s release, but in reality, the launch was set nearly one year before the Film’s

 release date had been decided. It was not until May of 2024 when the Film’s release date was

 moved for the third time that it happened to land the same week as Ms. Lively’s hair care launch.

 When the Blake Brown hair care line was first launched, the media and social media response was

 overwhelmingly positive, and the launch of the product line at Target became that store’s “biggest

 hair care launch on record.” Yet at exactly the same moment that Defendants launched their

 retaliatory campaign, powered on the digital side by Mr. Wallace and his team, the Instagram

 account of Blake Brown was flooded by harassing and derogatory comments, including many

 posted by user accounts that had no followers and no prior posts, most of which did not relate to

 the brand’s products. To take just one example, one comment posted on the Blake Brown account

 (by a user that, as of December 19, 2024, shows user metrics indicating 0 posts, 0 followers, and

 0 following), commented: “How about you stop paying the media to trash and smear Justin that

 would be a good start you awful human being.” Another user (also with 0 posts, 0 followers, and

 0 following) posted: “We want Justin’s cut of the movie!! He actually care about DV.”43

                275.       Mr. Baldoni and Mr. Sarowitz, along with Mr. Heath, both encouraged and

 provided input and ideas on ways to negatively influence the narrative against Ms. Lively, her

 family, and her businesses, as well as suppressing negative press about Mr. Baldoni. For instance,



 42
    AbsolutelyIris,                                         Reddit                                            post,
 https://www.reddit.com/r/Fauxmoi/comments/1erm7jz/exclusive_blake_lively_approved_final_cut_of_it/?rdt=5449
 4#:~:text=Blake%20Lively%20approved%20the%20final,end%20result%2C%20multiple%20sources%20 (2024);
 Fred Steggars, Page Six comment, https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-cut-
 of-it-ends-with-us-amid-feud/ (Aug. 13, 2024) (“Sounds like Lively used her power even though he had bought the
 rights and was the director. And then she pushed him out. It’s obvious all the info comes from her camp.”);
 IFNOTMEWHO, Page Six comment, https://pagesix.com/2024/08/13/celebrity-news/blake-lively-approved-final-
 cut-of-it-ends-with-us-amid-feud/ (Aug. 13, 2024) (“Kinda sounding like a mean girl behind all the makeup and fake
 smiles. No longer a fan.”).
 43
    See @judy__bees, Blake Brown Beauty Instagram comment (Aug. 13, 2024), (“How about you stop paying the
 media to trash and smear Justin that would be a good start you awful human being.”); @ronn.iejac, Blake Brown
 Beauty Instagram comment (Aug. 13, 2024) (“We want Justin’s cut of the movie!! He actually care about DV.”).

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 on August 9, 2024—the Film’s release date—in discussing certain negative articles about himself

 with Ms. Abel, Mr. Baldoni stated, “there’s no way we can just let this go[.]”

              276.     On August 15, 2024, Mr. Baldoni texted Ms. Nathan and Ms. Abel, stating

 that his business partner, Mr. Sarowitz, suggested “flipping the narrative” arising from unnamed

 sources who had made false claims about Mr. Reynolds’ involvement in the script of the Film, and

 suggested ways to manipulate those rumors to make Mr. Reynolds appear to be anti-feminist.

 There was no truth to these claims.




                                              […]




              277.     Mr. Baldoni stated that “[t]his is an easy flip,” before Ms. Nathan indicated

 that she was already working on a story for Variety that would achieve this goal.

              278.     The chief problem with these stories was that they were not based on Mr.

 Reynolds’ “own words.” Mr. Reynolds never said that the “script was a disaster and he saved the

 movie,” nor did he ever claim that the “female hired was a feminist writer” who “didn’t know how

 to tackle a female film.” Nor was there any evidence backing up Mr. Sarowitz’s proposed line of



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 attack on Mr. Reynolds. Just a week before this creative suggestion to smear Mr. Reynolds, Mr.

 Sarowitz had posed for pictures with Mr. Baldoni and Mr. Heath at the opening of their Wayfarer

 Foundation wearing a shirt that said: “Seek always to do that which is right and noble – ‘Abdu’l-

 Baha.’” Mr. Sarowitz’s proposal to retaliate against Ms. Lively by seeking to harm her husband’s

 reputation makes a mockery of the mantra Mr. Sarowitz professes to follow when on camera.




              279.      As of August 16, 2024, Ms. Nathan was continuing to confer with additional

 reporters to release stories that would cast Ms. Lively and/or Mr. Reynolds in a negative light.

              280.      Meanwhile, Ms. Lively neither publicly commented nor directed any of her

 representatives to comment to or engage with the print media, social media, or otherwise about the

 hostile work environment Mr. Baldoni, Mr. Heath and Wayfarer created. Indeed, throughout the

 time period discussed herein, Ms. Lively never provided her publicist with details about the hostile

 work environment that she, alongside the other cast members and crew, had experienced.



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              281.     Moreover, Ms. Lively expressly instructed her publicist, Leslie Sloane, not

 to engage with press inquiries, including ones regarding the on-set behavior of Mr. Baldoni, Mr.

 Heath, or Wayfarer. In other words, Ms. Lively’s instructions to her publicist were the opposite of

 a smear or exposing him, even while she believed he was behind the attacks on her. Mr. Reynolds

 confirmed that instruction to Ms. Lively’s publicist on August 13 and again on August 29, directing

 her to continue to “remain quiet” and not do anything to shape any stories, whether positive or

 negative, reiterating an instruction that both he and Ms. Lively had given her verbally at the

 premiere of the Film in Denmark on August 9 to “not talk to ANYONE about any of the[] attacks

 on Blake.”




              282.     Ms. Lively and other cast members who had not appeared in the press with

 Mr. Baldoni experienced a sudden tidal wave of increasingly negative public attention building
 around them. Ms. Lively and others suspected that the extraordinarily rapid shift in public


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 sentiment and press coverage that began on the day of the Film’s release was likely orchestrated

 by the men about whom Ms. Lively and others had raised HR complaints.

              283.      On August 10, 2024, Ms. Lively sent a text message to a female cast

 member regarding how she was doing, writing that she was: “Both thrilled and so bummed. Him

 literally hiring bots to attach [sic] my character while I promote a movie that he benefits most from

 financially is a terrible feeling. It’s almost impossible to comprehend.” That cast member

 responded by expressing sympathy for Ms. Lively and confidence that the truth would come out.

              284.      On August 10, 2024, Ms. Gianetti texted Ms. Lively to congratulate her on

 the success of the Film’s opening. On August 11, 2024, at 12:25 AM, Ms. Lively replied to Ms.

 Gianetti: “This was a horrifying shoot. And the only way for me to make peace with that was the

 work and the success of the film. And EVERYONE rallied behind that in the end and I’m so

 grateful for everyone’s hard work, yours included. I couldn’t be happier with how it turned out,

 the film, and the reception.”




              285.      Also on August 11, 2024, Ms. Lively received a message from another cast

 member making observations regarding the evident smear campaign against Ms. Lively and the



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 cast was “insane.” Ms. Lively responded, “Yeah. I am legitimately depressed and heartbroken.

 Like in an immense amount of pain. I’m sorry it’s being aimed at all of us. You included.”

                286.      On that same day, Ms. Lively reached out to the Film’s screenwriter, Christy

 Hall, after she was questioned about an impromptu comment Ms. Lively made about Mr.

 Reynolds’ input on the rooftop scene in the Film. 44 Ms. Lively expressed a heartfelt apology that

 her comment resulted in questions to Ms. Hall, which Ms. Hall graciously accepted, sharing that

 she did not take Ms. Lively’s comment personally. At this same time, Mr. Baldoni and Mr.

 Sarowitz were scheming with their crisis PR team to find a way to exploit this moment to “flip the

 narrative” and paint Mr. Reynolds as anti-feminist.




 44
    See, e.g., Benjamin VanHoose & Julia Moore, Blake Lively Says ‘Nobody Knows’ Ryan Reynolds Wrote a Scene in
 It Ends With Us as Screenwriter Weighs In, People (Aug. 8, 2024), https://people.com/blake-lively-ryan-reynolds-
 wrote-scene-it-ends-with-us-8692864.

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               287.       On August 12, 2024, a female cast member texted Ms. Lively concerned

 about online commentary, and asked what could be done to stop all the negative comments.

               288.       On August 13, 2024, another female cast member sent Ms. Lively an article

 reporting that “Justin Baldoni has hired veteran PR crisis manager Melissa Nathan amid the release

 of ‘IT ENDS WITH US.’” Ms. Lively’s response was “Yeah. The truth always comes out as

 painful as it is to wait.”

               289.       On August 14, 2024, the same cast member texted Ms. Lively to ask about

 her wellbeing and to express her concern and respect for Ms. Lively. Later, that cast member

 expressed regret at what Ms. Lively was going through.

               290.       On August 15, 2024, another female cast member wrote to Ms. Lively about

 the online bullying that cast member also was receiving as a result of being associated with Ms.

 Lively, and asking Ms. Lively who to ask for help to have it stop because it was becoming difficult

 to cope with the onslaught. The next day, Ms. Lively commented in a text message to the cast

 member that “It’s bullshit about all of us. We know who we are. It’s why it hurts so much. Because

 we feel and we’re not evil sociopaths,” to which the cast member responded in agreement.

               291.       On August 15, 2024, another female cast member wrote to Ms. Lively about

 the online bullying that cast member also was receiving as a result of being associated with Ms.

 Lively, and asking Ms. Lively who to ask for help to have it stop because it was becoming difficult

 to cope with the onslaught. The next day, Ms. Lively commented in a text message to the cast

 member that “It’s bullshit about all of us. We know who we are. It’s why it hurts so much. Because

 we feel and we’re not evil sociopaths,” to which the cast member responded in agreement.

               292.       On August 18, 2024, Ms. Lively observed that the online hatred and targeted

 against her was “incessant. And getting worse.” She continued: “everyone’s sort of in shock and

 no one wants to be the first to hit it head on. So it just gets worse.” Ms. Lively noted that, at this

 point, she was staying off of social media given how ugly it had become.

               293.       As this onslaught continued, Ms. Lively was deeply disappointed that
 neither Wayfarer nor Sony had stepped in to correct the record. On September 4, 2024, she


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 received a text from a Sony Executive “checking in on” her and asking how she was doing. Ms.

 Lively responded: “I’m not in a good place. This has been deeply painful and I feel so hung out

 to dry. From production to this PR crisis. No one stepped forward. I wish so much that I was

 ok. But I’m really not.” That Executive said, “I know it’s been hard and horrendously unfair, and

 I hope soon you can better take in the incredible film you made that audiences love around the

 world. It’s so rare this happens and you did that. You also will have 330m$ worth of eye balls

 watching a film about domestic violence- that is so important and affected so many lives for the

 better. That’s because of you!”

         F.       The Defendants and Their Agents Continue to Perpetrate Their Retaliation
                  Campaign against Ms. Lively.

                294.      Ms. Lively exhausted jurisdictional prerequisites to filing this lawsuit by

 timely filing a complaint regarding the behaviors identified herein with the California Civil Rights

 Department on December 20, 2024 and thereafter sent a Cease and Desist letter to the Wayfarer

 Parties. By the next morning, rather than replying to Ms. Lively’s attorneys, the Defendant’s

 attorney, Bryan Freeman, made defamatory on-the-record statements about Ms. Lively to the

 media, and numerous articles reporting on Mr. Freedman’s statements referenced specific details

 in Ms. Lively’s CRD Complaint.

                295.      In response to the CRD Complaint, Mr. Baldoni’s team admitted to reveling

 in shaping stories about Ms. Lively. On December 22, 2024, after Ms. Lively’s CRD Complaint

 was leaked to the press, Ms. Abel posted to a PR and Marketing group on Meta to “defend” herself

 among her peers. Stunningly, even while attempting to deny Ms. Lively’s allegations, Ms. Abel

 conceded the retaliatory nature and intent of the “campaign,” stating that Wayfarer, Mr. Baldoni,

 and the larger team had “prepared for”—that is, conspired to perpetrate—a smear campaign,

 including negative press and a social combat plan, and had further been prepared to take “over the

 top” steps “to protect” Mr. Baldoni.45


 45
   Josh Dickey, Publicist for Justin Baldoni Denies Blake Lively Smear Campaign: ‘The Internet Did the Work for
 Us’, TheWrap (Dec. 23, 2024), https://www.thewrap.com/justin-baldoni-publicist-blake-lively-jennifer-abel-smear-
 campaign-ends-with-us/.

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               296.     Further, since receiving such notice of the CRD Complaint, on information

 and belief, Wayfarer, Mr. Baldoni, Mr. Heath and their associates ramped up their retaliation

 campaign against Ms. Lively, continuing their efforts to “bury” and “destroy” her to this date.

 Deploying the same ‘flood the zone’ tactics to “overwhelm” the process and “confuse[] people,”

 Defendants, and their agents acting at their direction, have pursued a highly public, media blitz

 and litigation strategy to attempt to discredit Ms. Lively and Mr. Reynolds, along with Ms. Lively’s

 long-time publicist, Disney, The New York Times, and others.

               297.     A relentless media influence and “digital manipulation” strategy remains at

 the heart of Defendants’ campaign. As before, Defendants have directly engaged with media

 platforms to overwhelm and confuse the public’s understanding of Ms. Lively’s allegations, and

 to drive negative sentiment against Ms. Lively and anyone who supports her or speaks out against

 Mr. Baldoni. Defendants’ strategy is to convince the public that it is Ms. Lively, rather than Mr.

 Baldoni—i.e., the co-founder, co-producer, and director of the Film, backed by a billionaire who

 has pledged to spend $100 million on his behalf—who is the bully perpetrating a media smear

 campaign.

               298.     Much of this phase of the campaign has taken place in the form of

 statements by Defendants’ lawyer, Mr. Freedman, who regularly issues inflammatory content to

 media outlets, appearing on any show that will have him including those hosted by his own clients,

 and saying anything, whether true or false, that will harm Ms. Lively’s credibility and intimidate

 others from speaking up on her behalf. Those statements, which have been circulated and viewed

 millions of times, constitute defamation, as well as continued retaliation against Ms. Lively for

 engaging in the protected activity of speaking up and bringing legal claims against Mr. Baldoni.

               299.     Mr. Freedman’s statements to the press outside of court proceedings

 include, inter alia:

               (a)      “Blake and her legal team have just one heinous pivot left, and that is to

 double down on the revoltingly false sexual allegations against Mr. Baldoni. . . . We will not only
 continue to defend our clients against Blake’s power, privilege and all out lies, but we will now


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 fight even harder for the voiceless in the DV community who are unfairly suffering while she

 continues to push on her own self-serving and selfish vendetta in the media.”46

                (b)        “It is shameful that Ms. Lively and her representatives would make such

 serious and categorically false accusations against Mr. Baldoni, Wayfarer Studios and its

 representatives, as yet another desperate attempt to ‘fix’ her negative reputation... [Ms. Lively’s]

 claims are completely false, outrageous and intentionally salacious with an intent to publicly hurt

 and rehash a narrative in the media. . . .”47

                (c)        “TAG PR operated as any other crisis management firm would when hired

 by a client experiencing threats by two extremely powerful people with unlimited resources.”48

                (d)        “In this vicious smear campaign fully orchestrated by Blake Lively and her

 team, the New York Times cowered to the wants and whims of two powerful ‘untouchable’

 Hollywood elites . . . . In doing so, they pre-determined the outcome of their story, and aided and

 abetted their own devastating PR smear campaign[.]”49

                (e)        Ms. Lively acted with the “sole intent to ruin the lives of innocent

 individuals, and then went the extra mile to place blame on a fictitious smear campaign[.]”50
                (f)        Ms. Lively’s sexual harassment and retaliation Complaint has “devastat[ed]

 the entirety of the domestic violence community.”51



 46
    See Dominic Patten, Justin Baldoni’s Lawyer Decries “Revoltingly False Sexual Allegations” From Blake Lively
 As Lawsuits Fly; Brands At Business Heart Of Dispute, Deadline (January 18, 2025, 5:44 PM),
 https://deadline.com/2025/01/blake-lively-justin-baldoni-lawyer-latest-1236260673/.
 47
    See Read the Statement: Statement to The New York Times from Bryan Freedman, attorney for Justin Baldoni,
 Wayfarer Studios and all its representatives, N.Y. Times (December 21, 2024),
 https://www.nytimes.com/interactive/2024/12/21/us/statement-to-the-newyork-times.html.
 48
    See James Hibberd, Justin Baldoni’s Publicist Breaks Silence, Defends Leaked Texts About Blake Lively, The
 Hollywood Reporter (December 23, 2024, 12:10 PM), https://www.hollywoodreporter.com/movies/movienews/
 justin-baldoni-blake-lively-jennifer-abel-leaked-texts-1236093044/.
 49
    See Pamela Avila, Justin Baldoni files $250M lawsuit against New York Times over Blake Lively claims, USA
 Today (January 2, 2025, 7:25 PM),
 https://www.usatoday.com/story/entertainment/celebrities/2024/12/31/justinbaldoni-sues-new-york-times-blake-
 lively-accusations/77364901007/.
 50
    See BreAnna Bell, Justin Baldoni’s lawyer says he won’t be ‘bullied’into silence by ‘petrified’Blake Lively, Ryan
 Reynolds after gag order request, Page Six (Jan. 25, 2025, 4:45 PM), https://pagesix.com/2025/01/25/celebrity-
 news/justin-baldonislawyer-says-he-wont-be-bullied-into-silence-by-petrified-blake-lively-ryan-reynolds-after-gag-
 order-request/.
 51
    Id.

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                (g)        “[Ms. Lively] used these allegations of sexual harassment, and she used

 these allegations of bullying to try and leverage her position so that she could be the de facto

 director in this case.” 52

                (h)        “Ms. Lively and her team attempted to bulldoze reputations and livelihoods

 for heinously selfish reasons[.]”53

                300.       On information and belief, Defendants approved and authorized Mr.

 Freedman to publish the above-quoted statements as their agent, and Mr. Freedman would not

 have published the statements but for their approval and authorization. Mr. Freedman remains the

 lead attorney for all Defendants in this action, and no Defendant has issued any retraction or

 expressed disapproval of any of Mr. Freedman’s public statements.

                301.       The statements above were published with actual malice, because

 Defendants know that the core narrative advanced by Mr. Freedman—that Ms. Lively fabricated

 made up sexual harassment claims to seize control of the Film—is false. As conveyed in a text

 exchange on August 30, 2024, Mr. Baldoni and Ms. Nathan both have never doubted the sincerity

 of Ms. Lively’s beliefs regarding what happened on set. In their own damning words: “I just know

 her personality and this is the kind of person that genuinely believes she’s right and that all of

 this is unjust.” Ms. Nathan responded: “She fully does. I know it.”

                302.       These overtly retaliatory, misleading, and in many cases, false, statements

 regarding Ms. Lively have been accompanied by Defendants’ continuing pervasive conduct in

 conferring with “friendly” media sources to ferret their narrative into the public.

                303.       Additionally, as before, Defendants have continued to pursue their

 “untraceable” digital social media manipulation campaign designed to impact social media

 algorithms against Ms. Lively. On information and belief, these efforts have continued and

 52
    See Meg Storm, Exclusive: See Justin Baldoni’s Text Messages with His ‘It Ends with Us’ Editors from Blake
 Lively Lawsuit, THE MEGYN KELLY SHOW (Jan. 7, 2025), https://www.megynkelly.com/2025/01/07/justin-baldoni-
 text-
 messages-with-it-ends-with-us-editors-about-blake-lively/.
 53
    See Tommy McArdle & Elizabeth Rosner, Justin Baldoni Sues Blake Lively and Ryan Reynolds for $400 Million
 Alleging Defamation, Extortion over It Ends With Us, PEOPLE (Jan. 16, 2025, 2:32 PM), https://people.com/justin-
 baldoni-sues-blake-lively-ryan-reynolds-8768821.

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 accelerated since Ms. Lively’s administrative complaint and subsequent federal lawsuit were filed.

              304.      Defendants have further pursued their public strategy through frivolous

 litigation designed to create press attention, intimidate others from coming forward, and pressure

 Ms. Lively to give up her claims. Defendants’ counsel threatened to file numerous lawsuits to sue

 Ms. Lively and others “into oblivion,” with the intent and effect of intimidating others with

 information about Wayfarer from speaking up.

              305.      Defendants have since proceeded to file multiple lawsuits in three

 jurisdictions with outsized damages assertions in each, including $400 million in the affirmative

 suit by Mr. Baldoni and Wayfarer in the Southern District of New York, $250 million against The

 New York Times, and $7 million by Mr. Wallace and his company in Texas. These lawsuits consist

 of: (a) Wayfarer Studios LLC et al. v. Lively et al., U.S. District Court for the Southern District of

 New York (Case No. 1:25-cv-00449-LJL); (b) Wayfarer Studios LLC et al. v. The New York Times

 Company, Superior Court of California, County of Los Angeles (Case No. 24STCV34662), which

 Defendants later dismissed in light of their suit against The New York Times in the consolidated

 case; and (c) Jed Wallace et al. v. Lively, United States District Court for the Western District of

 Texas (Case No. 25-163-DAE). In keeping with the “reverse victim offender” approach,

 Defendants’ suits echo many of the claims made by Ms. Lively against them, but with allegations

 fixating heavily on Ms. Lively’s supposed motive for her allegations: wresting creative control of

 the Film from Mr. Baldoni.

              306.      Defendants’ course of conduct in their numerous retaliatory lawsuits to date

 has been rife with gamesmanship, retaliation, and harassment, including in matters as seemingly

 inconsequential as service. For instance, when Ms. Lively filed her complaint, her counsel reached

 out to Mr. Freedman (as provided for under the Federal Rules of Civil Procedure) to ask whether

 he would agree to accept service of the complaint by email. Doing so is a standard way of avoiding

 the time and expense of attempting to effectuate personal service on parties to litigation (it avoids

 sending a process server to an individual’s home or office, which can be time consuming,
 expensive, and embarrassing for the served individual). Mr. Freedman refused to accept service in


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 this manner, which meant that Ms. Lively was obligated to attempt to serve each Defendant

 personally. Once Ms. Lively did so, again because Mr. Freedman refused to accept the offer to

 handle service in a less intrusive manner, Defendants then used that opportunity to plant

 misleading stories in the press, criticizing entirely standard service attempts and timing (that

 Defendants could have avoided if they had wanted to) as “beyond despicable,” a “desperate act

 of ego and privilege,” and “a new, unforgivable low for Ms. Lively.”54

                307.       Similarly, before filing this Amended Complaint, Ms. Lively attempted to

 depose Wallace in Texas to investigate the nature and scope of Wallace’s role in implementing

 and carrying out the campaign against her. Mr. Wallace repeatedly evaded and obstructed Lively’s

 persistent efforts to serve him. Worse, Mr. Wallace’s counsel made blatant misrepresentations

 during Lively’s efforts to serve him—first agreeing to accept service and later denying such

 statements were made and refusing to comply with alternative methods of service. On January 23,

 2025, the process server received a text message from an associate at Liner Freedman Taitelman

 + Cooley LLP stating: “The law firm Liner Freedman Taitelman + Cooley LLP will accept service

 for him. Do not try to serve him again. Thank you.” Yet Mr. Freedman later claimed that “my

 office never agreed to accept service of process of anything” and thereafter denied any arrangement

 to accept service. After purposefully dodging service for more than a week and failing to take

 responsibility for his actions, on February 4, 2025, Mr. Wallace filed a plainly retaliatory lawsuit

 against Ms. Lively in Texas.

                308.       While refusing to accept service and weaponizing the results of such

 refusals, counsel for Mr. Wallace additionally insisted upon pursuing in-person service of Ms.

 Lively even though her counsel accepted service and filed a waiver of service on February 7, 2025.

 Mr. Wallace’s counsel continued to threaten to pursue Ms. Lively with personal service (even

 though she had accepted service already) unless Ms. Lively’s counsel agreed to accept his


 54
   See Emma Powell, Blake Lively’s wildfire help came as her lawyers brought legal action against Justin Baldoni’s
 team while fires ravaged their homes, Daily Mail (Jan. 10, 2025, 11:32 AM),
 https://www.dailymail.co.uk/tvshowbiz/article-14270853/blake-lively-Los-Angeles-fires-Justin-Baldoni-
 lawsuit.html.

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 unwarranted demands, including one fraudulent attempt to gain access to Ms. Lively’s property

 by falsely representing that the process server worked for a food delivery service.

                309.      The insistence on harassing Ms. Lively and her family with attempts to

 effectuate personal service has continued notwithstanding that Plaintiffs’ prior attempts at service

 on the evening of January 18, 2025, resulted in one of Ms. Lively and Mr. Reynolds’ employees

 (who is not a party to this action) being followed to the residence in which she was staying by an

 unknown vehicle with its headlights turned off down a dark road late at night, resulting in the filing

 a police report.

                310.      Defendants have weaponized the litigation to further their campaign

 narrative in other ways as well. For example, Defendants created a website entitled

 “thelawsuitinfo.com” on which they have posted their filings that include annotated text messages

 and a winding, self-serving chronology from prior to the Film’s production through the filing of

 Ms. Lively’s complaint. Despite repeatedly accusing Ms. Lively of cherry-picking evidence,

 Defendants never had any intention of posting “every single text message, every single document,

 everything on a website for everyone in the public to read,” instead, the website contains only a

 selection of self-serving materials that advance Defendants’ narrative.55

                311.      On information and belief, Defendants’ counsel has threatened numerous

 third party witnesses, journalists, media entities, and others with lawsuits if they speak out against

 or publish unfavorable information about Mr. Baldoni or any other Defendant. At the same time,

 on information and belief, Defendants have continued to push negative and derogatory content

 about Ms. Lively and her family to content creators, journalists, and others.

                312.      In sum, Defendants’ retaliation continues, unapologetic and unabated, using

 the very same playbook Defendants assembled and have relied on since at least May 2024.




 55
   See Meg Storm, Exclusive: See Justin Baldoni’s Text Messages with His ‘It Ends with Us’Editors from Blake
 Lively Lawsuit, The Megyn Kelly Show (January 7, 2025), https://www.megynkelly.com/2025/01/07/justin-
 baldonitext-
 messages-with-it-ends-with-us-editors-about-blake-lively/.

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         G. Mr. Baldoni Retaliated Because HR Complaints Regarding His Behavior
            Threatened His Feminist Brand.

                313.      On information and belief, Mr. Baldoni was desperate to suppress any

 suggestion that he engaged in inappropriate conduct, much less sexually harassing conduct,

 because it would entirely undermine his carefully curated public image as a feminist ally.

                314.      In 2017, Mr. Baldoni presented a Ted Talk entitled, “Why I’m Done Trying

 to be ‘Man Enough.’” Mr. Baldoni challenged men to “be man enough to stand up to other men

 when [they] hear ‘locker room talk,’ when [they] hear stories of sexual harassment.”56 Mr. Baldoni

 asked listeners, “will you actually stand up and do something so that one day we don’t have to

 live in a world where a woman has to risk everything and come forward to say the words ‘me

 too?’”57

                315.      During the TED Talk, Mr. Baldoni displayed numerous screenshots of

 media coverage of himself, from various sources, as examples of his decision to use his “social

 platform as a kind of this Trojan horse wherein [he] could create a daily practice of authenticity

 and vulnerability.” Mr. Baldoni then claimed “[t]he response has been incredible. It’s been

 affirming, it’s been heartwarming. I get tons of love and press and positive messages daily.”58




 56
    Pangambam S, Justin Baldoni: Why I’m Done Trying to Be “Man Enough” (Transcript), The Singju Post (Jan. 16,
 2018, 4:45), https://singjupost.com/justin-baldoni-why-im-done-trying-to-be-man-enough-transcript/?singlepage=1.
 57
    Id. (emphasis added).
 58
     Justin Baldoni, Why I’m Done Trying to be “Man Enough,” TED, at 8:10–8:28 (Nov. 2017),
 https://www.ted.com/talks/justin_baldoni_why_i_m_done_trying_to_be_man_enough?subtitle=en.

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                316.        Around the same time of that TED Talk in 2017, Mr. Baldoni announced

 the launch of a male talk show through his media company, Wayfarer Entertainment, called Man

 Enough. Through that show, Mr. Baldoni sought to have “public conversations on camera that [he]

 had never seen men have.”59

                317.        In one episode of his show, Man Enough, Mr. Baldoni hosted a round table

 with “really strong men,” including Mr. Heath and others, in reaction to the #MeToo movement—

 to “collectively learn from each other, from experts, and hear firsthand from women and try to

 figure out how we can be better allies in our responses and in our actions.”60 In the episode, Mr.

 Baldoni questions the group, “Who at this table has seen something and didn’t say anything . . . I

 mean objectification, harassment, and then not said anything?”61

                318.        In 2021, the Man Enough franchise added a podcast, also produced by

 Wayfarer Studios.62 The Man Enough podcast has featured episodes entitled, “Strength in Unity:

 Men Supporting Women In Leadership,” “From Misogyny’s Victim To Male Privilege . . .,” and

 “Modern Dating: Consent, Boundaries And Respect.”63

                319.        Mr. Baldoni stated in his 2017 TED Talk, men “are the problem” they

 created the “glass ceiling”;64 and if they want “to be part of the solution, then words are no longer
 enough.”65 By Mr. Baldoni’s account, he became a “feminist fighting for gender equality . . . so

 quickly that [he] hadn’t even realized that’s what [he] was or was trying to do.”66


 59
    Justin Baldoni, Man Enough: Undefining My Masculinity, HARPERONE (2021) at 8; see also Man Enough, IMDB,
 https://www.imdb.com/title/tt7754654/ (last visited Dec. 31, 2024).
 60
    Jamie Primeau, Justin Baldoni Knows The Most Important Way For Men To Be Better #MeToo Allies Is To Listen,
 Bustle     (July     24,     2018),    https://www.bustle.com/p/justin-baldonis-man-enough-features-a-candid-metoo-
 conversation-about-how-men-can-be-better-allies-9857238.
 61
          Man         Enough,         YouTube,        at     12:35         –        12:45     (July      26,     2018),
 https://www.youtube.com/watch?v=i21xmCbd8iw&t=1070.
 62
    Justin Baldoni, Liz Plank, and Jamey Heath, The Man Enough Podcase Premiere, YouTube (June 21, 2021),
 https://www.youtube.com/watch?v=EFEEm9DEy6w#:~:text=New%20episode%20of%20The%20%23ManEnough
 Podcast%20every%20Monday%2C,Premiere%20episode%20with%20Karamo%20Brown%20out%20now.
 63
    Episode Pages, The Man Enough Podcast https://manenough.com/podcast/ (last visited Dec. 31, 2024).
 64
    See Justin Baldoni, supra n. 33 at 15:45–15:51. Regarding the “glass ceiling,” in a recent interview, Mr. Baldoni
 stated that “[d]irecting is a very lonely job” because he was “at the top of the totem pole”—all without acknowledging
 that Ms. Lively’s cut of It Ends With Us was released, not his. See How to Fail With Elizabeth Day, Dec. 3, 2024,
 https://podcasts.apple.com/gb/podcast/how-to-fail-with-elizabeth-day/id1407451189.
 65
    See Justin Baldoni, supra n.33 at 15:52–15:55.
 66
    Justin Baldoni, supra n.34 at 8.

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               320.       In Mr. Baldoni’s own words, his “activism” “starts in the mirror, with an

 audience of one.”67 Mr. Baldoni has stated that he “feel[s] a deep responsibility” to “tear down the

 walls” of “power and privilege”68 and “believe[s] the world needs men to show up, not in big ways,

 but in hundreds and thousands of little ways” to “create a better, more equitable, just world.”69

               321.       Over the past approximately seven years, and as relevant to this Complaint,

 Mr. Baldoni has made the following statements:

               (a)        “Let’s just shut up and finally listen to the women in our lives.”70

               (b)        “And then the other thing men are going to have to start doing now is

 recognizing when they [made women uncomfortable] and didn’t realize it. I think that’s when the

 other side of the ‘Me Too’ movement is ‘I’m Sorry.’”71

               (c)        “Growing up, how many times did I hear ‘bros before hoes?’. . . [H]ow

 demeaning, how sexist . . . We’ve built this system—the opposite of accountability—and now it’s

 time to figure out how, as men, we can break that system, and it starts with showing what a real

 man is. A real man is someone that says, ‘Hey man, we’re still friends, but that’s not cool.’”72

               (d)        “Imagine . . . being sexually assaulted, finally coming forward about this

 traumatic thing that has happened to you . . . and having people acting like you were to blame.”73

               (e)        “[I]t’s important for us men to realize how crucial a role bystanders can play

 in stopping and preventing assault and harassment, how we must be a part of the movement and




 67
    Id. at 24.
 68
    Id. at 1.
 69
    Id. at 24.
 70
    Id. at 11.
 71
    Laurel Pinson, Jane the Virgin’Star Justin Baldoni Wants to End Toxic Masculinity: ’The Glass Ceiling Exists
 Because Men Put It There, GLAMOUR (Dec. 4, 2017), https://www.glamour.com/story/jane-the-virgin-star-justin-
 baldoni-wants-to-end-toxic-masculinity.
 72
    Id.
 73
    Justin Baldoni, Boys Will Be Human: A Get-Real Gut-Check Guide to Becoming the Strongest, Kindest, Bravest
 Person You Can Be, HARPERCOLLINS (2022) at 242–43.

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 call for respect and equality for women, act upon that call to action, and continue to perpetuate

 positive behaviors among ourselves and our communities.”74

                 (f)        “Are you confident enough to listen to the women in your life? To hear their

 ideas and their solutions? To hold their anguish and actually believe them, even if what they’re

 saying is against you? And will you be man enough to stand up to other men when you hear ‘locker

 room talk,’ when you hear stories of sexual harassment? When you hear your boys talking about

 grabbing ass or getting her drunk, will you actually stand up and do something so that one day we

 don't have to live in a world where a woman has to risk everything and come forward to say the

 words ‘me too?’” 75

                 (g)        “All of us have a situation, or a pattern that we need to end the cycle of.”76

                 (h)        “First of all, I want men to stop asking the question, why do women stay. I

 want men to take accountability. I want men to hold other men accountable.”77

                 (i)        “[T]here’s never an excuse, no matter how much trauma a man has, there is

 never an excuse to lay hands and hurt a woman, physically or emotionally. And we have to also

 understand that the majority of domestic violence isn’t physical, these are, the scars are invisible,

 these are things that, you know it’s emotional, it’s gaslighting, it’s all of the various things that so

 many people experience.”78




 74
    Leah Fessler, Actor Justin Baldoni has crucial advice for men who’ve offended women, but still want to be feminists,
 Quartz (Oct. 30, 2018), https://qz.com/work/1408444/hww4-justin-baldoni.
 75
    Dressember, A TEDTALK REVIEW OF JUSTIN BALDONI’S ‘WHY I’m DONE TRYING TO BE MAN ENOUGH’,
 (2017) https://www.dressember.org/blog/justinbaldonitedtalk.
 76
     Justin Baldoni Talks “It Ends with Us” movie adaptation, CBS Mornings, (Aug. 7, 2024),
 https://www.cbsnews.com/video/justin-baldoni-talks-it-ends-with-us-movie-adaptation/.
 77
    Id.
 78
    Justin Baldoni Reflects On Experience Of Directing & Acting In ‘It Ends With Us’, AccessDaily via
 AccessHollywood (Dec. 5, 2024) https://www.accessonline.com/videos/justin-baldoni-reflects-on-
 experience-of-directing-acting-in-it-ends-with-us.

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                (j)        “I think we judge enough women and victims . . . but the real question is,

 why do we keep allowing men to harm . . .”79

                322.       Mr. Baldoni has previously emphasized that “I want men to stop asking the

 question, why do women stay. I want men to take accountability. I want men to hold other men

 accountable.”80 He has warned about the dangers of gaslighting and victim blaming. And yet, his

 own lawyer, Bryan Freedman, responded to Ms. Lively’s complaint in this matter with the

 following: “And Blake Lively if she was sexually harassed to to [sic] such a degree in this in, this

 Film, and in this situation, you know, she wouldn’t have returned to the Film.”81

                323.       In sum, Mr. Baldoni’s years of investment into his public image as an ally

 and fierce advocate for women motivated him to employ extraordinary, cynical, and unlawful

 efforts to “bury” and “destroy” Ms. Lively. Contrary to his carefully cultivated public image as a

 feminist, Mr. Baldoni, enabled by his billionaire friend and co-founder Mr. Sarowitz, has spent the

 last several months and millions of dollars to ruin Ms. Lively and her family because she spoke up

 about Wayfarer’s harassing and disturbing conduct.

         H. Ms. Lively, Her Family, Her Businesses, and Certain Third Parties With
            Knowledge About The Retaliation and Underlying Sexual Harassment Have
            Suffered and Have Been Substantially Harmed By the Wayfarer Parties’ Ongoing
            Conduct.

                324.       While there was considerable online coverage of the Film and Ms.
 Lively leading up to the Film’s nationwide release in U.S. theaters on August 9, 2024, that

 coverage was mostly neutral. Some online discussions referenced an apparent “feud” between the

 cast members, but they included a smaller percentage of negative and positive mentions.

                325.       Soon, however, Ms. Lively and her team became aware of an increase in

 negative media articles and social media coverage about her.


 79
    Id.
 80
      Justin Baldoni Talks “It Ends with Us” movie adaptation, CBS News, (Aug. 7, 2024),
 https://www.cbsnews.com/video/justin-baldoni-talks-it-ends-with-us-movie-adaptation/
 81
    See Meg Storm, Exclusive: See Justin Baldoni’s Text Messages with His ‘It Ends with Us’Editors from Blake Lively
 Lawsuit, The Megyn Kelly Show (January 7, 2025), https://www.megynkelly.com/2025/01/07/justin-baldonitext-
 messages-with-it-ends-with-us-editors-about-blake-lively/.

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                326.        The significant spike in the volume of negative sentiment toward Ms. Lively

 included notable spikes on approximately August 8 and 14, 2024, and continued to trend mostly

 negative for the remainder of 2024. On information and belief, an increased volume of sentiment

 toward Ms. Lively continues to trend vastly negative due to Defendants’ active and continuing

 campaign against Ms. Lively.




          Indeed, as noted above, TAG itself noted a shift due to their efforts as early as August 10,

 2024.

                327.        As of that date, the sentiment towards Ms. Lively turned toxic, with a

 sudden increase in negative comments—including hypersexual content and calls for Ms. Lively to

 “go fuck” herself.82 For example, the following vile posts appeared on X in mid-August 2024


 82
    @pocketsara, X post, https://x.com/pocketsara/status/1824146308707291152, (Aug. 15, 2024) (“Blake Lively is a
 cunt”) @imtotallynotmo1, X, Aug. 15, 2024 (“You’re a piece of shit, genuinely go fuck yourself”);
 FluffyPinkUnicornVII,                                            Reddit                                          post,
 https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,
 (Aug. 14, 2024) (“Bottled blonde + long legs + fake tits - (brains, judgement, & humility) = Blake Lively”);
 KettlebellFetish                                             Reddit                                              post,
 https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,
 (Aug. 14, 2024) (“Even with the nose job, she's such a butterface, great body, hair, but odd face and that body would
 be so easy to dress, just a dream body, and nothing fits right, odd clashing colors, just tacky.”); Creative_Ad9660,
 Reddit                                                                                                           post,
 https://www.reddit.com/r/DListedCommunity/comments/1escnuy/blake_lively_getting_criticized_over_press_tour/,
 (Aug. 15, 2024) (“Boobs Legsly”); @chick36351, X post, (Aug. 16, 2024) (“Well Blake I a bitch.. She always has
 been, nice to see people realize it now… Also WAY too much plastic surgery..”); @Martin275227838, X post,
 https://x.com/LizCrokin/status/1824618500431724917, (Aug. 17, 2024) (“@blakelively is a pedophile supporting
 bully . . .”); @ZuperGoose, X post, (Aug. 17, 2024) (“Liz tag the bitch @blakelively Blake = pedo”);
 @myopinionmyfact, X post, (Aug. 22, 2024) (“… @blakelively YOU ARE SUCH A BITCH! What a horrible rude

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 tagging Ms. Lively:




                                                                                                83



                 328.       Nearly decade-old interviews of Ms. Lively were surfaced, commenting on

 her tone, posture, diction, and language.84

                 329.       Ms. Lively was criticized for how she was marketing the Film (without the

 context, of course, that she was implementing the agreed-upon marketing plan), was repeatedly

 called a “bully,” a “mean girl,” and “controlling,” and was criticized for allegedly marginalizing

 Mr. Baldoni, among many other things.85


 bitch you are. I cannot believe somebody fucked u, made a kid with u, married u and now has to be stuck with your
 bitch ass. OMG LMAO I would run!”).
 83
    @Kopperhead55, X Post, (Aug. 16, 2024); @myopinionmyfact, X Post, (Aug. 22, 2024).
 84
    Beth Shilliday, Blake Lively Taking a Social Media Break After Being Labeled a ‘Mean Girl’Amid ‘It Ends With
 Us’Backlash, Yahoo Entertainment (Sept. 5, 2024, 8:04) https://www.yahoo.com/entertainment/blake-lively-taking-
 social-media-120424507.html (discussing 2016 interview of Blake Lively by Kjersti Flaa in which B. Lively
 “snarked” at Ms. Flaa); Francesca Bacardi, Page Six, Blake Lively once snapped at reporter for asking about Penn
 Badgley romance: ‘I thought you were supposed to be classy’(Aug. 19, 2024, 12:02)
 https://pagesix.com/2024/08/19/entertainment/blake-lively-snapped-at-reporter-for-asking-about-penn-badgley/
 (referring to 2008 interview); Gabi Duncan, Blake Lively called out again for repeatedly using
 ‘problematic’transgender slur in resurfaced interviews, Page Six, (Aug. 18, 2024, 10:27)
 https://pagesix.com/2024/08/18/entertainment/blake-lively-called-out-for-repeatedly-using-transgender-slur/
 (discussing 2012 interview); Marina Urman, Blake Lively Under Fire Again For Using Transgender Slur In Multiple
 Resurfaced Interviews, BoredPanda, (Aug. 19, 2024, 7:21) https://www.aol.com/blake-lively-under-fire-again-
 142116217.html (discussing 2008, 2012, 2009, and 2016 interviews).
 85
    Jessica Green and Alanah Khosla, How Blake Lively keeps getting it wrong: Ryan Reynolds’wife is criticised for
 glossing over domestic violence during press for It Ends With Us amid ‘rift’with director - and its just the latest in a
 string of controversies for the star, Dailymail.com (Aug. 15, 2024), https://www.dailymail.co.uk/femail/article-
 13742675/How-Blake-Lively-keeps-getting-wrong-slammed-glossing-domestic-violence-Ends-Us.html;                    Perez
 Hilton, Blake Lively Was ‘Effortlessly Rude’On It Ends With Us Set, Says Insider, But Justin Baldoni Was Problematic
 Too! (Aug. 19, 2024 ) https://perezhilton.com/blake-lively-effortlessly-rude-it-ends-with-us-set-justin-baldoni-

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                 330.        On information and belief, the Wayfarer team seeded social media content

 with content creators, on online chat sites like Reddit, and into publications with small audiences

 and lax editorial standards; the team would then “amplify” that content by sharing them with

 publications like Page Six, The Daily Mail, Newsweek, NY Post, TMZ, and BuzzFeed. These

 publications have larger audiences and greater reach, which significantly increased the negative

 sentiment toward Ms. Lively. Content from low-influence sites was often linked or referenced in

 articles on these high-influence platforms.

                 331.        The “social manipulation” campaign engineered by Mr. Baldoni and

 Wayfarer helped create and sustain a negative news cycle and social media algorithm around Ms.

 Lively.




 problematic/ (“I got this impression from Justin that he was just really, really stressed and fatigued about this constant
 inability to control the project he was making… so much so that when you’d ask him questions, he’d be like, ‘Well
 just ask Blake’… because when Blake got there she would have a lot of really strong thoughts and feelings.”); Riley
 Cardoza , Jana Kramer reacts to Blake Lively’s domestic violence comments, insists ‘it does define you’, Page Six,
 (Aug. 26, 2024) https://pagesix.com/2024/08/26/celebrity-news/jana-kramer-reacts-to-blake-livelys-dv-comments-it-
 does-define-you/ (“Lively, notably, has been slammed by social media users for marketing her Blake Brown haircare
 and Betty Buzz alcohol brand while promoting the movie.”); Kirsty Mccormack, Meghan McCain slams
 ‘insensitive’and ‘strange’Blake Lively over It Ends With Us controversy: ‘I don’t understand why she’s famous’,
 DailyMail.com, (Aug. 22, 2024, 11:57) https://www.dailymail.co.uk/femail/article-13769327/meghan-mccain-slams-
 blake-lively-strange-insensitive-ends-drama.html; Giovana Gelhorn, Blake Lively & Justin Baldoni’s Reported On-
 Set Clash Shows How Their Feud Really Began, SHEKNOWS (Aug. 15, 2024, 11:55)
 https://www.sheknows.com/entertainment/articles/3082123/blake-lively-justin-baldoni-feud-beginnings/ (“[Lively]
 wasn’t engaged in the filming process and wanted to get out of shooting the moment she could.”); Laura Collins, The
 REAL reason why Blake Lively and Justin Baldoni’s It Ends With Us feud has upended plans for sequel,
 DailyMail.com, (Aug. 22, 2024) https://www.dailymail.co.uk/tvshowbiz/article-13766111/Blake-Lively-Justin-
 Baldoni-feud-upends-sequel.html.

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             332.      The online narrative continues to trend more negatively when compared

 with other weeks and months prior to the social manipulation campaign, as reflected in the

 sentiment chart dating from the publicity event on June 13, 2024 through the date the CRD

 Complaint was filed. On information and belief, the online narrative toward Ms. Lively continues

 to trend vastly negative due to Defendants’ active and continuing campaign against Ms. Lively.




             333.      As referenced above, by August 14, 2024, Ms. Lively and certain of her

 friends and colleagues had observed what was happening online, and Ms. Lively received many

 incoming text messages inquiring about her well-being.

             334.      The devastation to Ms. Lively’s reputation continued through the end of

 2024 and into 2025, with negativity spiking in early August 2024 and December 2024, including

 and notably on X and Reddit.




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                335.      Online vitriol towards Ms. Lively has continued unabated. For example, on

 January 31, 2025, Ms. Lively’s personal Instagram—on which she has nearly 45 million follows—

 was inundated with pornographic content tagging her account profile handle. In an article titled

 Blake Lively Instagram Flooded With Porn Amid Baldoni War, TMZ reported that “Blake

 Lively has been targeted with a massive troll campaign amid her legal war with Justin Baldoni . .

 . her Instagram profile is flooded with porn.”86 Meta responded publicly by stating: ”This kind of

 online harassment is wrong and we condemn it. We are removing the content that violates our

 policies and will continue to monitor for additional violating posts.”87

                336.      On February 4, 2025, Amazon Prime Video announced on social media—

 via collaboration with the film’s director, Ms. Lively, and others—the upcoming release of their

 new movie. The announcement immediately faced a steady stream of comments repeating the false

 and harmful statements invented and perpetuated in the smear campaign financed by Mr. Sarowitz

 and executed by Defendants. These actions were designed to damage the success of Ms. Lively’s

 new film, which effects not only Ms. Lively, but the other cast and crew, as well as the distributors

 of the film. Some comments include:




                                                                                               88




 86
    TMZ Staff, Blake Lively's Instagram Trolled With Flood of Porn Amid Baldoni Legal War, (Jan. 31, 2025),
 https://www.tmz.com/2025/01/31/blake-lively-instagram-trolled-with-a-flood-of-porn-amid-baldoni-legal-war/.
 87
    Id.
 88
     @zaya_dodigor, Instagram comment, https://www.instagram.com/p/DFqhOqZRc3z/.

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               337.       Social media posts in February 2025 reflect the same, for example:




                                                                                            92




 89
    @zeyneb.tezel, Instagram comment, https://www.instagram.com/p/DFqhOqZRc3z/.
 90
    @aussie_lillie, Instagram comment, https://www.instagram.com/p/DFqhOqZRc3z/.
 91
    @esme_pia, Instagram comment, https://www.instagram.com/p/DFqhOqZRc3z/.
 92
    @Craig37457602, X post, https://x.com/Craig37457602/status/1885881904370479554, (Feb. 1, 2025).

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 93
    @Fiorelom, X post, https://x.com/Fiorelom/status/1886077210492015026, (Feb. 2, 2025).
 94
    @212chirp, X post, https://x.com/212chirp/status/1887482803874636254, (Feb. 6, 2025).
 95
    @Jellysgirl17, X post, https://x.com/Jellysgirl17/status/1889137135363444834, (Feb. 10, 2025).

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                   338.      This vitriol and violence is unlike anything Ms. Lively has experienced in

 her twenty-year career. At no point until the initiation of Defendants’ campaign had Ms. Lively or

 her family experienced anything remotely like the above. The sentiments expressed above are the

 terrifying results of the money, time, and human resources Defendants have poured into creating

 an environment of hatred against Ms. Lively and her family.

                   339.      This campaign has been devasting to Ms. Lively, including by causing

 substantial harm to Ms. Lively, her family, as well as her businesses and all the people who work

 at each of them. Unlike Wayfarer and Mr. Baldoni, Ms. Lively has been precluded from not only

 experiencing the success of the Film, but also from having the ability to engage further with her

 businesses, fans, and social media followers without immediately triggering an onslaught of

 hateful and violent comments. Instead, Ms. Lively and her family have been forced to contend

 with not only an incessant and wide-reaching negative media campaign, but also violent threats

 against Ms. Lively and many who associate with her.

                   340.      When it became clear that this media blitz was the result of an intentionally

 seeded, cultivated and financed campaign against her, Ms. Lively began to experience mental,

 physical, professional, and financial harms that continue to the present.

                   341.      The effects on Ms. Lively’s professional life were immediate and

 substantial. Given the ongoing nature of the campaign and the associated negative public

 sentiment, Ms. Lively did not believe she could proceed with public appearances or events without

 being forced to openly discuss what happened on set. For example, Ms. Lively cancelled a critical



 96
      @littleorca3456, X post, https://x.com/littleorca3456/status/1889911031151161374, (Feb. 12, 2025).

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 Target corporate event for her haircare company, and felt compelled to decline an invitation to

 host the premier episode of the 50th anniversary season of Saturday Night Live in September 2024.

 She has since turned down other acting and directing opportunities as a result of feeling harassed

 and fearful of further attacks on herself, her family, and her colleagues. She has also canceled

 multiple appearances on behalf of her businesses since December of 2024 because of the constant

 online vitriol directed at her brands.

                342.       The retaliation campaign against Ms. Lively has severely damaged her

 companies. The long-planned launch of her haircare line, Blake Brown—a date which was set

 more than a year prior to the date selected (not by Ms. Lively) for the release of the Film—was

 caught up in the crossfires of the negative environment against Ms. Lively. Initially, before the

 “social manipulation” campaign started, Ms. Lively was informed that Blake Brown was Target’s

 largest haircare launch on record. Based on internal sales projections, the sudden and unexpected

 negative media campaign launched against Ms. Lively depressed retail sales of Blake Brown

 products by 56%–78%. This dramatic drop was completely at odds with the high satisfaction

 scores that Blake Brown products received in the significant consumer testing performed before

 launch or its initial success after launch, and appears to have been caused overwhelmingly, if not

 entirely, by the retaliatory campaign initiated by Defendants.

                343.       Around the same time, the social media accounts for Ms. Lively’s brands—

 including Betty Buzz and Betty Booze—were flooded by hateful comments, which began to echo

 through other social and traditional media outlets. When Ms. Lively limited comments on her

 personal Instagram account to limit the toxic harassment she was receiving, those users simply

 migrated to the social media accounts and websites of Blake Brown, Betty Buzz, and Betty

 Booze.97 Many of the negative comments on these businesses’ social media accounts and websites

 97
    Therese AK, TikTok, https://vm.tiktok.com/ZGeTkjarm/ (Aug. 26, 2024) (“Well now I know what NOT to buy,
 thank you.”); @catherinaartdesign, Blake Brown Beauty Instagram comment, (Aug. 30, 2024) (“Be ashamed! A great
 opportunity was missed to share a great message through the film where it would have made a big difference in many
 lives. Now remember ‘she will make up a story where she is the victim so that others feel empathy for her’”);
 @santerialily, Blake Brown Instagram comment, (Aug. 26, 2024) (“Nobody is going to buy this crap now. Good job
 in ruining your brand before it even started. Nasty mean girls never prosper.”); @hollingsworth1830, Blake Brown
 Instagram comment, (Sept. 5, 2024) (“Ah, no thanks. Why would anyone buy your beauty products? More overpriced

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 had nothing to do with the products or brands, but instead referenced the Film, Mr. Baldoni, and/or

 Ms. Lively as a “bully” or “mean girl.” On information and belief, the astroturfing campaign was

 responsible for this wave of comments.

                344.       For example, posts on Betty Booze’s social media include the following

 messages:

                (a)        “Cancel Blake!”98

                (b)        “Boycott this crap!!!”99

                (c)        “@bettybooze Stunned by the greed and utter lack of human decency,
                           yes.”100

                (d)        “#TeamJustin”101

                (e)        “#justiceforjustin”102

                (f)        “Disgusting, disgusting. You are taking away from women who are actually
                           victims. Shame on you”103

                (g)        “A bully, uptight, backstabbing person that loves to see people suffering so
                           she can feel good. Disgusting.”104

                (h)        “come on bro, everyday they release evidence it’s really getting bad for you.
                           maybe it's not too late to take everything back and apologize. Think about
                           women who are actually victims of sexual assault.”105

                345.       Posts on Blake Brown Beauty’s social media include the following

 messages:




 junk by a vapid and narcissitic [sic] celebrity. I would rather spend my money with someone who can actually care
 about women. Take this crap and your florals and sit on it.”).
 98
    @vikteritoria, Betty Booze Instagram comment, https://www.instagram.com/p/C-
 VPMPlugWs/?igsh=MXg3ejlqYW80eW9hNg==_.
 99
    @alexandra968538. Betty Booze Instagram comment, https://www.instagram.com/p/C-
 VPMPlugWs/?igsh=MXg3ejlqYW80eW9hNg==_.
 100
     @grmbooks, Betty Booze Instagram comment, https://www.instagram.com/p/C-
 VPMPlugWs/?igsh=MXg3ejlqYW80eW9hNg==_.
 101
     @susie142023, Betty Booze Instagram comment, https://www.instagram.com/p/DDpUVxGvnEG/?hl=en.
 102
     @bighoneyababyy, Betty Booze Instagram comment, https://www.instagram.com/p/DDpUVxGvnEG/?hl=en.
 103
     @olivebsbigsky_, Betty Booze Instagram comment, https://www.instagram.com/p/DDpUVxGvnEG/?hl=en. .
 104
     @jeri_style, Betty Booze Instagram comment, https://www.instagram.com/p/DDpUVxGvnEG/?hl=en.
 105
     @khristian_plus4, Betty Booze Instagram comment, https://www.instagram.com/p/DDpUVxGvnEG/?hl=en.

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                 (a)     “Bitchy hair everywhere”106

                 (b)     “Congrats no one is buying”107

                 (c)     “Boycotting”108

                 (d)     “We donÿt support liars Ӌ”109

                 (e)     “Trash. Just like Blake.” 110

               346.      After Defendants launched their campaign, none of Ms. Lively’s businesses

 could operate as they ordinarily had before; instead, the Baldoni-Wayfarer astroturfing campaign

 forced each of Ms. Lively’s businesses to go “dark” on social media in August. Ms. Lively did the
 same, for nearly two months, and during this time was unable to fulfill her obligations as the

 brand’s founder, causing issues with many business partners and customers.

               347.      The emotional impact on Ms. Lively has been extreme, not only affecting

 her, but her family, including her husband and four children. There are days when she has struggled

 to get out of bed, and she frequently chooses not to venture outside in public. While she has fought

 to maintain her personal life and business interests, behind closed doors she has suffered from

 grief, fear, trauma, and extreme anxiety. She also has been experiencing repeated and painful

 physical symptoms as a result of this experience. Mr. Reynolds, too, has been affected mentally,

 physically, and professionally by his wife’s and children’s pain. Worst of all, however, has been

 the impact on their young children, who have been traumatized and emotionally uprooted in ways
 that have substantially impacted their well-being.

               348.      The threats and harassment are not limited to Ms. Lively. Any individual

 with even a tangential connection with the underlying events faces attack, and the inevitable

 emotional consequence of feeling targeted and shamed. As referenced above, other cast members

 106
     @larrymitchelb, Blake Brown Beauty Instagram comment, https://www.instagram.com/blakebrownbeauty/p/C-
 VYeofpqSu/.
 107
     @stevieisabiatch, Blake Brown Beauty Instagram comment, https://www.instagram.com/blakebrownbeauty/p/C-
 VYeofpqSu/.
 108
     @kaf5660, Blake Brown Beauty TikTok comment,
 https://www.tiktok.com/@blakebrownbeauty/video/7401198711189064992.
 109
     @saraf1995, Blake Brown Beauty Instagram comment, https://www.instagram.com/p/DGGjX9eufjb/.
 110
     @3m3rald8, Blake Brown Beauty Instagram comment, https://www.instagram.com/p/DGGjX9eufjb/.

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 have received threats, online harassment, and floods of comments to their social media accounts.

              349.      In the days after January 31, 2025—when the Wayfarer Plaintiffs filed their

 Amended Complaint, including a 100-plus page exhibit replete with full text threads, including

 with third parties—one of the individuals whose texts are excerpted received a written

 communication stating that if the witness did not give a public statement departing from that

 witness’ support of Ms. Lively, the witness’s family would face physical harm and sexual violence.

              350.      These are but a few examples of the substantial harm caused by this

 malicious campaign, which pervaded, and continues to pervade, all aspects of Ms. Lively’s life.

 This terrorizing climate is the result of the retaliatory campaign launched by Defendants, and the

 continued harassment and targeting of innocent bystanders is not an accident or a coincidence.

              351.      Ms. Lively never sought out conflict with Wayfarer, Ms. Baldoni, or Mr.

 Heath, but instead consistently attempted to speak up for a safe and respectful workplace privately

 in the hopes of protecting herself, as well as the cast and crew, without jeopardizing a Film that

 she believed could make a difference in peoples’ lives. In response, Mr. Baldoni, Mr. Heath, and

 those working for them, sought to destroy Ms. Lively and anyone else who might dare to speak

 the truth. Ms. Lively’s discovery of the full extent of the retaliatory campaign launched by the

 Wayfarer parties and their associates, left her with no choice.

              352.      Through the CRD Complaint and this action, Ms. Lively seeks to set the

 record straight, to hold the Defendants accountable, and to shine a light on this new form of

 retaliation so that it will not be used against any others who seek to stand up and speak out against

 sexual harassment or retaliation.

                                 FIRST CAUSE OF ACTION
           (Sexual Harassment in Violation of Title VII – 42 U.S.C. § 2000e-2(a)(1))
                      Against It Ends With Us Movie LLC and Wayfarer

              353.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.
              354.      At all times herein mentioned, Ms. Lively was an employee under Title VII,


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 42 U.S.C. § 2000e(f) and It Ends With Us Movie LLC and Wayfarer were employers and/or joint

 employers under 42 U.S.C. § 2000e(b).

               355.    At all times herein mentioned, Title VII was in full force and effect and was

 fully binding upon Defendants It Ends With Us Movie LLC and Wayfarer as employers or joint

 employers, and applicable to Ms. Lively as member of a group protected by Title VII prohibition

 against discrimination and harassment.

               356.    Ms. Lively’s sex and gender constitute a protected class under Title VII.

               357.    In engaging in the conduct described in this complaint, Defendants It Ends

 With Us Movie LLC and Wayfarer, through Defendants Baldoni and Heath, discriminated against

 Ms. Lively in violation of Title VII by subjecting Ms. Lively to harassment and creating a hostile

 work environment on the basis of her sex/gender. See ¶¶ 73–107.

               358.    The behavior of Defendants Baldoni and Heath, as described in this

 Complaint, was severe or pervasive, such that it created a work environment that a reasonable

 person would perceive, and that Ms. Lively did perceive, to be hostile, intimidating, offensive,

 oppressive, and/or abusive.

               359.    Defendants It Ends With Us Movie LLC and Wayfarer, through Defendants

 Baldoni and Heath, perpetuated this environment by failing to create a workplace in which

 individuals felt comfortable raising concerns regarding harassing and other inappropriate behavior

 on set, including in Wayfarer’s failure to provide Ms. Lively with an employee handbook, sexual

 harassment policy, information or any training on sexual harassment, discrimination or respectful

 workplace expectations, as well as information about the process for filing HR complaints, and

 comments by Defendants Baldoni and Heath undermining HR concerns. See ¶¶ 108–137.

               360.    The conduct by Defendants Baldoni and Heath, including but not limited to

 the conduct described in paragraphs 73–107, above, is in direct violation of Title VII of the Civil

 Rights Act of 1964, as amended, for which Defendants It Ends With Us Movie LLC and Wayfarer

 are liable.
               361.    These actions severely impacted Ms. Lively’s physical, psychological, and


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 emotional well-being by creating an intimidating, hostile and offensive working environment, as

 it would have for any reasonable person, and so altered the terms and conditions of Ms. Lively’s

 employment such that it was more difficult for Ms. Lively to perform her job.

              362.      Defendants It Ends With Us Movie LLC and Wayfarer are liable because

 Defendants Baldoni and Heath, co-own and operate Wayfarer, the sole member of It Ends With

 Us Movie LLC; personally committed the harassing conduct; and were therefore aware of their

 own conduct, and failed to take immediate and appropriate corrective action. Further, Defendants

 Wayfarer and It Ends With Us Movie LLC are strictly liable for the actions of Defendants Baldoni

 and Heath, who were acting in their capacities as Ms. Lively’s supervisors.

              363.      Harassing and retaliatory conduct against harassed Ms. Lively continued in

 various forms throughout 2024 and, on information and belief, is continuing, including a

 coordinated campaign to cast Ms. Lively in a false light, to discredit her in the event that she

 publicly disclosed her concerns about harassment and other unlawful conduct, and to irreparably

 damage Ms. Lively’s career and future earning capabilities. See ¶¶ 192–313.

              364.      As a direct, foreseeable, and proximate result of this unlawful

 discriminatory conduct by Defendants It Ends With Us Movie LLC and Wayfarer, Ms. Lively has

 suffered, and continues to suffer, substantial damages including, but not limited to, severe

 emotional distress and pain, humiliation, embarrassment, belittlement, frustration, and mental

 anguish, and is entitled to an award of punitive damages, in an amount to be determined at trial.

              365.      The conduct described herein by Defendants It Ends With Us Movie LLC

 and Wayfarer, through Defendants Baldoni and Heath, was a motivating factor in causing and

 caused Ms. Lively’s harm.

              366.      Defendants It Ends With Us Movie LLC and Wayfarer intentionally

 violated Ms. Lively’s rights under Title VII, with malice or reckless indifference, and as a result,

 are liable for punitive damages.

                                SECOND CAUSE OF ACTION
                  (Retaliation in Violation of Title VII – 42 U.S.C. § 2000e-3)
                      Against It Ends With Us Movie LLC and Wayfarer

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               367.     Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

               368.     At all times herein mentioned, Ms. Lively was an employee under Title VII,

 42 U.S.C. § 2000e(f) and It Ends With Us Movie LLC and Wayfarer were employers and/or joint

 employers under 42 U.S.C. § 2000e(b).

               369.     At all times herein mentioned, Title VII was in full force and effect and was

 fully binding upon Defendants It Ends With Us Movie LLC and Wayfarer as employers or joint

 employers, and applicable to Ms. Lively as member of a group protected by Title VII prohibition

 against retaliation.

               370.     Specifically, pursuant to 42 U.S.C. § 2000e-3(a), it is an unlawful

 employment practice for an employer to discriminate against an employee because she has

 opposed any practices forbidden under Title VII or because she has filed a complaint against

 conduct prohibited under Title VII, as Ms. Lively did when she complained to Wayfarer, Mr.

 Baldoni, and Mr. Heath about harassing and other unlawful conduct based on sex which occurred

 throughout the Film’s production.

               371.     Ms. Lively engaged in protected activity by complaining to Wayfarer, Mr.

 Baldoni, and Mr. Heath about harassing treatment based on sex and other unlawful conduct on

 multiple occasions during the filming and production of the Film, which Ms. Lively reasonably

 believed to be unlawful. See ¶¶ 108–137.

               372.     After Ms. Lively engaged in such protected activity, Defendants subjected

 Ms. Lively to adverse employment action, including but not limited to by launching a coordinated

 campaign to cast Ms. Lively in a false light during the publicity and promotion of the Film and

 thereafter. See ¶¶182–313. Ms. Lively’s protected activity was the motivating reason for and “but

 for” cause of Defendants’ conduct. This harassing and retaliatory conduct continued in various

 forms throughout 2024, and, on information and belief, is continuing, in order to discredit her in
 the event that she publicly disclosed her concerns about harassment and other unlawful conduct,


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 and to irreparably damage Ms. Lively’s career and future earning capabilities.

              373.      As a direct, foreseeable, and proximate result of the unlawful retaliatory

 actions undertaken by Defendants It Ends With Us Movie LLC and Wayfarer, through the actions

 of Defendants Baldoni, Heath, and Sarowitz and their associates, Ms. Lively has suffered, and

 continues to suffer substantial damages including, but not limited to, severe emotional distress and

 pain, humiliation, embarrassment, belittlement, frustration, and mental anguish, and is entitled to

 an award of punitive damages, in an amount to be determined at trial.

              374.      Defendants It Ends With Us Movie LLC and Wayfarer intentionally

 violated Ms. Lively’s rights under Title VII, with malice or reckless indifference, and as a result,

 are liable for punitive damages.

                                THIRD CAUSE OF ACTION
             (Sexual Harassment in Violation of FEHA – Cal. Gov. Code, § 12940)
               Against It Ends With Us Movie LLC, Wayfarer, Baldoni, and Heath

              375.      Ms. Lively repeats, reiterates, re-alleges and incorporates by reference each

 and every allegation of the Complaint as if fully set forth fully herein.

              376.      At all times herein mentioned, Ms. Lively was employed by and/or

 providing services pursuant to a contract with Defendants It Ends With Us Movie LLC, and its

 managing member, Wayfarer.

              377.      At all times herein mentioned, California’s Fair Employment and Housing

 Act (“FEHA”), Cal. Government Code § 12940 et seq., was in full force and effect and fully

 binding upon Defendants It Ends With Us Movie LLC, Wayfarer, Baldoni and Heath as employers,

 joint employers, or supervisors. Ms. Lively was a member of a group protected by FEHA’s

 prohibition against harassment based on sex/gender.

              378.      Defendants It Ends With Us Movie LLC, Wayfarer, Baldoni and Heath have

 discriminated against Ms. Lively on the basis of her sex/gender, through the actions of Defendants

 Baldoni and Heath, in violation of FEHA by subjecting Ms. Lively to harassment and creating a
 hostile work environment on the basis of her sex/gender. See ¶¶ 73–107.


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              379.      Such harassing conduct, as described in this Complaint, was severe or

 pervasive, such that it created a work environment that a reasonable person would perceive, and

 that Ms. Lively did perceive, to be hostile, intimidating, offensive, oppressive, and/or abusive.

 Defendants’ conduct so altered the working conditions of Ms. Lively, such that it was more

 difficult for Ms. Lively to perform her job, as it would have for any reasonable person.

              380.      Defendants It Ends With Us Movie LLC and Wayfarer are liable because

 Defendants Baldoni and Heath, co-own and operate Wayfarer, the sole member of It Ends With

 Us Movie LLC; personally committed the harassing conduct; and were therefore Wayfarer and It

 Ends With Us Movie LLC knew or should have known of the conduct, and failed to take immediate

 and appropriate corrective action. Further, Wayfarer and It Ends With Us Movie LLC are strictly

 liable for the actions of Defendants Baldoni and Heath, who were acting in their capacities as Ms.

 Lively’s supervisors. See ¶¶ 108–137.

              381.      Defendants’ unlawful conduct was a substantial factor in causing Ms.

 Lively to suffer and continue to suffer substantial losses in earnings, equity, and other employment

 benefits and has incurred other economic losses. See ¶¶ 328–354.

              382.      Defendants’ unlawful conduct was also a substantial factor in causing Ms.

 Lively to suffer emotional distress, shame, and embarrassment all to Ms. Lively’s damage in an

 amount to be proven at time of trial. See ¶¶ 328–354.

              383.      Defendants committed the acts herein despicably, maliciously, fraudulently,

 and oppressively, with the wrongful intention of injuring Ms. Lively, and from an improper and

 evil motive amounting to malice, and in conscious disregard of the rights or safety of Ms. Lively

 and others. Ms. Lively is thus entitled to recover punitive damages from Defendants in an amount

 according to proof.

                                FOURTH CAUSE OF ACTION
                 (Retaliation in Violation of FEHA – Cal. Gov. Code, § 12940)
                       Against It Ends With Us Movie LLC and Wayfarer

              384.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by



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 reference each and every allegation of the Complaint as if fully set forth fully herein.

               385.     At all times herein mentioned, Ms. Lively was employed by and/or

 providing services pursuant to a contract with Defendants It Ends With Us Movie LLC, and its

 managing member, Wayfarer.

                                 FOURTH CAUSE OF ACTION
                  (Retaliation in Violation of FEHA – Cal. Gov. Code, § 12940)
                        Against It Ends With Us Movie LLC and Wayfarer

               386.     Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

               387.     At all times herein mentioned, Ms. Lively was employed by and/or

 providing services pursuant to a contract with Defendants It Ends With Us Movie LLC, and its

 managing member, Wayfarer.

               388.     At all times herein mentioned, FEHA was in full force and effect and was

 fully binding upon Defendants It Ends With Us Movie LLC and Wayfarer as employers or joint

 employers, and applicable to Ms. Lively as member of a group protected by FEHA’s prohibition

 against retaliation.

               389.     Specifically, pursuant to § 12940(h) it is an unlawful employment practice

 for an employer to discriminate against any person because that person has opposed any practices

 forbidden under FEHA or because the person has filed a complaint against conduct prohibited

 under FEHA, as Ms. Lively did when she complained to Wayfarer, Mr. Baldoni, and Mr. Heath

 about harassing and other unlawful conduct based on sex which occurred throughout the Film’s

 production.

               390.     Ms. Lively engaged in protected activity by complaining to Wayfarer, Mr.

 Baldoni, and Mr. Heath about harassing treatment based on sex and other unlawful conduct on

 multiple occasions during the filming and production of the Film, which Ms. Lively reasonably

 believed to be unlawful. See ¶¶ 68–79.
               391.     After Ms. Lively engaged in such protected activity, Defendants subjected



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 Ms. Lively to an adverse employment action, including but not limited to by launching a

 coordinated campaign to cast Ms. Lively in a false light during the publicity and promotion of the

 Film and thereafter. See ¶¶ 115–191, 221. Ms. Lively’s protected activity was a substantial

 motivating reason for Defendants’ conduct.

              392.        As a direct, foreseeable, and proximate result of the unlawful retaliatory

 actions undertaken by Defendants It Ends With Us Movie LLC and Wayfarer, through the actions

 of Defendants Baldoni, Heath, and Sarowitz, Ms. Lively has suffered, and continues to suffer

 substantial damages including, but not limited to, severe emotional distress and pain, humiliation,

 embarrassment, belittlement, frustration, and mental anguish, in an amount to be determined at

 trial. See ¶¶ 202–219.

              393.        Defendants It Ends With Us Movie LLC and Wayfarer committed the acts

 described herein maliciously, fraudulently, and oppressively, with the wrongful intention of

 harming Ms. Lively, in violation of Ms. Lively’s rights under FEHA, and acted in a manner

 warranting punitive damages pursuant to California Civil Code § 3294.

                                 FIFTH CAUSE OF ACTION
     (Retaliation in Violation of the California Labor Code – Cal. Labor Code, § 1102.5)
                       Against It Ends With Us Movie LLC and Wayfarer

              394.        Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

              395.        At all times herein mentioned, California Labor Code § 1102.5 was in full

 force and effect and fully binding upon It Ends With Us Movie LLC and Wayfarer as employers

 or joint employers of Ms. Lively.

              396.        Pursuant to California Labor Code § 1102.5(b) an employer or any person

 acting on behalf of an employer, shall not retaliate against an employee for disclosing information

 to a person with authority over the employee or who has the authority to investigate, discover, or

 correct a violation of law. Section 1102.5(d) additionally prohibits an employer or any person
 acting on behalf of an employer to retaliate against an employee for having exercised their rights


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 under § 1102.5(b), as Ms. Lively did when she complained to Wayfarer, Mr. Baldoni, and Mr.

 Heath about harassing and other unlawful conduct based on sex which occurred throughout the

 Film’s production.

              397.      Ms. Lively engaged in protected activity by complaining to Wayfarer, Mr.

 Baldoni, and Mr. Heath about harassing treatment based on sex and other unlawful conduct on

 multiple occasions during the filming and production of the Film, which Ms. Lively reasonably

 believed to be unlawful. See ¶¶ 68–79.

              398.      After Ms. Lively engaged in such protected activity, Defendants subjected

 Ms. Lively to adverse employment action by launching a coordinated campaign to cast Ms. Lively

 in a false light during the publicity and promotion of the Film, to discredit her in the event that she

 publicly disclosed her concerns about harassment and other unlawful conduct, and to irreparably

 damage Ms. Lively’s career and future earning capabilities in direct retaliation for Ms. Lively’s

 participation in protected activity. See ¶¶ 115–191, 221.

              399.      The unlawful retaliatory actions perpetrated by Defendants It Ends With Us

 Movie LLC and Wayfarer, through the actions of Defendants Baldoni, Heath, and Sarowitz, was

 a substantial factor in causing Ms. Lively to suffer, and continue to suffer substantial damages

 including, but not limited to, severe emotional distress and pain, humiliation, embarrassment,

 belittlement, frustration, and mental anguish, in an amount to be determined at trial. See ¶¶ 202–

 219.

              400.      Defendants It Ends With Us Movie LLC and Wayfarer committed the acts

 described herein maliciously, fraudulently, and oppressively, with the wrongful intention of

 harming Ms. Lively, in violation of Ms. Lively’s rights under California Labor Code § 1102.5, and

 in a manner warranting punitive damages pursuant to California Civil Code § 3294.

                                 SIXTH CAUSE OF ACTION
  (Failure to Investigate, Prevent, and/or Remedy Harassment in Violation of FEHA – Cal.
                                      Gov. Code., § 12940)
                       Against It Ends With Us Movie LLC and Wayfarer




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               401.       Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

               402.       At all times herein mentioned, Ms. Lively was employed by and/or

 providing services pursuant to a contract with Defendants It Ends With Us Movie LLC, and its

 managing member, Wayfarer.

               403.       At all times herein mentioned, FEHA was in full force and effect and was

 fully binding upon It Ends With Us Movie LLC and Wayfarer as employers or joint employers of

 Ms. Lively.

               404.       Specifically, §§ 12940(j)-(k) require employers to take all reasonable steps

 to prevent harassment and makes it an unlawful employment practice for an employer to fail to

 take all reasonable steps necessary to prevent harassment from occurring.

               405.       Ms. Lively was subjected to harassing and other unlawful conduct based on

 sex which occurred throughout the Film’s production. See ¶¶ 42–67. Ms. Lively complained to

 Wayfarer, Mr. Baldoni, and Mr. Heath about the conduct she experienced, but Wayfarer failed to

 take all reasonable steps to prevent the sex-based harassment and retaliation suffered by Ms.

 Lively. See ¶¶ 68–79, 115–191, 221.

               406.       Defendants It Ends With Us Movie LLC and Wayfarer’s failure to take all

 reasonable steps to prevent the unlawful harassment and retaliatory actions perpetrated by their

 co-Defendants, was a substantial factor in causing Ms. Lively to suffer, and continue to suffer

 substantial damages including, but not limited to, severe emotional distress and pain, humiliation,

 embarrassment, belittlement, frustration, and mental anguish, in an amount to be determined at

 trial. See ¶¶ 202–219.

               407.       Defendants It Ends With Us Movie LLC and Wayfarer committed the acts

 described herein maliciously, fraudulently, and oppressively, with the wrongful intention of

 harming Ms. Lively, in violation of Ms. Lively’s rights under FEHA and in a manner warranting

 punitive damages pursuant to California Civil Code § 3294.




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                            SEVENTH CAUSE OF ACTION
   (Aiding and Abetting Harassment and Retaliation in Violation of the FEHA – Cal. Gov.
                                    Code, § 12940(i))
                 Against Nathan, TAG, Abel, Wallace, and Street Relations

               408.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

               409.      At all times herein mentioned, Ms. Lively was employed by and/or

 providing services pursuant to a contract with Defendants It Ends With Us Movie LLC, and its

 managing member, Wayfarer.

               410.      At all times herein mentioned, California’s Fair Employment and Housing

 Act (“FEHA”), Cal. Gov’t Code §§ 12900, et seq., was in full force and effect and was fully

 binding upon the relevant Defendants. Specifically, § 12940(i) makes it unlawful for any person

 “to aid, abet, incite, compel, or coerce the doing of any of the acts forbidden under this part, or to

 attempt to do so.”

               411.      Defendants Nathan, TAG, Abel, Wallace, and Street Relations as

 individuals and entities that are not Ms. Lively’s employer, aided and abetted the discriminatory

 conduct of Defendants It Ends With Us Movie LLC, Wayfarer, Baldoni and Heath, including but

 not limited to by participating in the above-described coordinated “astroturfing” campaign to

 discredit and “bury” Ms. Lively.

               412.      As a direct and proximate result of Defendants’ unlawful discriminatory

 conduct in violation of FEHA, Plaintiff has suffered, and continues to suffer, harm for which she

 is entitled to an award of monetary damages, liquidated damages, interest, and other relief.

               413.      Defendants’ conduct was willful and they knew that their actions

 constituted unlawful violation of the FEHA and/or showed reckless disregard for Ms. Lively’s

 statutorily protected rights.

               414.      Ms. Nathan, TAG, Ms. Abel, Mr. Wallace, and Street Relations

 intentionally violated Ms. Lively’s rights under the California Fair Employment and Housing Act,



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 acting with malice, oppression, and/or fraud. Therefore, Ms. Nathan, TAG, Ms. Abel, Mr. Wallace,

 and Street Relations are liable for punitive damages for the reprehensible conduct of Mr. Baldoni

 and Mr. Heath in an amount necessary to punish them and to discourage future wrongful conduct.

              415.      Defendants committed the acts herein despicably, maliciously, fraudulently,

 and oppressively, with the wrongful intention of injuring Ms. Lively, from an improper and evil

 motive amounting to malice, and in conscious disregard of the rights or safety of Ms. Lively and

 others. Ms. Lively is thus entitled to recover punitive damages from Defendants in an amount

 according to proof.

                                 EIGHTH CAUSE OF ACTION
                        (Breach of Contract – Actor Loanout Agreement)
                        Against It Ends With Us Movie LLC and Wayfarer

              416.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

              417.      Ms. Lively’s company Blakel, Inc., and Defendant It Ends With Us Movie

 LLC demonstrated an intent to be bound by the Actor Loanout Agreement, dated May 5, 2023,

 through substantial performance of the agreement’s terms and conditions and as referenced in the

 Contract Rider. The Actor Loanout Agreement is a valid and enforceable contract between Blakel,

 Inc., and It Ends With Us Movie LLC.
              418.      Ms. Lively was the intended beneficiary of the Actor Loanout Agreement.

              419.      At all times relevant to this complaint, there was a unity of interest and

 ownership between Defendant It Ends With Us Movie LLC and Defendant Wayfarer, which on

 information and belief is its sole member.

              420.      Blakel, Inc., has complied with all applicable provisions of the Actor

 Loanout Agreement.

              421.      Paragraph 7 of the Agreement strictly prohibited sexual harassment of any

 type. Further, Paragraph 7 of the Agreement prohibited any punishment or retaliation against
 another for his or her refusal of such harassment. Through Defendant Wayfarer, Defendant It Ends


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 With Us Movie LLC, Defendant Baldoni and Defendant Heath, repeatedly violated Paragraph 7

 of the Agreement, as set forth in the preceding paragraphs.

              422.      Ms. Lively is entitled to enforce the Actor Loanout Agreement against

 Defendant It Ends With Us Movie LLC and Defendant Wayfarer.

              423.      Through Defendant Wayfarer’s conduct, Defendant It Ends With Us Movie

 LLC’s breach of its obligations under the Actor Loanout Agreement has caused and will continue

 to cause irreparable injury to Ms. Lively both personally and professionally.

              424.      Such breach of obligations under the Actor Loanout Agreement was a

 substantial factor in causing Ms. Lively’s harm.

                                  NINTH CAUSE OF ACTION
                       (Breach of Contract – Contract Rider Agreement)
                        Against It Ends With Us Movie LLC and Wayfarer

              425.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

              426.      The Contract Rider Agreement is a valid and enforceable contract between

 Blakel, Inc., and It Ends With Us Movie LLC.

              427.      Ms. Lively was the intended beneficiary of the Contract Rider Agreement.

              428.      At all times relevant to this complaint, there was a unity of interest and

 ownership between Defendant It Ends With Us Movie LLC and Defendant Wayfarer as its sole

 member.

              429.      Blakel, Inc., has complied with all applicable provisions of the Contract

 Rider Agreement.

              430.      Paragraph 10 of the Agreement strictly prohibited It Ends With Us Movie

 LLC from retaliation of any kind against Ms. Lively for raising concerns about the conduct

 described in the Contract Rider Agreement, including during publicity or promotional work for

 the Film.
              431.      Ms. Lively is entitled to enforce the Contract Rider Agreement against


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 Defendant It Ends With Us Movie LLC and Defendant Wayfarer.

              432.      Through Defendant Wayfarer’s conduct, Defendant It Ends With Us Movie

 LLC’s breach of its obligations under the Contract Rider Agreement has caused and will continue

 to cause irreparable injury to Ms. Lively both personally and professionally.

              433.      Such breach of obligations under the Contract Rider Agreement was a

 substantial factor in causing Ms. Lively’s harm.

                                TENTH CAUSE OF ACTION
                         (Intentional Infliction of Emotional Distress)
    Against Wayfarer, It Ends With Us Movie LLC, Baldoni, Heath, Sarowitz, Nathan, TAG,
                              Abel, Wallace, and Street Relations

              434.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

              435.      Defendants Wayfarer, It Ends With Us Movie LLC, Baldoni, Heath,

 Sarowitz, Nathan, TAG, Abel, Wallace, and Street Relations intentionally engaged in extreme and

 outrageous conduct toward Ms. Lively, which conduct was so extreme as to exceed all bounds of

 that usually tolerated in a civilized community. Defendants’ conduct included soliciting,

 developing, implementing, and promoting a covert multi-tiered press and digital plan that

 Defendants themselves described as “social manipulation” regarding Ms. Lively to destroy her

 reputation and career in retaliation for exercising her legally-protected right to speak up about their

 misconduct on the set of the Film, and to deter or prevent Ms. Lively from publicly disclosing

 Defendants’ harassing and discriminatory conduct. See ¶¶ 115–191, 221.

              436.      Defendants Wayfarer, It Ends With Us Movie LLC, Baldoni, Heath,

 Sarowitz, Nathan, TAG, Abel, Wallace, and Street Relations intended to cause Ms. Lively

 emotional distress. In the alternative, and at the least, these Defendants acted with reckless

 disregard of the probability that their conduct would cause Ms. Lively to suffer emotional distress.

              437.      Ms. Lively suffered severe emotional distress as a result of these

 Defendants’ conduct.



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              438.      The outrageous conduct by Defendants Wayfarer, It Ends With Us Movie

 LLC, Baldoni, Heath, Sarowitz, Nathan, TAG, Abel, Wallace, and Street Relations was a

 substantial factor in causing Ms. Lively’s severe emotional distress, and was the actual and

 proximate cause of the emotional distress.

              439.      Defendants Wayfarer, It Ends With Us Movie LLC, Baldoni, Heath,

 Sarowitz, Nathan, TAG, Abel, Wallace, and Street Relations acted with oppression, fraud, or

 malice as defined by the California Civil Code § 3294 and engaged in highly reprehensible conduct

 warranting punitive damages.

                               ELEVENTH CAUSE OF ACTION
                           (Negligence Infliction of Emotional Distress)
                              Against Wayfarer, Baldoni, and Heath

              440.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if fully set forth fully herein.

              441.      Defendants Wayfarer, Baldoni, and Heath owed a duty of care to maintain

 a safe working environment, free of harassment and retaliation, to avoid causing foreseeable harm

 to Ms. Lively.

              442.      At all times mentioned, it was reasonably foreseeable that Ms. Lively would

 suffer harm if these Defendants perpetuated, participated in, or failed to address the conduct
 described in the preceding paragraphs.

              443.      In engaging in the conduct described in this complaint, these Defendants

 breached the duty of care to Ms. Lively and affirmatively contributed to and caused Ms. Lively’s

 injuries.

              444.      Ms. Lively suffered serious emotional distress as a result of Defendants’

 negligent conduct.

              445.      The negligence of Defendants Wayfarer, Baldoni, and Heath was a

 substantial factor in causing Ms. Lively’s emotional distress.
              446.      As a direct and proximate cause of their misconduct as alleged herein, Ms.


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 Lively suffered and continues to suffer the damages alleged in this complaint.

                              TWELFTH CAUSE OF ACTION
               (False Light Invasion of Privacy – California Const., Art. I, § 1)
      Against Wayfarer, Baldoni, Heath, Sarowitz, Nathan, TAG, Abel, Wallace, and Street
                                          Relations

                447.    Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if set forth fully herein.

                448.    As alleged herein above, Defendants Wayfarer, Baldoni, Heath, Nathan,

 TAG, Abel, Wallace, and Street Relations publicly disclosed information or material regarding

 Plaintiff’s marketing decisions, moral character, private life, and family, which showed Ms. Lively

 in a false light.

                449.    The false light created by the disclosures of these Defendants would be

 highly offensive and objectionable to a reasonable person in Ms. Lively’s position, in that it made

 Ms. Lively the object of scorn, pity, ridicule, humiliation, and other suffering.

                450.    These Defendants knew the public disclosures would create a false

 impression about Ms. Lively or acted with reckless disregard for the truth.

                451.    As a direct and proximate result of the said publicity and false and

 misleading disclosures, Ms. Lively sustained harm, including to her business and profession, as

 well as her reputation. Further, Ms. Lively has suffered, and continues to suffer, from grief and

 anxiety as a result of the near-overnight change in public sentiment regarding her reputation, work,

 and brands. As a further direct and proximate result of the said disclosures, Ms. Lively has suffered

 loss of income and interference with future income.

                452.    The conduct of Defendants Wayfarer, Baldoni, Heath, Sarowitz, Nathan,

 TAG, Abel, Wallace, and Street Relations as described herein was a substantial factor in causing

 Ms. Lively harm, constituted a serious invasion of Ms. Lively’s right to privacy, and was an

 egregious breach of social norms that shocks the conscience.

                453.    Defendants have engaged in the alleged conduct above with oppression,



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 fraud and malice. Accordingly, Ms. Lively is entitled to an award of punitive and exemplary

 damages in an amount to be proved at trial.

                                  THIRTEENTH CAUSE OF ACTION

            (Sexual Harassment in Violation of California Civil Code – Civ. Code, § 51.9)
                                Against Baldoni and Heath

              454.       Ms. Lively re-alleges and incorporates by reference every allegation of the

 Complaint as if fully set forth in this paragraph.

              455.      At all times herein mentioned, Defendants Baldoni and Heath, as a director

 or producer of the Film and as operators of Wayfarer, had a professional relationship with Ms.
 Lively.

              456.      In engaging in the conduct described in this Complaint, Defendants Baldoni

 and Heath subjected Ms. Lively to harassing conduct based on sex and/or gender. See ¶¶ 73–107.

 Defendants Baldoni and Heath’s behavior as described in this Complaint was unwelcomed,

 pervasive or severe, such that it altered the conditions of the business relationship by creating a

 work environment that is hostile, intimidating, offensive, oppressive, or abusive.

              457.      As a direct, foreseeable, and proximate result of Defendants Baldoni and

 Heath’s unlawful actions, Ms. Lively has suffered and continues to suffer substantial damages,

 including, but not limited to, past and future losses in earnings, equity, and other employment

 benefits and has incurred other economic losses.
              458.      As a further direct, foreseeable, and proximate result of Defendants Baldoni

 and Heath’s unlawful actions, Ms. Lively has suffered emotional distress, humiliation, shame, and

 embarrassment all to the Ms. Lively’s damage in an amount to be proven at time of trial.

              459.      Defendants Baldoni and Heath committed the acts herein despicably,

 maliciously, fraudulently, and oppressively, with the wrongful intention of injuring Ms. Lively,

 from an improper and evil motive amounting to malice, and in conscious disregard of the rights,

 safety, or wellbeing of Ms. Lively and others. Ms. Lively is thus entitled to recover punitive
 damages from Defendants Baldoni and Heath in an amount according to proof.


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                                FOURTEENTH CAUSE OF ACTION
                                (Defamation/Defamation Per Se)
                              Against Wayfarer, Baldoni, and Heath

              460.      Ms. Lively hereby repeats, reiterates, re-alleges and incorporates by

 reference each and every allegation of the Complaint as if set forth fully herein.

              461.      Ms. Lively is a public figure.

              462.      As alleged herein above, Defendants Wayfarer, Baldoni, and Heath through

 their agents, including Bryan Freedman, published, caused the publication of, participated in the

 publication of, and/or reasonably could have foreseen that their actions would result in the

 publication of a series of false and defamatory statements of fact about Plaintiff. As a reasonably

 foreseeable—and intended—result of the conduct of Defendants Wayfarer, Baldoni, and Heath

 and their agents, others repeated and amplified these false and defamatory statements.

              463.      Defendants Wayfarer, Baldoni, and Heath, through their agents, including

 Bryan Freedman, intentionally made false statements of fact and false statements that conveyed a

 false meaning about Ms. Lively. The statements Wayfarer, Baldoni, and Heath, through their

 agents, including Bryan Freedman, published about Ms. Lively are reasonably understood to state

 and imply that Ms. Lively fabricated claims of harassment and filed false claims of harassment

 with the Civil Rights Department of the State of California and with this Court.

              464.      The defamatory meanings of their false and implied statements of fact are

 apparent from the face of the statements themselves, which include the following statements:

        x   “It is shameful that Ms. Lively and her representatives would make such serious
            and categorically false accusations against Mr. Baldoni, Wayfarer Studios
            and its representatives, as yet another desperate attempt to 'fix' her negative
            reputation which was garnered from her own remarks and actions during the
            campaign for the film; interviews and press activities that were observed
            publicly, in real time and unedited, which allowed for the internet to generate
            their own views and opinions. These claims are completely false, outrageous
            and intentionally salacious with an intent to publicly hurt and rehash a narrative
            in the media.”

        x   “After my clients filed a comprehensive lawsuit packed with almost 200 pages of
            undeniable facts and documentary evidence which crushed their false allegations of a


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            smear campaign by providing doctored communications to the New York Times,
            Blake and her legal team have just one heinous pivot left, and that is to double
            down on the revoltingly false sexual allegations against Mr. Baldoni.”

        x   “The mere fact that Ms. Lively feels that she can publicly destroy Mr. Baldoni’s
            reputation in an attempt to devastate his future career and then deny him or his team
            their own ability to defend theirselves [sic] against her is preposterous. Mr. Baldoni
            never once publicly attempted to call Ms. Lively out for her own many wrongdoings
            during filming, he kindly addressed all her concerns during filming in the correct
            manner despite the fact that he wholly disagreed, he himself was committed to do
            things differently and to keep the peace as she specifically admitted to in her own
            lawsuit. We will not only continue to defend our clients against Blake’s power,
            privilege and all out lies, but we will now fight even harder for the voiceless in the
            DV community who are unfairly suffering while she continues to push on her own
            self-serving and selfish vendetta in the media.”

        x   “We will always respect the court; however, we will never be bullied by those
            suggesting we cannot defend our clients with pure, unedited facts. All we want is
            for people to see the actual text messages that directly contradict her
            allegations, video footage that clearly shows there was no sexual harassment
            and all the other powerful evidence that directly contradicts any false allegations
            of sexual harassment and subsequent smear campaign. It seems that in a time of
            universal deceit, telling the truth is a revolutionary act.”

        x   “And for an executive producer to have a competing cut of a film is, is
            incredibly bizarre. But when she starts threatening people and saying I’m not
            going to promote the film, I’m not going to do anything unless you use my cut,
            that’s when it starts to be awfully, you know, awfully [sic] incendiary. And you
            know, the concern really is that she used these allegations of sexual
            harassment and she used these allegations of bullying to try and leverage her
            position so she could be the de facto director in the case.”

              465.      These statements and implications are false and defamatory per se in that

 they impute criminal activity punishable by law, including by filing false claims of harassment

 with the Civil Rights Department of the State of California, which would be a crime if true pursuant

 to California Penal Code 115 and California Penal Code 118.

              466.      Further, these statements and implications are false and defamatory per se

 in that they impute Ms. Lively’s image and standing as an actress by suggesting that she fabricated

 serious claims of workplace sexual harassment on behalf of herself and others for no reason other

 than to take creative control of the Film, threatened individuals associated with her work, and acted



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 as a bully who leveraged her position as an actress, all of which has caused demonstrable harm to

 Ms. Lively’s reputation, emotional well-being, and business interests.

              467.      Defendants Wayfarer, Baldoni, and Heath, through their agents, including

 Bryan Freedman, published these false statements with actual malice, i.e., with knowledge of their

 falsity or with reckless disregard as to their truth. Defendants Wayfarer, Baldoni, and Heath knew

 or should have known that the defamatory statements—all of which are verifiable—were and are

 false, including because they knew that Ms. Lively reported the same claims she has raised in this

 Complaint (i.e., sexual harassment and other HR claims) during the shooting of the Film, which

 Wayfarer acknowledged, and they signed the Protections for Return to Production document,

 which they indicated was “not only reasonable but also essential for the benefit of all parties

 involved.” They also knew that Ms. Lively was not alone, and that there were multiple complaints

 raised during the shooting of the Film.

              468.      Defendants Wayfarer, Baldoni, and Heath had no basis on which to believe

 that the allegations were true, and indeed knew them to be false, and continued to publish the

 allegations notwithstanding that knowledge.

              469.      Defendants Wayfarer, Baldoni, and Heath failed to assess or investigate the

 falsity of the defamatory statements despite inherent improbability and obvious reasons to doubt

 the veracity of the statements.

              470.      Defendants Wayfarer, Baldoni, and Heath published the allegations in a

 manner to create false inferences.

              471.      Defendants Wayfarer, Baldoni, and Heath had personal, reputational, and

 financial motives for promoting the false and defamatory statements, including to preserve Mr.

 Baldoni’s public façade as being pro-feminist and believing women when they assert claims of

 sexual harassment.

              472.      Defendants Wayfarer, Baldoni, and Heath endorsed and adopted the false

 allegations as their own, including by instructing their agents to publish and republish, or causing
 to publish and republish, the false allegations with full knowledge of their falsity or reckless


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 disregard for their truth.

               473.       Defendants Wayfarer, Baldoni, and Heath had no applicable privilege or

 legal authorization to make these false and defamatory statements.

               474.      Defendants Wayfarer, Baldoni, and Heath, through their agents, published

 these statements so that they were heard, viewed, or read millions of times around the world.

               475.      The false and defamatory statements damaged Ms. Lively’s reputation in

 the general public, in her profession, in her personal life, in her neighborhood, and with friends,

 relatives, and neighbors.

               476.      As a direct and proximate result of the publication of the false and

 defamatory statements, Ms. Lively has suffered significant general, actual, consequential, and

 special damages including, without limitation, impairment of reputation and standing in the

 community and in her profession, personal humiliation, mental anguish and suffering, emotional

 distress, stress, anxiety, lost earnings, and other pecuniary loss.

               477.      Defendants Wayfarer, Baldoni, and Heath are aware of the ongoing harm

 Mr. Lively was experiencing,

               478.      Defendants have engaged in the alleged conduct above with oppression,

 fraud and malice. Accordingly, Ms. Lively is entitled to an award of punitive and exemplary

 damages in an amount to be proved at trial.

                                FIFTEENTH CAUSE OF ACTION

                                         (Civil Conspiracy)
                                        Against All Defendants

               479.      Ms. Lively hereby repeats, reiterates, re-alleges, and incorporates by

 reference each and every allegation of the Complaint as if fully set forth herein.

               480.      As alleged herein, Defendants formed a group of two or more persons who

 agreed to a common plan or design to commit unlawful and tortious acts.

               481.      As alleged herein, each Defendant committed numerous wrongful,
 unlawful, and tortious acts pursuant to Defendants’ common plan, design and/or agreement.


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              482.      As alleged herein, Ms. Lively suffered damages from Defendants’

 wrongful, unlawful and tortious acts committed in furtherance of Defendants’ conspiracy.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for the following relief:

        1.      For a money judgment representing compensatory damages including

 consequential damages, lost wages, earning, and all other sums of money, together with interest

 on these amounts, in an amount to be proven at trial;

        2.      For an award of money judgment for mental pain and anguish and severe and

 serious emotional distress, in an amount to be proven at trial;

        3.      For pre- and post-judgment interest;

        4.      For statutory and civil penalties;

        5.      For punitive damages according to proof;

        6.      For attorneys’ fees and costs incurred by Ms. Lively; and

        7.      For such other legal and equitable relief as the Court deems appropriate.



                                  DEMAND FOR JURY TRIAL

        Ms. Lively demands a jury trial on all causes of action triable by jury.

                            [SIGNATURES ON FOLLOWING PAGE]



 Dated: February 18, 2025                            Respectfully submitted,

                                                     MANATT, PHELPS & PHILLIPS, LLP


                                                     /s/ Esra A. Hudson
                                                     Esra A. Hudson (pro hac vice)
                                                     Stephanie A. Roeser (pro hac vice)
                                                     Manatt, Phelps & Phillips, LLP
                                                     2049 Century Park East, Suite 1700
                                                     Los Angeles, California 90067
                                                     (310) 312-4000
                                                     Email: ehudson@manatt.com
                                                     sroeser@manatt.com

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                                          WILLKIE FARR & GALLAGHER LLP
                                          Michael J. Gottlieb
                                          Kristin E. Bender
                                          Meryl C. Governski (pro hac vice)
                                          Willkie Farr & Gallagher LLP
                                          1875 K Street NW
                                          Washington, DC 20006
                                          (202) 303-1000
                                          Email: mgottlieb@willkie.com
                                          kbender@willkie.com
                                          mgovernski@willkie.com

                                          Aaron E. Nathan
                                          Willkie Farr & Gallagher LLP
                                          787 7th Avenue
                                          New York, NY 10019
                                          Email: anathan@willkie.com


                                          Attorneys for Plaintiff Blake Lively




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  From:                        Lindsey Strasberg
  To:                          Imene Mezianel                                              I;Joseph Lanius!
  Cc:                          David Weber
  Subject:                     Lively - It Ends With Us - CONFIDENTIAL
  Date:                        Thursday, November 9, 2023 5:14:20 PM
  Attach m ent s:              Lively It Ends With Us Ltr Nov 9 23.CXX:X


  Dear lmene and Joseph,
  W ith the t entative resolution of t he SAG-AFTRA strike, w e are w rit ing t o address how to handle a
  ret urn to t he set of "It Ends W ith Us" (t he "Fil m"). It is no surp rise to t he Fil m's producers that the
  experience of shooting t he Film has been deeply concerning on many levels. The complaints of our
  client and others have been repeatedly conveyed and well-documented t hroughout pre-product ion
  and phot ography.
  While we reserve all legal rights, at this st age our cl ient is willing to forego a more forma l HR process
  in favor of everyone ret urning t o work and finishing the Film as long as t he set is safe moving
  forwa rd. In order for our cl ient t o feel safe returning to the product ion, we are attaching a list of
  prot ect ions that will need t o be guaranteed and observed by t he Film's producers. If the product ion
  is unw ill ing to accept or uphold t hese protections, our client is prepa red t o pursue her full lega l
  rights and remedies.
  This letter is not intended t o const it ute a full st at ement of all facts and ci rcumst ances relating to t his
  matter. It is not intended to be, nor should it be const rued as, a waiver, release or relinquishment of
  any of our cl ient 's rights or remedies, legal or equitable, all of which are hereby expressly reserved.
  Sincerely,
  Lindsey
  LINDSEY STRASBERG, ESQ. I Sloane, Offer, Weber and Dern, LLP



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                                  Protections for Return to Production

 In order for Blake Lively (BL) to be able to return to production on the Film, each of the
 following protections must be agreed to in writing and met without fail going forward:

        1.      An intimacy coordinator must be present at all times when BL is on set.

        2.      There must be a closed set during the rehearsal or filming of any scene involving
                simulated sex or nudity and any observation via remote monitors shall be restricted
                to essential personnel as approved by BL (to be further described in a fully-
                negotiated, fully-executed, SAG-compliant nudity rider (“Nudity Rider”)).

        3.      There is to be no spontaneous improvising of any scenes involving physical
                touching, simulated sex, or nudity. Scenes involving kissing, depictions of sexual
                intercourse, or any other physical touching must be contained in the screenplay (as
                approved by BL), choreographed in advance in the presence of the intimacy
                coordinator, and may only proceed as choreographed with the consent of all
                participants in advance.

        4.      Physical touching and/or comments on BL’s physical appearance must only be
                done/made in connection with the character and scene work, not as to BL
                personally. Except as written into the screenplay or as strictly required in
                connection with make-up or costume preparation, there is to be no physical
                touching (including hugging) of BL, her on-set personnel and/or her employees.

        5.      There are to be no discussions of personal experiences with sex or nudity, including
                as it relates to conduct with spouses or others.

        6.      No one will enter, attempt to enter, interrupt, pressure, or request entrance to BL’s
                trailer while she is in a state of undress for any reason.

        7.      There shall be no rehearsal or filming of any nudity and/or simulated sex without
                the Nudity Rider in place. Any such footage previously shot without the Nudity
                Rider in place, and in direct violation of SAG requirements, may not be used
                without BL’s and her legal representatives’ prior, written consent.

        8.      BL may have a representative of her choosing present with her on set for the
                remainder of the rehearsal and shooting days, including while on a closed set.

        9.      If BL is exposed to COVID-19, she must be provided notice as soon as possible
                after Wayfarer or any producer or production executive becomes aware of such
                exposure.

        10.     There shall be no retaliation of any kind against BL for raising concerns about the
                conduct described in this letter or for these requirements. Any changes in attitude,
                sarcasm, marginalization or other negative behavior, either on set or otherwise,
                including during publicity and promotional work, as a result of these requests is
                retaliatory and unacceptable, and will be met with immediate action.
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       11.    Sony must have a mutually-approved representative on set for the remainder of the
              rehearsal and shooting days, including on a closed set, to actively supervise the
              production, including monitoring the safety of the cast and crew, ensuring
              compliance with the schedule and overseeing logistics, problem solving and
              creative issues.

       12.    Wayfarer will engage an additional, experienced A-level producer, approved by
              Ms. Lively, to actively supervise the production, including monitoring the safety of
              the cast and crew, ensuring compliance with the schedule and overseeing logistics,
              problem solving and creative issues.

       13.    Wayfarer must empower any existing third party producer with appropriate and
              customary authority to actively supervise the production, including monitoring the
              safety of the cast and crew, ensuring compliance with the schedule and overseeing
              logistics, problem solving and creative issues.

       14.    Wayfarer will engage an A-list stunt double, approved by Ms. Lively, to rehearse
              and perform any scenes involving the character “Lily” that depicts rape or any act
              of sexual violence. Ms. Lively will only perform close-up work or other pre-
              approved shots for such scenes.

       15.    Any rehearsal or shooting involving Ms. Lively, or any other performer depicting
              the character of “Lily,” that involves nudity (including partial nudity) or simulated
              sex must be conducted strictly in accordance with the Nudity Rider and must adhere
              to the approved script.

       16.    Any and all day players must be engaged through customary industry talent
              agencies and not through personal connections of the director and/or producer.

       17.    Hold an all-hands, in-person meeting before production resumes which will include
              the director, all producers, the Sony representative, the newly-engaged third party
              producer, BL and BL’s designated representatives to confirm and approve a plan
              for implementation of the above that will be adhered to for the physical and
              emotional safety of BL, her employees and all the cast and crew moving forward.
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                                                                                                As ofNovember 15, 2023

              Blakel, Inc.                                                     Copy to:
              f/s/o Blake Lively                                               Sloane Offer Weber and Dem LLP
              c/o WME Entertainment                                            10100 Santa Monica Blvd., Suite 750
              9601 Wilshire Blvd., 3rd Floor                                   Los Angeles, CA 90067
              Beverly Hills, CA 90210                                          Attn: David Weber and Lindsey
              Attn: Wanen Zavala                                               Strasber
              e-Mail:                                                           e-Mail:




                     REFERENCE IS MADE to that certain actor agreement ("Agreement"), dated as of May 5, 2023
             between IT ENDS WITH US MOVIE, LLC ("Company") and BLAKEL, INC. ("Lender") for the acting
             and related services of Blake Lively ("Artist") in connection with the motion picnire cmTently entitled "IT
             ENDS WITH US" ("Picture").
                      WHEREAS, the pa1ties wish to confmn the conditions under which Lender has agreed to cause
             Artist to render acting services on the Picn1re following the break in production of the Picnire related to the
             2023 WGA and SAG-AFTRA labor sttikes.
                      NOW THEREFORE, for good and valuable consideration, the receipt of which is hereby
             acknowledged, Company agrees to the following additional terms and conditions in connection with
             Artist's services and use of Artist's results and proceeds in the Picn1re which shall be deemed
             incorporated into the Agreement.

                     1.       Ali intimacy coordinator must be present at all times when Artist is on set.

                     2.       With respect to Artist, any and all rehearsal, filming, reviewing of video playback or dailies
                              and/or any other interaction with any scene involving simulated sex, nudity and/or partial
                              nudity shall be restricted to those persons with essential business reasons for being present
                              ("Essential Personnel") as approved by Artist and Todd Black as further described in the
                              nudity rider attached as Schedule I hereto (''Nudity Rider").

                     3.       There is to be no spontaneous improvising of any scenes involving intimate/sexual physical
                              touching, simulated sex, or nudity with respect to Artist. Scenes involving Artist that
                              involves kissing, depictions of sexual intercourse, or any other intimate/sexual physical
                              touching must be contained in the screenplay (i.e., the most up to date draft approved by
                              Artist in wliting), choreographed in advance in the presence of the intimacy coordinator,
                              and may only proceed as choreographed with the consent of all participants in advance.

                     4.       Physical touching and/or comments on Artist's physical appearance must only be
                              done/made in connection with the character and scene work, not as to Artist personally.
                              Except as wlitten into the screenplay or as strictly required in connection with make-up or
                              costmne preparation, there is to be no physical touching (including hugging) of Artist, her
                              on-set personnel and/or her employees.

                     5.       There are to be no discussions with Artist of personal experiences witl1 sex or nudity,
                              including as it relates to conduct with spouses or others.




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                     6.       No one will enter, attempt to enter, interrupt, pressure, or request entrance to Artist’s trailer
                              while she is in a state of undress for any reason.

                     7.       There shall be no rehearsal or filming of Artist (including Artist’s approved body double)
                              of any nudity, partial nudity and/or simulated sex except as expressly permitted in
                              accordance with the Nudity Rider. Any such footage of Artist (or Artist’s body double)
                              previously shot without the Nudity Rider in place may not be used without Artist’s and her
                              legal representatives’ prior, written consent.

                     8.       Artist may have a representative of her choosing present with her on set for the remainder
                              of the rehearsal and shooting days, including while on a closed set.

                     9.       If Artist is exposed to COVID-19, she must be provided notice as soon as possible after
                              Wayfarer or any producer or production executive becomes aware of such exposure.

                     10.      There shall be no retaliation of any kind against Artist for raising concerns about the
                              conduct described in this letter or for these requirements. Any changes in attitude, sarcasm,
                              marginalization or other negative behavior, either on set or otherwise, including during
                              publicity and promotional work, as a result of these requests is retaliatory and unacceptable,
                              and will be met with immediate action.

                     11.      Except as otherwise agreed by Artist, while Artist is on set, Sony must have a mutually-
                              approved representative (Ange Giannetti is hereby approved) on set for the remainder of
                              the rehearsal and shooting days, including on a closed set, to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues.

                     12.      Wayfarer will engage an additional, experienced A-level producer, approved by Artist
                              (Todd Black is hereby approved) (the “Approved Producer”), to actively supervise the
                              production, including monitoring the safety of the cast and crew, ensuring compliance with
                              the schedule and overseeing logistics, problem solving and creative issues provided that
                              Company shall have the right to approve the agreement with the Approved Producer.

                     13.      Wayfarer must empower any existing third party producer with appropriate and customary
                              authority to actively supervise the production, including monitoring the safety of the cast
                              and crew, ensuring compliance with the schedule and overseeing logistics, problem solving
                              and creative issues.

                     14.      Wayfarer will engage an A-list stunt double, approved by Artist (Lauren Shaw approved
                              as stunt double), to rehearse and perform any scenes involving the character “Lily” that
                              depicts rape or any act of sexual violence. Artist will only perform close-up work or other
                              pre-approved shots for such scenes. In addition, Wayfarer to engage Artist-approved body
                              doubles for both characters (i.e., “Lily” and “Ryle”) for all simulated sex scenes (Cole
                              Mason approved as body double for “Ryle”). Wayfarer will use reasonable good faith
                              commercial efforts to engage the same Artist-approved individual as Artist’s body double
                              and stunt double.

                     15.      Any rehearsal or shooting involving Artist, or any other performer depicting the character
                              of “Lily,” that involves nudity (including partial nudity) or simulated sex must be
                              conducted strictly in accordance with the Nudity Rider and must adhere to the final, Artist-
                              approved script. For the avoidance of doubt, there will be no use of footage in the Picture




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                              that depicts any underage character or underage actor engaged in sexual intercourse or any
                              fonn of penetration.

                     16.      Any and all day players that paiticipate in any way in scenes with Altist involving nudity,
                              pa1tial nudity and/or simulated sex must be engaged through customaiy industiy talent
                              agencies and not through personal collllections of the director and/or producer.

                     17.      At Altist's election, ai1 all-hands, in-person meeting before production resumes which will
                              include the director, the existing producers, the Sony representative, the Approved
                              Producer, Altist and Altist's designated representatives to confum and approve a plan for
                              implementation of the above that will be adhered to for the physical and emotional safety
                              of Altist, her employees and all the cast and crew moving fo1wai·d.

             In the event of any conflict between the te1ms and conditions of the Agreement and the te1ms and
             conditions of this side letter agreement, the tenns and conditions of this side letter agreement
             shall control.



             ACKNOWLEDGED, AGREED TO & ACCEPTED


             IT ENDS WITH US MOVIE LLC                                BLAKEL, INC.



             By:                                                       By:
            Naine:     Jamey Heath                                     Naine:           Blake Lively
             Its:     President                                        Its:             Autho1ized Signato1y




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                                                              Schedule I
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                                                  IT ENDS WITH US
                                                         August 9, 2024

                                                       (UPDATED 7/29/24)

LOGLINE
IT ENDS WITH US, the first Colleen Hoover novel adapted for the big screen, tells the compelling story of Lily
Bloom (Blake Lively), a woman who overcomes a traumatic childhood to embark on a new life in Boston and
chase a lifelong dream of opening her own business. A chance meeting with charming neurosurgeon Ryle Kincaid
(Justin Baldoni) sparks an intense connection, but as the two fall deeply in love, Lily begins to see sides of Ryle
that remind her of her parents’ relationship. When Lily’s first love, Atlas Corrigan (Brandon Sklenar), suddenly
reenters her life, her relationship with Ryle is upended, and Lily realizes she must learn to rely on her own
strength to make an impossible choice for her future.

Directed by Justin Baldoni and produced by Alex Saks, Jamey Heath, Blake Lively and Christy Hall. The film stars
Blake Lively, Justin Baldoni, Jenny Slate, Hasan Minhaj, Amy Morton and Brandon Sklenar, from a screenplay by
Christy Hall, based on the book by Colleen Hoover.

POSITIONING
Blake Lively and Justin Baldoni are starring in the film adaptation of Colleen Hoover’s highest-selling novel It Ends
With Us.

This is the first film of the Colleen Hoover phenomena to be adapted for the big screen. She is also executive
producing.

Justin Baldoni is also directing and executive producing.

As well as starring, Blake Lively is also producing.

Brandon Sklenar is perfectly cast as the charismatic Atlas who brings an impressive emotional depth to the role,
along with Jenny Slate and Hasan Minhaj, who both bring compassion and humor to the film.

Teen versions of Atlas and Lily are played by up-and-coming actors Alex Neustaedter and Isabela Ferrer, who
deliver exceptional performances.

IT ENDS WITH US is a big, emotional, complicated story about breaking free from the past and empowering
yourself and your future. The character of Lily Bloom has resonated with so many readers because her journey is
relatable – her story isn’t black and white. She has to make hard decisions that have lasting consequences.

This is a story about Lily’s journey from leaving a small town, moving to Boston and embarking on a whole new
life. She leaves behind a complicated childhood and in doing so discovers her own resilience and strength,
empowering her to stand up to adversity.

This movie has every emotion – joy, sadness, pain, and hope.
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After growing up in a home where Lily witnessed her mother being abused by her father and vowing never to be
in that position, she enters a relationship with Ryle and unwittingly finds herself following the same footsteps as
her mother. Through this journey, Lily must learn to stand up for herself and that true strength lies within.

The book connected with millions of readers and became a rare phenomenon in the publishing world – everyone
knows someone who has read this book.

Whether you have read the book or not, this is the perfect movie to see with your friends or anyone in your
support system. Women all rely on their sisters, mothers, girlfriends etc for support as they navigate the ups and
downs of life and so this is the perfect film to share the experience with those in their support network.

After becoming a “BookTok” cultural phenomenon with over 2 billion views on her TikTok hashtag, Colleen
Hoover is currently the best-selling novelist in the US with over 25 million books sold by the end of 2023. Hoover
wrote five of the top 10 best-selling print books of any genre in 2022.

Published in 43 foreign languages, It Ends With Us was the top selling print book of 2022, has been on the New
York Times Best Seller List for over 135 weeks by the end of 2023.

WHAT TO AVOID
Focus more on Lily’s strength and resilience as opposed to describing the film as a story about domestic violence.
Empowerment is not just about standing up to adversity, but also about having the power to overcome within
oneself and grow from it and developing agency to shape the future.

Avoid describing the film as a love story or love triangle – it’s the story of Lily learning how to take agency of her
future.

Avoid talking about this film that makes it feel sad or heavy – it’s a story of hope.

Avoid talking about the film being representative of every woman’s story. There are many stories of domestic
violence, and this is just one perspective that is inspired by Colleen Hoover’s own experiences growing up.

ONLY IF ASKED
Any questions about the story not being an authentic representation of domestic violence:
This is just one perspective that is inspired by Colleen Hoover’s own deeply personal story of growing up in Texas.

Any questions about the lack of diversity in the cast:
We have such a wonderful cast who all bring something unique in telling this powerful story of one woman
learning to take agency over her future. I’m so proud to be part of an incredible group of women who have to
make this film that is inspired by Colleen Hoover’s own deeply personal story.
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                                 SCENARIO PLANNING – IT ENDS WITH US

 OBJECTIVE

 Protect the reputation of Justin Baldoni, Jamey Heath, and Wayfarer Studios in the lead up, during,
 and following the premiere of It Ends with Us, underscore the achievement and efforts of the
 Wayfarer team in bringing this movie to life, and emphasize Justin and the studio’s commitment to
 their team and making the broader industry a more inclusive space.

 OVERVIEW

 Though there are several potential scenarios at play here which we should be prepared for, should
 BL and her team make her grievances public – via a blatant story or subtle leak. Given she was made
 to compromise with the premiere, we feel she will move forward with doing so.

 Our recommendation is to get ahead of this narrative, owning any misconceptions and addressing
 them head on. Ultimately, we need to be ready to take the air out of any story that does arise, as
 well as commentary and/or background narrative BL and her team put together, without being the
 louder antagonizer.

 The TAG team will continue to media monitor, flag, and respond to any media proactively reaching
 out / reporting on the issue and will send regular reports on existing chatter that may arise.
 Additionally, our team’s digital experts will continue to monitor and flag any online content related
 to the crisis and/or mitigate if false narratives begin in the digital space.

 Crisis Mitigation and Rapid Response

     ●   Our team will establish a “rapid response” communication system which keeps Justin,
         Jamey, and Wayfarer Studios abreast of new coverage and narrative trends in real time,
         both in traditional media and social media.
     ●   Alongside Jen Abel and her team, we will manage media inquiries regarding the news on
         background as “sources familiar.”
     ●   Working with legal as appropriate, we will provide information to ensure our narrative is
         properly represented in any and all coverage.
     ●   TAG will confirm outlets intending on covering the story, especially those impactful to Justin,
         Jamey, and Wayfarer’s interests, are fully briefed on the situation including and not limited
         to The Hollywood Reporter, Variety, Deadline, The Wrap, New York Post, Daily Mail, etc.
     ●   We will run real-time media monitoring reports with multiple daily updates on any coverage
         that arises and impact that the PR teams have had on stories.
     ●   Further, we will produce daily sentiment reports which capture the reach and attitude of
         opinions online related to the issue and towards Justin, Jamey, and Wayfarer. These reports
         will also qualify the level of impact these stories have and the gradual decrease in interest
         post-crisis on this narrative.

 Preparation Materials:

     ●   Our team will develop clean, topline messaging outlining the facts in conjunction with Jen
         Abel and her team.
     ●   Our team and Wayfarer Studios will discern what assets pertaining to communications,
         schedules, times when BL called out, etc. that we can share for off record and/or for context

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        purposes with journalists.
    ●   Our team and Wayfarer Studios, alongside Jen Abel and team, will catalog third party
        advocates willing to provide a potential quote or engage with reporters on Justin and
        Jamey’s behalf to mitigate negative narratives from a source outside of Wayfarer.
    ●   Our team will collate a list of people who have publicly discussed their positive working
        experience with Justin – examples include Brandon Skylnar / Forbes, Colleen Hoover /
        Entertainment Weekly, etc.

 Key Messaging Points:

    ●   JB’s stellar reputation among colleagues and industry peers - numerous quotes and
        interviews sharing positive experiences.
    ●   JB has been a longtime activist and advocate of and for women in Hollywood, speaking out
        about challenges his colleagues faced before the Me Too movement even began (TED 2017).
    ●   The “Man Enough” podcast has been a source of inspiration since it began, fostering a safe,
        encouraging environment for a range of perspectives to meet and discuss gender roles and
        how their rigidity affects everyone.
    ●   While JB and JH attempted to foster a kind, safe, creative environment on set during a
        challenging period in Hollywood – resurgence of COVID-19, the writers strike, the SAG
        AFTRA strike – their efforts were continuously thrown back in their faces.
    ●   Production members lost their jobs due to BL’s takeover and insisted upon involvement –
        including loss of budget due to rescheduling shoot days when BL refused to show up.
    ●   When BL wasn’t able to get her way on set or behind the scenes, she involved her husband
        to create an iImbalance of power between her and JB. RR went so far as to use his power to
        call agents and agencies, Sony, and other key players so that BL would get her way.
    ●   BL’s less than favorable reputation in the industry spans decades and has been reported –
        there were issues on Gossip Girl, the Town, A Simple Favor, and more.
    ●   There is a clear, likely motive due to the film’s value and fanbase, in which BL is attempting
        to bully her way into buying the rights for It Starts With Us.
    ●   Our team will also include additional positive stats re: JB’s career, his accolades, his
        inspiration to take on this project, obstacles he overcame, what’s in store, etc.

 IF/THEN PLAN OF ACTION:

 Scenario 1: Blake and team push out negative story re: Justin / Wayfarer post-premiere

    ●   Depending upon the scope of her push, we recommend planting a seed earlier on to position
        your truth / narrative around the ordeal in a subtle way to avoid having to backtrack.
    ●   An idea for this, and working alongside Jen, is giving a friendly reporter who is covering the film
        a simple line hinting that while you and Blake didn’t always agree at times “had our differences”
        you have respect for her. This way, if BL stories are softer, we don’t look so aggressive. If it’s a hit
        piece, then we’ve tee’d up reporters properly that there were issues with her. We would also
        ensure the story is broader, about the film, inspiration, etc. so that the line is one part of a larger
        piece.
    ●   If her team is working on a longer lead, negative narrative, we would be given (a short) heads up
        in advance of the story and would, alongside Jen, correct inaccuracies in fact checking, mitigate
        false narratives, and point reporters toward third party advocates who can speak positively on
        your behalf.
    ●   We would then brief people with a more robust version of the facts, executing a background
        approach, using third party advocates, and off record conversations with trusted friendlies to
        depict the truth of the situation. Targets would include popular industry newsletters (targeting
        industry peers, studio execs, investors, etc.) and social media (targeting JB’s fanbase and those of

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         the novel/film) as well as trades / mainstream entertainment. Background information would
         include:
             ○ Background briefing would clarify any misconceptions, what was taken out of context,
                  and what can be chalked up to simple misunderstanding or miscommunication.
             ○ Background briefing would highlight JB, JH, and Wayfarer’s side of the story, what their
                  truth is as it pertains to any allegations or negativity, facts based on the timeline, and
                  issues they experienced on their end e.g. lost days of shooting, consistently adhering to
                  demands, etc.
             ○ Background briefing would include the fact that production members lost their jobs due
                  to her involvement / takeover.
             ○ Background briefing would include the numerous articles, interviews, and quotes of past
                  colleagues who openly love working with Justin, and pointing to BL’s less than favorable
                  reputation of her twenty-year career.
             ○ Background briefing would include pointing people to positive commentary, quotes,
                  interviews from colleagues and peers of Justin praising his work, etc.

 Scenario 2: Blake subtly hints at her “experience” in post-premiere coverage, either in an interview, op
 ed, or otherwise.

     ●   Our prediction is that should BL address her “experience” on set in upcoming press, she will not
         name you directly but rather pepper in “easter eggs” alluding to your involvement, being
         mindful not to completely jeopardize her potential involvement with the film’s sequel, while still
         planting seeds of doubt and speculation – especially amongst the passionate fan base.
     ●   BL and her team have already begun to plant seeds around this, in insisting promotion be kept
         separate. Fans have already begun to speculate on socials that something is amiss.
     ●   These pieces will likely come out following any potential hit piece and/or coverage from the
         premiere. Our recommended approach would be to provide reporters who reach out for
         comment, should it be obvious she’s referring to you, with the appropriate background
         information (listed in Scenario 1) to ensure their stories are balanced and the speculation can be
         turned to another one of the many people she’s had issues working with (Leighton Meester,
         Anna Kendrick, Ben Affleck, etc.).
     ●   Additionally, we would advise taking further ownership of this narrative as an emerging director,
         lessons learned managing different egos, being the subject to an imbalance of power and/or
         navigating Hollywood, remaining dedicated throughout more challenging processes to protect
         the crew and production members, etc. – remaining strong but not specific or combative.
     ●   This messaging can be woven into more positive press about the film, placed by Jen and team,
         so that you stay on the high road while sharing your truth in a respectful way. A subtle way to do
         this is to address some of the issues you faced on your podcast, and open the floor to discuss
         ways in which imbalances of Hollywood still need to be addressed, how teams can create safe
         environments for all cast and production members on set, etc.

 Scenario 3: Ryan comes forward in defense of his wife

     ●   Should Ryan come forward in defense of his wife, we would advise against any direct
         engagement, statement, etc.
     ●   Inquiring reporters, and those in need of updating, would be given a pre-approved line of
         background, attributed to source, implying his lack of connection or involvement with the
         making of the film and that this is another imbalance of power and attempt to strongarm
         production by major A-list stars.
     ●   Our team would also suggest (and will work with Jen Abel and her team on this) placing
         proactive interviews for Justin around the movie’s debut, to speak to his experiences directing,
         what it’s like to produce, direct and star in a movie, the difference between being in charge and

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        being one of the cast, “lessons learned” from his experience as a director on this film and others,
        and what’s to come in the IEWU universe.
    ●   This will get ahead of any potential negative news placed by BL and/or her team, and seed doubt
        should BL or RR come forward with negative messaging.
    ●   As part of this, our team can also explore planting stories about the weaponization of feminism
        and how people in BL’s circle like Taylor Swift, have been accused of utilizing these tactics to
        “bully” into getting what they want.




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 manatt                                                                                                        Esra A. Hudson
                                                                                                  Manatt. Phelps & Phillios. LLP




 Februruy 14, 2025



 VIA ELECTRONIC MAIL

 Laura Katunich
 Raines Feldman Littrell LLP
 1900 Avenue of the Stars, 19th Floor
 Los An eles, California 90067


 Aisha Shelton Adam
 Adam Investigations Counsel
 21515 Hawthorne Blvd., Ste. 200
 ToITance, CA 90503



          Re:      Blake Lively adv. Wayfarer Studios, LLC

 Dear Ms. Katunich and Ms. Adam:

         On behalf of our client Blake Lively, I write to respond to your letter of Janua1y 31, 2025 and to
 follow up on our conversation ofFebrna1y 12, 2025. In your letter, you state that Wayfarer Studios, LLC
 ("Wayfarer") has retained your fum "to conduct a neutral, third-patiy investigation of Blake Lively' s
 complaint for sexual harassment, retaliation, failure to investigate, prevent and/or remedy harassment, and
 aiding and abetting harassment." You ask to interview Ms. Lively to fulfill Wayfarer's legal "mandate"
 to investigate.

          With respect, we find this yeru·s-too-late request baffling and must decline it. As you note in your
 letter and confnmed on our call, employers have a legal mandate to investigate complaints of harassment.
 See Tritch/er v. Cnty. of Lake, 358 F.3d 11 50, 1155 (9th Cir. 2004) ("the duty to investigate is an
 affnmative obligation"). A failure to investigate is itself unlawful. See Cal. Gov. Code§ 12940(k);Alaniz
 v. Robert M. Peppercorn, MD ., Inc., No. 205CV2576MCE-DAD, 2007 WL 1299804, at *8 (E.D. Cal.
 May 3, 2007) ("California courts have recognized a separate cause of action against an employer for
 failure to investigate ... under section 12940(k)").

         However, the law mandates not just any investigation, but one that is prompt, thorough, and
 effective. Wayfarer's proposed investigation is clearly none of these.




Manatt, Phelps & Phillips, LLP 2049 Century Park East, Suite 1700, Los Angeles, California 90067 Tel: 310.312.4000 Fax: 310.312.4224
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        First, the fact that your firm has only been retained now—nearly two years after Ms. Lively first
raised her harassment complaints in May 2023—makes a mockery of the law’s requirement of a “prompt”
investigation. See Swenson v. Potter, 271 F.3d 1184, 1193 (9th Cir. 2001) (“The most significant
immediate measure an employer can take in response to a sexual harassment complaint is to launch a
prompt investigation to determine whether the complaint is justified,” finding promptness where
investigation initiated within three days of the complaint).

        As the EEOC has noted, even a two-month delay in investigating fails to meet the statutory
requirement of a “prompt” investigation. See EEOC Enforcement Guidance on Harassment in the
Workplace, § IV(C)(3)(ii)(b)(a)(2004) (“an employer that waits two months to open an investigation,
absent any mitigating facts, very likely has not acted promptly”). When we spoke, you had no explanation
for Wayfarer’s nearly two-year delay, and indeed you stated that this delay was one of the issues you were
going to investigate. The fact that Wayfarer has only now decided to investigate Ms. Lively’s claims
irrefutably proves it has violated its obligations under California, federal, and other applicable law to take
prompt action when presented with a harassment complaint.

        Second, an investigation must be thorough. See id. (an investigation must be “sufficiently thorough
to arrive at a reasonably fair estimate of truth” and “seek information about the conduct from all parties
involved”). As you know, the misconduct Wayfarer now claims it wants to “investigate” is the subject of
multiple federal lawsuits involving multiple parties and dozens of witnesses nationwide, very few of
whom are current Wayfarer employees. Any thorough investigation must entail speaking to all of these
witnesses and reviewing any relevant documents and information they possess. However, when we spoke,
you acknowledged you have no authority to compel anyone to speak to you and that you would be relying
on Wayfarer, led by the very people who are the accused parties, to provide you documents and to set the
“scope” and budget of the investigation.

        Further, Ms. Lively alleged that the retaliation campaign perpetrated by Wayfarer and others
against her was designed to be “untraceable.” But you could not explain how you would be able to
investigate these allegations given the limits placed on your authority, including a lack of subpoena or
other discovery power. Needless to say, an investigation that relies on the accused to set its scope and
budget, and provide self-serving documents and witnesses is not one designed to get to the truth.

        Third, an investigation must be effective, i.e., designed to lead to remedial action to stop the
harassment. See Bradley v. Dep't of Corr. & Rehab., 158 Cal. App. 4th 1612, 1631 (Cal. Ct. App. 2008).
You told me your role would be one of “fact gathering” and that you are not charged by Wayfarer to make
any recommendations or suggest corrective action. As a matter of law, this is not an “effective”
investigation. See id. (employer’s investigation was inadequate where it was merely “a fact-finding
undertaking” with “[n]o component . . . designed to protect [the complainant] from harassment”).

       On our call, you acknowledged that “if these incidents occurred as alleged there are significant
problems within the organization that they will have to contend with.” We of course agree. But rather than
recommend remedial action, you told me that any report you might issue at the conclusion of your
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investigation (which could be oral or written, at Wayfarer’s discretion) would leave it up to Wayfarer (or
its lawyers) to decide what to do. Further, you told me that it would be up to Wayfarer whether to release
any report or to bury it under a claim of attorney-client privilege.

        Wayfarer and its counsel1 have spent the past few months in the press calling Ms. Lively a liar;
stating there was never any retaliation; and claiming that she has invented her claims of sexual harassment
out of a malicious intent to harm them. Indeed, just a few weeks before you sent your letter, Wayfarer and
its principals filed a nine-figure lawsuit against Ms. Lively and her husband asserting that the very claims
Wayfarer now would have you investigate are false, defamatory, even extortionate. Moreover, from the
moment they understood that Ms. Lively complained, Ms. Lively has alleged that Wayfarer and its
principals have been on a stated mission to “bury” and “destroy” her and those who defended her.

        Against this backdrop, it is clear that Wayfarer’s belated investigation is a sham designed not to
get at the truth, but to obscure it. Perhaps if Wayfarer had complied with the law and retained your firm
to investigate Ms. Lively’s claims when she first raised them in May 2023, she would have agreed to
participate and the parties would not be in litigation today.

        Unfortunately, Wayfarer ignored its obligation and has repeatedly doubled, tripled and quadrupled
down on its conduct. Accordingly, Ms. Lively declines your firm’s request for an interview, and she will
instead continue to rely on the legal process to resolve her claims.


                                                                   Very truly yours,



                                                                   Esra A. Hudson




cc.      Stephanie Roeser, Manatt, Phelps & Phillips, LLP
         Michael Gottlieb, Willkie, Farr & Gallagher, LLP
         Kristin Bender, Willkie, Farr & Gallagher, LLP




1
  On the issue of Wayfarer’s counsel, you stated that any represented party would be permitted to have counsel present during
their interviews with you. We note that all of the material Wayfarer party witnesses are represented by Bryan Freedman, who
has repeatedly publicly attacked Ms. Lively as a liar, including but not limited to calling her “heinously selfish,” and has scoffed
at her sexual harassment claims, saying they “exploit actual victims of real harassment” and are “completely false, outrageous
and intentionally salacious.” No interview in which Mr. Freedman is present could be “neutral.”
